Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 1 of 142   1


                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

  * * * * * * * * * * * * * * * *
 UNITED STATES OF AMERICA,               )   Criminal Action
                                         )   No. 17-051
 vs.                                     )
                                         )
 RAUL FLORES-HERNANDEZ,                  )   January 12, 2024
                                         )   11:56 a.m.
                Defendant.               )   Washington, D.C.
  * * * * * * * * * * * * * * * *

                       TRANSCRIPT OF SENTENCING
                BEFORE THE HONORABLE BERYL A. HOWELL,
                  UNITED STATES DISTRICT COURT JUDGE

 APPEARANCES:


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                         (Appearances Continued)
Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 2 of 142   2


 APPEARANCES (Continued):


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 ALSO PRESENT:           SHERRY BAKER, U.S. Probation

                         KYLE MORI, Special Agent
                         JAMES CHUPIK, Special Agent

                         KARIMA AZZOUZ, Spanish Language Interpreter
                         MANUELA CRISP, Spanish Language Interpreter



 Court Reporter:         Elizabeth Saint-Loth, RPR, FCRR
                         Official Court Reporter


             Proceedings reported by machine shorthand.
        Transcript produced by computer-aided transcription.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 3 of 142       3


 1                             P R O C E E D I N G S

 2                 THE COURTROOM DEPUTY:      Your Honor, this is

 3     Criminal Case 17-051, United States of America versus Raul

 4     Flores-Hernandez.     And also, for the record, Your Honor,

 5     Interpreters Karima Azzouz and Manuela Crisp have been sworn

 6     for this matter.

 7                 Would the parties please come forward to the

 8     lectern and identify yourselves for the record.          We'll start

 9     with government counsel first this morning.

10                 MR. HORNOK:    Good morning, Your Honor.

11     My name is Jonathan Hornok, I am here on behalf of the

12     United States of America.       With me at counsel table, we have

13     Melanie Alsworth, Kyle Mori, James Chupik, and Kyle Martin.

14     Mr. Chupik and Mr. Mori are both agents with the DEA.

15     Ms. Alsworth is from our office at NDDS.         Mr. Martin is an

16     AUSA out of the Southern District of California.

17                 THE COURT:    All right.    Thank you.

18                 MS. RHEE:    Good morning, Your Honor.

19     Sandy Rhee for Mr. Raul Flores-Hernandez, and with me at

20     counsel table is Mr. Robert Feitel.

21                 THE COURT:    Good morning.

22                 All right.    So we're here this morning for the

23     sentencing -- go ahead.

24                 PROBATION OFFICER:     Good morning, Your Honor.

25     Probation Officer Sherry Baker on behalf of the U.S.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 4 of 142   4


 1     Probation Office.

 2                 THE COURT:    Good morning, Ms. Baker.

 3                 All right.    We are here this morning for the

 4     sentencing of the defendant, Mr. Raul Flores-Hernandez, who

 5     entered a plea of guilty without a plea agreement on

 6     March 8, 2023, to the one-count indictment that charges him

 7     with conspiracy to distribute 5 kilograms or more of cocaine

 8     for importation into the United States of America in

 9     violation of 21 U.S.C. Sections 959(a), 960, and 963.

10                 Let me just review all of the materials that I

11     have looked at in connection with the sentencing this

12     morning, starting with the presentence investigation report

13     and sentencing recommendation from the probation office

14     docketed at ECFs 41 and 42.

15                 I have also reviewed the government's sentencing

16     memorandum submitted in advance of and then the supplemental

17     memoranda submitted after the evidentiary sentencing hearing

18     that was held in this case on September 6, 7, and 18th of

19     2023, all of which are docketed at 55, 80, and 86.

20                 I have received the defendant's sentencing

21     memorandum submitted in advance of the evidentiary hearing

22     plus supplemental memorandum submitted after docketed at

23     ECFs 60 and 85.     The defense has also submitted various

24     supplemental exhibits after the hearing docketed at ECF 73.

25                 Of course, I have also looked at and presided over
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 5 of 142        5


 1     and heard all of the evidence submitted at the evidentiary

 2     hearing which included the testimony of several -- four

 3     government witness and one defense witness, including

 4     Mario Pinedo Alvarez Correa, Elpidio Mojarro Ramirez, DEA

 5     Special Agent Kevin Novick, Jack Sinuhe Almaguer-Ramirez,

 6     and the defense witness Jorge Murillo.

 7                 Does the government have all of that material?

 8                 MR. HORNOK:    Yes, Your Honor.

 9                 THE COURT:    Thank you.

10                 Ms. Rhee, do you have all of that material?

11                 MS. RHEE:     Yes, Your Honor.

12                 THE COURT:    All right.    So Mr. Flores-Hernandez,

13     please stand right where you are.

14                 Let me just explain to you how this sentencing

15     hearing will proceed this morning.        The sentencing hearing

16     will proceed in four different steps.         At the first step, I

17     will determine whether the government or you have any

18     objections to the factual or other portions of the

19     presentence investigation report and then resolve those

20     objections.

21                 At the second step, I will determine how the

22     advisory guidelines apply in your case and what the advisory

23     sentencing range is based on your criminal history and all

24     of the specific offense characteristics and other factors

25     under the guidelines manual that apply in your case and that
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 6 of 142       6


 1     is much disputed in this case, so that is going to take some

 2     lengthy period of time.

 3                 And then the third step, I will hear from the

 4     government, then I will hear from your counsel, and then I

 5     will hear directly from you if you wish to be heard about

 6     sentencing in the case.

 7                 And at the last step, I will explain the sentence

 8     I am about to impose and impose sentence.

 9                 Do you have any questions about how this hearing

10     will proceed this morning?

11                 THE DEFENDANT:     No.

12                 THE COURT:    All right.    You may be seated.

13                 MS. RHEE:    I'm sorry, Your Honor.

14                 THE COURT:    Yes, Ms. Rhee.

15                 MS. RHEE:    I forgot to mention that many people in

16     this audience are members of Mr. Flores's family, if you

17     were wondering why there were so many people in for the

18     sentencing.    I understand that three of his family members

19     would like to address the Court very briefly.

20                 THE COURT:    Have they already submitted letters

21     because you submitted many, many, many letters?

22                 MS. RHEE:    There are so many letters.      I didn't

23     know who was coming.      I don't know -- I didn't know who was

24     going to speak.     I believe they have already submitted

25     letters, but --
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 7 of 142          7


 1                 THE COURT:    Okay.    You will have to pull those

 2     letters out and tell me where -- which letters they are so

 3     that I can just look at their letters.

 4                 Do I need to hear from them directly as opposed to

 5     just reviewing their letters?

 6                 MS. RHEE:    Just very briefly, Your Honor.         They

 7     traveled here from Mexico, California, Atlanta, and

 8     Chicago -- Las Vegas also.        And they informed me that some

 9     of their family members could not get visas to get into the

10     United States quickly enough so that's why there are not

11     more of their family here to show their support and love for

12     Mr. Flores.

13                 THE COURT:    All right.

14                 Okay.   So this defendant has agreed to certain

15     facts in support of his plea, which was incorporated into

16     the presentence investigation report.         And the government

17     presented evidence in support of a number of different

18     adjustments during the hearing.        So I do intend to hear

19     arguments about how the guidelines apply in this case and

20     resolve the disputes about how the guidelines apply in this

21     case during the first and second steps of the hearing so

22     they're sort of going to be combined in this case.

23                 Starting with the government.

24                 Does the government have any objections to any of

25     the factual statements, putting aside the guideline
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 8 of 142      8


 1     determinations?     Any of the factual statements set out in

 2     the presentence report?

 3                  MR. HORNOK:    No, Your Honor.

 4                  THE COURT:    Although you would want to supplement

 5     those facts with the facts you presented at the evidentiary

 6     hearing?

 7                  MR. HORNOK:    That's correct, Your Honor.

 8                  THE COURT:    Okay.

 9                  Ms. Rhee, have you and your client read and

10     discussed the presentence investigation report?

11                  MS. RHEE:     Yes.    We have, Your Honor.

12                  THE COURT:    And setting aside any objections to

13     the guideline calculation, does the defendant have any

14     objections to any of the factual statements set out in the

15     PSR?

16                  MS. RHEE:    No, Your Honor.

17                  THE COURT:    All right.

18                  Mr. Flores-Hernandez, just stand right where you

19     are.

20                  Are you fully satisfied with your attorneys in

21     this case?

22                  THE DEFENDANT:       Yes.

23                  THE COURT:    Do you feel that you have had enough

24     time to talk to your attorneys about the presentence

25     investigation report and the other documents submitted in
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 9 of 142       9


 1     connection with your sentencing here today?

 2                 THE DEFENDANT:     Yes.

 3                 THE COURT:    Thank you.    You may be seated.

 4                 All right.    Hearing no objection by either side to

 5     the factual portions of the presentence report, I will

 6     accept those as my findings of fact at sentencing as

 7     supplemented by the defendant's admitted facts at the time

 8     of his plea and the evidence presented at the evidentiary

 9     sentencing hearing on September 6, 7, and 18.

10                 Now we're at the step where we have the most

11     disputes in the case about how the guidelines apply in this

12     case.

13                 I am going to start with the criminal history

14     because I think the parties -- that's one aspect of how the

15     guidelines apply that the parties both agree on.          I think

16     they agree with the probation office's determination that

17     this defendant has a criminal history score of zero and a

18     corresponding Criminal History Category of I; is that

19     correct?

20                 MR. HORNOK:    That is correct, Your Honor.

21                 THE COURT:    And from the defense?

22                 MS. RHEE:    That's correct, Your Honor.

23                 THE COURT:    Okay.   Now turning to how the

24     calculation of the total offense level under the guidelines

25     apply in this case, by my count the parties have seven
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 10 of 142     10


 1      disputes as to how the guidelines apply here.         So I am going

 2      to go through those to make sure I haven't missed any.

 3                  The parties dispute the quantity of cocaine for

 4      which the defendant was accountable and, therefore, the

 5      applicable base offense level under the guideline 2D1.1;

 6      two, whether the defendant used an aircraft to import drugs

 7      warranting a two-point increase to the base offense level

 8      under the guideline SOC, or specific offense characteristic,

 9      at Section 2D1.1(b)(3)(B); three, whether the defendant

10      bribed or attempted to bribe a law enforcement officer

11      warranting a two-point increase to the base offense level

12      pursuant to the SOC at 2D1.1(b)(11); four, whether the

13      defendant was an organizer or leader of criminal activity

14      that involved five or more participants or was otherwise

15      extensive, warranting a four-point increase for his role

16      under the guideline at Section 3B1.1(a); five, whether the

17      defendant obstructed justice, warranting a two-point

18      increase to the base offense level under the guideline at

19      Section 2C1.1; six, whether the defendant accepted

20      responsibility, warranting a two-point decrease to the base

21      offense level pursuant to the guideline at Section 3E1.1;

22      and seven, whether the defendant is entitled to a two-level

23      decrease to the base offense level as a zero-point offender

24      under the guideline at Section 4C1.1.

25                  Am I missing anything from the government or are
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 11 of 142      11


 1      you not raising one of the objections I attributed to the

 2      parties?

 3                   MR. HORNOK:     That list sounds right to me, Your

 4      Honor.     In addition to that, I think there was possible

 5      reference to a safety valve in some of the defendant's

 6      pleadings.

 7                   THE COURT:    I will deal with that.

 8                   MR. HORNOK:    I think that's --

 9                   THE COURT:    That doesn't deal necessarily with the

10      guideline determination.

11                   MR. HORNOK:     Well, it could because there is the

12      reduction in 2D1.1.       So if for some reason we find ourselves

13      in a world where it applies, that 2D -- that two-point

14      reduction would apply.

15                   THE COURT:    All right.   I intend to address the

16      safety valve argument.

17                   Ms. Rhee.

18                   MS. RHEE:     Your Honor, that's correct.

19                   Those are the seven points of dispute between the

20      parties and we do want to address the safety valve

21      eligibility issue when Your Honor gets to it.

22                   THE COURT:    When I get to that.

23                   I think the best way to deal with this is, I could

24      deal with each of the issues separately; and I will hear

25      each of the parties on each issue, unless you'd prefer and
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 12 of 142        12


 1      have already prepared a presentation that addresses all of

 2      your disputes all at one presentation.

 3                   Do the parties have a preference, one by one or

 4      altogether?

 5                   MR. HORNOK:    I would prefer one by one.

 6                   MS. RHEE:     We would also, Your Honor.

 7                   THE COURT:    Okay.    One by one it is.

 8                   Okay.   So let's start with -- I think there was

 9      also a little bit of a dispute about -- well, let's just

10      start then with the quantity of cocaine, dispute number one.

11                   I will hear from the government on quantity.

12                   MR. HORNOK:    Thank you, Your Honor.

13                   So Your Honor heard the testimony in the hearings.

14      Mr. Flores is responsible for at least 112,450 kilograms of

15      cocaine within a conspiracy; that was the testimony that we

16      heard.   Specifically, 56,450 kilograms of that cocaine

17      belonged personally to him under -- according to that

18      testimony.

19                   Some of the highlights of that testimony were

20      that, by 2003, he was partners and smuggling, quote, about a

21      thousand kilograms of cocaine into each side of the oil

22      tank; we heard about that.         Mr. Feitel summarized that

23      evidence for us as approximately 2000 kilos of cocaine every

24      week for more than two years; 56 loads in total.          And then

25      out of each load, half of the load was for "el Tio," or the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 13 of 142       13


 1      defendant; and that all of the cocaine delivered to the

 2      defendant was going to the United States.

 3                  Then we heard additional testimony about that --

 4      about a load in 2010 -- this was one of Mr. Flores's drug

 5      loads.   It was seized at the port of Manzanillo on orders of

 6      the leader of the Milenio cartel; and that load consisted of

 7      450 kilos of cocaine and 50 kilos of ephedrine.          We have got

 8      a litany of different pieces of evidence there.          But what

 9      that all amounts to is an amount much, much, much greater

10      than 450 kilograms of cocaine.

11                  I would also point out, Your Honor, that in the

12      defendant's statement of facts, the range of cocaine that he

13      identified as being responsible for was not more than 450

14      kilograms of cocaine.      The guidelines apply a Level 38 if

15      there are 450 kilograms or more.        And so there is, in fact,

16      an overlap between what the guideline range is and the range

17      that he stipulated to in his facts.

18                  THE COURT:    So by my review of the briefing, the

19      government agrees with the PSR recommendation that a base

20      offense level of 38 applies under 2D1.1, and the defendant

21      is arguing for a base offense level of 36; that, basically,

22      boils down to a two-offense level difference.

23                  MR. HORNOK:    That's it.

24                  THE COURT:    Okay.   Thank you.

25                  Ms. Rhee.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 14 of 142   14


 1                  MS. RHEE:    We objected to the Level 38 and the

 2      quantity of the cocaine even before in the presentence

 3      investigation report --

 4                  THE COURT:   But you agree that this is a debate

 5      over two offense levels, between 36 and 38?

 6                  MS. RHEE:    That's correct, Your Honor.

 7                  THE COURT:   Just to cut through this, because I

 8      have other cases pending and waiting, as I understand your

 9      briefing, Ms. Rhee, you think that the testimony that

10      supports over 450 kilograms of cocaine being attributable to

11      this defendant is based on testimony that you believe should

12      not be deemed credible?

13                  MS. RHEE:    Exactly, Your Honor.

14                  THE COURT:   And that's basically your --

15                  MS. RHEE:    That's basically our argument, Your

16      Honor.

17                  THE COURT:   All right.    Do you want to add

18      anything to the very fulsome briefing that I have already

19      received on this?

20                  MS. RHEE:    Just very briefly, Your Honor.

21                  When the government just argued that Mr. Feitel

22      had mentioned that he -- the quantity of cocaine, Mr. Feitel

23      was merely summarizing the witness's testimony; he was not

24      accepting that that was what Mr. Raul Flores had moved.

25                  THE COURT:   I understand that.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 15 of 142           15


 1                  Okay.   I am just going to -- since I view the base

 2      offense level dispute all combined with the, sort of,

 3      overarching challenge by the defense to the credibility of

 4      the witnesses, I am going to talk first about the legal

 5      standard that applies because I think the defense was

 6      suggesting that a different standard of review or standard

 7      of review for the evidence applied then is the legal

 8      standard; I am going to address that first.         And then I am

 9      going to address generally the criticism of all of the

10      government's witnesses before, then, turning to resolve

11      dispute number one on the drug quantity.

12                  So as to the legal standard that applies, the

13      government carries the burden to demonstrate by a fair

14      preponderance of the evidence that an enhancement to the

15      guidelines is warranted.      See U.S. v. Leyva, 916 F.3d 14,

16      jump cite 24, D.C. Circuit 2019; and that a forfeiture

17      amount is appropriate.      See ID at page 29.     The law on the

18      applicable legal standard is very well settled.          See the

19      guideline at Section 6A1.3, comment saying that a

20      preponderance of the evidence standard is appropriate to

21      resolve factual disputes.      See the D.C. Circuit's case from

22      2009 in U.S. v. Blalock, saying that to determine whether

23      the increase was warranted, the district court properly

24      applied the preponderance of the evidence standard.             See

25      U.S. v. Watts, 519 U.S. 148 from 1997, Supreme Court.             See
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 16 of 142       16


 1      In re Sealed Case, D.C. Circuit case from 2001, 246 F.3d

 2      696, jump cite 698.     See the D.C. Circuit case from 1992,

 3      U.S. v. Boney, stating:      It is well established that due

 4      process is satisfied as long as facts necessary for

 5      sentencing are proved by a preponderance of the evidence.

 6                  So notwithstanding this long, well-settled

 7      standard regarding the applicability of the preponderance

 8      standard for fact-finding at a sentencing hearing, the

 9      defendant urges that I apply a different standard.

10                  Defendant recognizes that the preponderance of

11      evidence standard generally applies but argues that a clear

12      and convincing -- a higher standard -- should apply here.

13      This argument fails to persuade.

14                  The two cases the defendant cites in support of

15      this argument, U.S. v. Watts, a Supreme Court case from 1997

16      and U.S. v. Long, a D.C. Circuit case from 2003, both

17      recognize that in some circuits in extreme circumstances

18      relevant conduct that would dramatically increase the

19      sentence must be based on clear and convincing evidence; see

20      Watts, 519 U.S. at 156.

21                  The D.C. Circuit is not one of those circuits.

22      See Long, 328 F.3d at 661 stating:        This Court for its part

23      has noted the split among the circuits on this issue but has

24      declined to require more than the preponderance standard at

25      sentencing.    Also see U.S. v. Mohammed, 2023 Westlaw,
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 17 of 142      17


 1      8853035, at *4, a D.C. Circuit case from December 22, 2023,

 2      explaining that:     Even assuming that defendant's case was

 3      extraordinary, the District Court did not err by relying on

 4      conduct proving by a preponderance of the evidence in light

 5      of U.S. v. Booker, 543 U.S. 220, 2005.

 6                  The defendant's concerns about the government's

 7      reliance on cooperating witnesses to prove each of the

 8      alleged enhancements is noted, and their testimony of these

 9      cooperating witnesses will and has been scrutinized and

10      carefully evaluated.     In resolving factual disputes at

11      sentencing, the guidelines permit a district court to

12      consider relevant information without regard to its

13      admissibility under the rules of evidence applicable at

14      trial provided the information has sufficient indicia of

15      reliability to support its probable accuracy.         See Leyva,

16      916 F.3d at 24.

17                  A district court's decision to rely upon hearsay

18      is necessarily a judgment about the credibility of both the

19      witness and the declarant and, relatedly, a district court's

20      credibility determinations at sentencing are within the

21      Court's discretion and are given strong deference on appeal.

22                  So at the outset, given this overarching challenge

23      to whether any of the government's cooperating witnesses

24      should be believed, I want to address the credibility of the

25      witnesses since, as I said, this underlies each of the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 18 of 142       18


 1      defendant's arguments, and with the general thrust being

 2      that none of the testimony from any of the cooperating

 3      witnesses who testified at the sentencing hearing should be

 4      believed.

 5                  Let me just say, for its part, the government

 6      simply ignores the attack on each of the government

 7      witnesses' credibility and makes no mention of credibility,

 8      which is not helpful to the Court.        I say that for future

 9      cases that DOJ's Narcotics and Dangerous Drugs Section may

10      bring before this Court.

11                  Let me just say that I did find that each of the

12      cooperating witnesses presented by the government at the

13      hearing to be credible.      And those witnesses include:       Mario

14      Pinedo Alvarez Correa, I am going to call him Mr. Pinedo;

15      Elpidio Mojarro Ramirez, who I am going to call Mr. Ramirez;

16      and Jack Sinuhe Almaguer-Ramirez, who I am going to call

17      Mr. Sinuhe.

18                  Regarding these three cooperating witnesses, they

19      each largely owned up to each of their own individual very

20      extensive criminal conduct and those of people who are their

21      own accomplices in narcotics cocaine trafficking on an

22      extraordinary scale including violence for which they were

23      responsible; sometimes, I think for each of them, at great

24      personal risk to themselves and their families.

25                  Nowhere in the record is there any suggestion that
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 19 of 142           19


 1      any of these cooperating witnesses was lying about knowing

 2      this defendant who is critical of their credibility but

 3      never denies knowing who each of them are.

 4                  I will address the credibility of each of the

 5      individual cooperators starting with Mr. Pinedo, who

 6      described his father and brother's drug trafficking

 7      activity, how he helped them directly beginning in 2003 due

 8      to himself having a lot of debt.

 9                  He also testified that both his father and brother

10      trafficked drugs with this defendant and other very

11      notorious drug lords, including El Chapo, Miguel Angel,

12      Hector Beltrán, and that they were all involved in smuggling

13      drugs in trucks.

14                  The defendant contends that Pinedo's testimony was

15      replete with generalities but short on details.          I found

16      this a gross mischaracterization of Mr. Pinedo's testimony.

17      I found that Mr. Pinedo recounted in great painstaking

18      detail in some events including how, when working for his

19      father and brother from 2003 to 2004, he helped package

20      cocaine in oil tanks containing about 2000 kilograms of

21      cocaine each.    He described how he personally had been

22      inside one of those tanks; he helped clean those tanks.            He

23      said the tanks would arrive every one to two weeks, and he

24      saw about 53 to 56 tanks arrive over a two-year period.

25                  He testified based on his conversations with his
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 20 of 142        20


 1      brother, who was deeply -- more involved than Pinedo was

 2      himself in the drug trafficking operation, that half of each

 3      tank or about 1000 kilograms would go to this defendant,

 4      totalling approximately 53,000 to 56,000 kilograms over the

 5      two years.

 6                   Pinedo testified that he himself helped transport

 7      $50 million in proceeds using human carriers who would carry

 8      about over $2 million each in vacuum-packed bags on Copa

 9      Airlines airplanes back to Colombia; this was $50 million in

10      proceeds that he was carrying, I think, for the defendant.

11                   He described how he had a fight with his brother

12      over money for the sale of cocaine and left his family's

13      narcotics operation in 2004.       He started his own criminal

14      money laundering operation for the Sinaloa cartel.          He ran

15      his own money laundering operation until his 2010

16      kidnapping.    He testified about his own criminal activity in

17      laundering vast amounts of money, including using human

18      couriers carrying cash in vacuum-packed bags in suitcases,

19      and so on.    He talked about how he paid off security

20      personnel at the Benito Juarez Airport in Mexico City and

21      moved millions and millions of dollars back to South America

22      to purchase cocaine.

23                   He described his traumatic 2010 kidnapping

24      committed by La Barbie, otherwise known as Edgar Valdez

25      Villarreal.    He also provided the details of his cooperation
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 21 of 142      21


 1      with the DEA starting in 2012; his deactivation as a source

 2      in 2014 because of his illegal entry into the United States

 3      with his family; his eventual reactivation in 2015; and he

 4      testified about meeting with his brother and/or his father

 5      with the defendant a number of times including at the

 6      defendant's own home.      And this was also a telling detail;

 7      Pinedo's description of the defendant's home was

 8      corroborated by Jack Sinuhe and Jorge Arturo Santos Murillo.

 9      Pinedo described the defendant's home as having a soccer

10      field, a domed roof, and a big dining room; very similarly

11      to Sinuhe and Murillo.

12                  So it is certainly correct that Pinedo has

13      benefited from his cooperation.       He engaged in conduct that

14      can be charged -- so he could be charged with drug

15      trafficking, money laundering, fraud; he was never charged.

16      And he admits that despite his decades being involved in

17      international criminal activity on an incredible scale, he

18      believes he is entitled to a pass on going to jail due to

19      his cooperation.

20                  Well, I mean, this was a surprise, that he never

21      faced any charges.     But at the same time, you know, we're

22      not privy and the government didn't detail for us why he was

23      never charged; and perhaps they didn't have the evidence

24      against him until he put forth his own evidence.          But,

25      whatever, that's on the government, it's not necessarily on
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 22 of 142      22


 1      Mr. Pinedo.    His details about his own involvement with drug

 2      trafficking and his interactions with this defendant and his

 3      revelations of the drug trafficking activities by his own

 4      family members -- some of which involved the defendant, some

 5      of which did not -- all lend credibility to what he said

 6      about this defendant.

 7                  With respect to Elpidio Mojarro Ramirez, who

 8      described his drug trafficking dealings with the defendant

 9      as the former accountant and a leader, at least for a period

10      of time, of the Milenio cartel.       I have seen Mr. Ramirez

11      before; he has testified before me in connection with

12      another sentencing hearing; I found him credible in that

13      case as well as this one.

14                  He described in detail his role in the Milenio

15      cartel, starting in the early 2000s, when he was in charge

16      of transferring cocaine in trucks with secret compartments

17      from Honduras to Guatemala to Mexico City.         He was then

18      appointed to the role of accountant.

19                  Now, I understand that the defendant argues that

20      this underplays his role in the cartel, and that that

21      minimization of his role in the cartel undermines his

22      credibility.    I think it's actually more of a quibble over

23      terminology or title since Ramirez fully acknowledged his

24      outsized role as a leader in the Milenio cartel.          He was

25      involved in overseeing the cartel's marijuana and cocaine;
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 23 of 142    23


 1      he kept track of his investors; he determined the pricing of

 2      the drugs; he maintained written accounts of the cartel's

 3      balances; he coordinated payments to and from the cartel; he

 4      made arrangements for bribing security personnel at the

 5      seaports.    He reported directly to Oscar Nava Valencia, "El

 6      Lobo."   So it seemed like he was pretty extensive in his

 7      descriptions of his role, owning up to what he did for the

 8      cartel; not all of which had anything to do with this

 9      defendant.

10                   He admitted that he became a leader of the Milenio

11      cartel, by my count, it seemed like about 16 months, a

12      little over a year, during a period when both El Lobo and

13      Juan Carlos were arrested in 2010 until Juan Carlos was

14      released in June 2011.

15                   As to this defendant, he said he generally became

16      aware of the defendant as a member or affiliate of the

17      Sinaloa cartel, and they ran in the same social circles.

18      Since, I guess, the Milenio and Sinaloa cartels were the

19      only -- by his testimony -- two cartels operating in

20      Guadalajara for at least a period of time, he viewed the

21      defendant as working somewhat independently but protected by

22      the Sinaloa cartel.     So that when the defendant made one of

23      his independent deals, El Chapo would take a percentage for

24      the Sinaloa cartel.

25                   Ramirez testified he didn't work with the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 24 of 142      24


 1      defendant although he knew about him and his drug

 2      trafficking associates, but he didn't work with them until

 3      2009 when this defendant made a deal with El Lobo to help

 4      with test runs, which he called "priors," when wood flooring

 5      shipments without drugs would be sent to a company to make

 6      the company look like an active legitimate company.

 7                  Again, to the extent that the defense argues that

 8      Ramirez's testimony shouldn't be believed because it was so

 9      general, I, again, found that some of his recounting of

10      events was quite detailed, including this one, of the

11      defendant's involvement, because of this deal with the test

12      runs with this wood flooring company.        When the test runs

13      were run successfully, they decided to move forward with

14      shipping cocaine and ephedrine from Bolivia through Chile in

15      the wood flooring shipments.       Two shipments were organized:

16      One for a 1,000-kilogram container, which was not for this

17      defendant but for someone else; and one 500-kilogram

18      shipment including 450 kilograms of cocaine and 50 kilograms

19      of ephedrine was in a container for the defendant.

20                  Ramirez described in detail how the test runs and

21      shipments were organized.      The ultimate fate of the

22      containers coming through the Port of Manzanillo over which

23      the CJNG, another Mexican cartel, had control, or, at a

24      minimum, some influence.      And during the period when Ramirez

25      was the leader of the Milenio cartel, he personally had
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 25 of 142       25


 1      knowledge of what happened to the defendant's shipment of

 2      450 kilograms of cocaine.      According to Ramirez, he said the

 3      person organizing the loads from Bolivia, whose nickname

 4      named was Chivito, was kidnapped by the CJNG, they got

 5      information about the cocaine shipments.         And when the

 6      container arrived in the port, the 1,000-kilogram cocaine

 7      merchandise was stolen by the CJNG.        Ramirez didn't want the

 8      CJNG to steal the second shipment, 450 kilograms of cocaine

 9      that belonged to the defendant, so he alerted Navy officials

10      in Manzanillo to be on the lookout for the second shipment.

11      And the Navy -- the bribed Navy officials told Ramirez the

12      container had been moved to a wrong location which led

13      Ramirez to believe the CJNG was going to steal the cocaine

14      from that shipment, too, so he directed the Navy to seize

15      the 500-kilogram container with the cocaine from the

16      defendant because Ramirez testified that he preferred that

17      to having that load stolen by the CJNG.        So this was highly

18      detailed and quite credible testimony.

19                  Ramirez also testified that he reached out to the

20      defendant in 2017 because he needed a plane and was told the

21      defendant had access to them.       And he explains that he met

22      with the defendant over a period of, like, five different

23      times, and he recorded one such meeting on January 9, 2017,

24      using his phone.     So there is no question that Ramirez and

25      defendant were quite familiar with each other and that they
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 26 of 142     26


 1      did have this discussion in January 2017 when planes were

 2      discussed.

 3                   Now, the defendant argues that Ramirez's jail

 4      calls received by the defendant from the Alexandria

 5      Detention Center undermine his credibility by revealing a

 6      concerted effort by Ramirez to obtain information from third

 7      persons with the intent to use that information at the

 8      sentencing hearing in this case and thus destroy his

 9      credibility.    Four transcripts of calls with Ramirez have

10      been submitted to the Court for review.

11                   One of those calls with Ramirez's attorney

12      prompted a round of litigation with the government's motion

13      to strike use of that call which this Court denied and,

14      surprisingly again, the government's briefing

15      post-evidentiary hearing in response to the government's

16      briefing doesn't mention these calls at all.         It doesn't try

17      to defend or address, as I said before, the credibility of

18      the witnesses or what these calls mean.

19                   In any event, the calls were obtained from the

20      jail and revealed that Ramirez was interested in the

21      defendant and affirmatively sought out information about the

22      defendant in the defendant's case.        The defendant's

23      characterization, to my mind, is a little bit extreme in

24      that this was information he was soliciting to make up stuff

25      during his testimony; I think that was the import of what
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 27 of 142        27


 1      the defendant's objection is based on these phone calls.

 2                   From my review of the calls, it shows that Ramirez

 3      is speaking to other individuals about what they heard on

 4      the news and asked him to remind him what he had previously

 5      told him.    The defendant offers no reason why these calls

 6      reveal a concerted effort to obtain such information for use

 7      at the sentencing hearing and does not even identify, for

 8      example, any information shared with Ramirez in any such

 9      jail calls that were later presented to this Court at a

10      sentencing hearing.

11                   There is a plethora of reasons why Ramirez was

12      interested in the defendant in this case; he could have been

13      concerned about the defendant's potential cooperation with

14      the government if the defendant had any information on

15      Ramirez; he could have generally been interested in how his

16      associates were fairing in U.S. courts; he could have been

17      looking for information to refresh his recollection about

18      dates.

19                   In the phone call with the person identified as

20      his "lawyer," Ramirez asked for his recollection to be

21      refreshed about the circumstances where he met the

22      defendant.    Absent more, the transcripts of these calls are

23      insufficient to discredit Ramirez's testimony.          That being

24      said, Ramirez certainly has a checkered criminal history,

25      including a 1975 conviction for his illegal presence in the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 28 of 142            28


 1      U.S., a 1988 conviction for drug trafficking, and a recent

 2      conviction of conspiracy to distribute cocaine for

 3      importation on board an airport registered in the U.S.            He

 4      has admitted to bribing people to get false identification

 5      and traveling using false passports.

 6                  Most of this criminal history was revealed in

 7      cross-examination.     And Ramirez had trouble -- failed to

 8      accept any responsibility for his own conduct.          What was

 9      most striking to me is he repeatedly described his escape

10      from a U.S. minimum security prison as fleeing from a field

11      without seemingly appreciating the illegality of escaping

12      from a prison.    But in any event, his testimony doesn't

13      stand alone in providing testimony about the scale of this

14      defendant's drug trafficking activity during the period of

15      the 2000s through 2010.      And even if I totally discounted

16      all of Ramirez's testimony -- and I would have appreciated

17      all of the material brought out on cross-examination by the

18      defense to have been brought out on direct to sort of

19      understand all of his prior convictions, and so on.             But in

20      any event, even if I totally discounted Ramirez's testimony,

21      the testimony of Pinedo would have supported -- would

22      support the base offense level here.

23                  With respect to Jack Sinuhe, he testified that he

24      met the defendant in 1997 through Sinuhe's own stepfather,

25      Oscar Lopez Sanchez, who was selling cocaine in small
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 29 of 142          29


 1      quantities.    And by "small quantities" it has to be defined

 2      in a case where people are involved with kilogram quantities

 3      of cocaine.    And by "small quantities," I think Mr. Sinuhe

 4      described that his father dealt with quantities under 10

 5      kilograms, which is certainly not gram amounts.

 6                  In any event, his stepfather wanted the

 7      defendant's help in expanding, in growing his cocaine

 8      business and is very close to -- I think there are very

 9      close connections between Sinuhe's family and the

10      defendant's family.

11                  The defendant again contends that Sinuhe's

12      testimony was short on details and very general.          And to be

13      sure, Sinuhe did speak in generalities on a number of

14      things.   But as to his testimony about the defendant, the

15      defendant contends that his testimony about the defendant's

16      other businesses including a concert hall, a casino, and

17      soccer team as an example of his lack of credibility.           But,

18      I mean, other than mentioning that that was his

19      understanding of the businesses that this defendant owned,

20      he never testified about the use of these businesses to

21      launder money, and I mean through sort of general

22      statements, but it was based on his understanding; so I

23      don't think that that is particularly probative of his

24      credibility.

25                  The defendant emphasizes that Sinuhe significantly
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 30 of 142        30


 1      downplayed the payments he received from the government,

 2      testifying he received less than $30,000 when he had, in

 3      fact, received just under $100,000.        It was a surprise that

 4      Sinuhe was not better prepared by the government to testify

 5      more fully, completely, and in detail about the benefits he

 6      has received from the government.       But this downplaying of

 7      benefits from the government when he did admit that he did

 8      receive these benefits from the government in terms of visa

 9      and cash payments, although they were imprecise, doesn't

10      undermine his overall credibility.

11                   He again described, like the other ones --

12      described his own criminal activity both with and without

13      the defendant; he implicated his own family members.            He was

14      able to recount, in painstaking detail, meetings he attended

15      with his stepfather and the defendant where they discussed

16      their drug trafficking primarily using these two methods of

17      hidden compartments in trailers that sent cows and bulls to

18      the U.S. once a month, and fuel tanks filled with cocaine.

19      He described meeting with the defendant, I guess, in

20      Guadalajara.    He also described a trip to Mexico City in

21      2011 to 2012 to help his stepfather collect 14 to

22      $17 million in cocaine proceeds from a warehouse for the

23      defendant.     He described the warehouse in detail and other

24      matters related to that incident.

25                   He explained how difficult it was to testify about
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 31 of 142   31


 1      somebody he grew up with.      He also described receiving a

 2      text message from his stepfather that he interpreted to be

 3      his stepfather trying to convince Sinuhe not to testify

 4      against the defendant.

 5                  Generally, these are all three cooperating

 6      witnesses deeply incriminating themselves as to their own

 7      extensive many-year, huge amounts of narcotics trafficking

 8      activity on an incredible scale; and they do also, for that

 9      reason, tend to corroborate some of the information

10      specifically about this defendant.

11                  With respect to this first dispute about drug

12      quantity, the guideline at 2D1.1 applies to Count 1 charging

13      the defendant with conspiracy to distribute 5 kilograms or

14      more of cocaine for importation into the U.S.         The

15      presentence report recommends a base offense level of 38

16      based on the defendant's accountability for more than 450

17      kilograms of cocaine under the guideline at 2D1.1(a)(5) and

18      (c)(1).   The government agrees with the PSR recommendation.

19      The defendant argues he is only accountable for 150 to 450

20      kilograms of cocaine that would result in a base offense

21      level of 36 under the guideline at 2D1.1(c)(2).

22                  Upon review of the evidence, the defendant's

23      objection is overruled.      With respect to the 150 to 450

24      kilograms of cocaine that he admits to, he doesn't actually

25      provide any specific evidence other than his admission in
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 32 of 142     32


 1      support of the plea or offers any principal way for the

 2      Court to draw a line that the defendant is accountable for

 3      under 450 kilograms but not over 450 kilograms based on the

 4      hearing testimony, relying, as I said, on discrediting the

 5      government's witnesses.      To be clear, he would have to

 6      discredit all of the government witnesses to successfully

 7      maintain this position.

 8                  I also note that his sentencing memo submitted

 9      prior to the evidentiary hearing stated that he invested in

10      three cocaine loads of 30 kilograms each which -- I am a

11      mere lawyer rather than a mathematician, but even I can do

12      that math -- that only amounts to 90 kilograms of cocaine

13      for which he was responsible.       And 90 kilograms of cocaine

14      is far less than even what he admitted to as part of his

15      statement of facts in support of his plea where he accepted

16      responsibility for more than 150 kilograms but not more than

17      450 kilograms.    He didn't pursue this argument about the 90

18      kilograms of cocaine at the evidentiary hearing or in a

19      supplemental sentencing memo that he only admits to 90

20      kilograms, but he provides no basis even for that.

21                  I do have a clear basis from the three government

22      witnesses; particularly, Pinedo who testified about how --

23      each tanker in the drug trafficking operation with his

24      brother and his father and the defendant had 1,000 to 2,000

25      kilograms of cocaine; and half of each load would go to the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 33 of 142      33


 1      defendant; with about 53 to 56 tankers from 2003 to 2005.

 2      And a conservative estimate suggests that the defendant was

 3      accountable for at least 26,500 kilograms of cocaine based

 4      on 500 kilograms per tanker belonging to the defendant and

 5      53 tanks from 2002 to 2005.       If each tanker were assumed to

 6      contain 1,000 kilograms of cocaine for the defendant and 56

 7      tanks arrived between 2003 to 2005, he would be accountable

 8      for even more, up to 56,000 kilograms of cocaine.          But I

 9      don't even have to -- I don't have to go beyond the

10      conservative estimate based on Pinedo's testimony alone to

11      find that a base offense level of 38 applies.

12                  This testimony is only further corroborated by

13      Ramirez who talked about the incident between 2009 and 2010

14      where El Lobo partnered with the defendant to import 450

15      kilograms of cocaine and 50 kilograms of ephedrine that

16      Ramirez said he employed the Navy, the Mexican Navy, to

17      seize so that CJNG, another cartel, would not seize it or

18      steal it, as he believed the CJNG had seized an immediately

19      prior shipment, which would only add to the amount of

20      kilograms of cocaine.      And I did find Ramirez's testimony

21      about that 450 kilograms to be quite credible.          And Pinedo's

22      testimony about the amount of cocaine is also further

23      corroborated by Sinuhe, who testified about hiding 100

24      kilograms of cocaine per hidden compartment in the floor of

25      the trailers used to send cows and bulls to the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 34 of 142     34


 1      United States about once a month for a period of time and

 2      also, I guess, he said about four to five years; and also,

 3      even more cocaine in fuel tanks, similarly to the method

 4      used by Pinedo.

 5                  All of this testimony, without counting up

 6      precisely what the kilogram quantities were, firmly support

 7      a base offense level of 38 under the guideline at Section

 8      2D1.1(c)(2) because the defendant is accountable for more

 9      than 450 kilograms of cocaine.

10                  Now let's turn to dispute number two, use of the

11      aircraft.

12                  Okay.   I will hear from the government.

13                  MR. HORNOK:     Thank you, Your Honor.

14                  Just briefly.    The aircraft evidence is primarily

15      that recorded conversation.       In that conversation, the

16      defendant talked about somebody that was going to sell him a

17      plane.   He used a specific model number of the airplane that

18      was going to be purchased.      He spoke about that airplane in

19      a way that suggested its use was not just to, like, fly to

20      soccer games or something like that; it was actually

21      confused coded language to suggest its use in the actual

22      importation of cocaine.      Furthermore, the person who was

23      having that conversation with him, his impression and kind

24      of the basis -- the reason he had that conversation with the

25      defendant was because he understood that Mr. Flores had
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 35 of 142         35


 1      planes and was using them for cocaine trafficking.

 2                  THE COURT:    Okay.

 3                  Mr. Feitel.

 4                  MR. FEITEL:    Good afternoon, Your Honor.

 5                  I want to address this issue as a legal matter.           I

 6      understand Your Honor has accepted the testimony of Elpidio

 7      Mojarro Ramirez.     But even if you accept it as true, I don't

 8      believe it satisfies the legal requirement of the

 9      enhancement contained in 2d1.1(b)(3)(A).

10                  That enhancement provides that there is a

11      two-level upward adjustment when an aircraft other than a

12      regularly scheduled commercial air carrier was used to

13      import or export the controlled substance.         So as an initial

14      matter, I want to preserve our challenge to this contrary

15      case law in this jurisdiction from Judge Kotelly.

16                  It seems to me that a plain reading of the

17      enhancement requires that the plane had been used directly

18      in the importation of cocaine, and that it doesn't say that

19      it was used in a conspiracy to commit the offense.          So that

20      is one argument.     The other --

21                  THE COURT:    So what you are saying is you actually

22      need a lot more than just a conversation between the

23      defendant and another person about how much planes cost,

24      whether you can get a plane, whether you can fly it; you

25      need direct evidence that this defendant was using that
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 36 of 142      36


 1      plane to actually transport a shipment of cocaine?

 2                  MR. FEITEL:    That's correct, Your Honor.

 3                  I will say that I read the government's

 4      memorandum.    And what they say about it is that they

 5      conclude that Mr. Flores supposedly had planes and was going

 6      to help him get planes, that's what Mr. Ramirez concluded.

 7      I think that -- we may disagree about the import of his

 8      testimony; but if Your Honor accepts it even as being true,

 9      I don't think it satisfies the requirement of this

10      particular enhancement.      It seemed more like a bragging

11      issue or talk between people.

12                  THE COURT:    You don't have to say anymore, I agree

13      with you.     I am going to deal with this particular -- unless

14      you really want to make a record, but you don't have to.

15                  MR. FEITEL:    No, I don't -- I may end up changing

16      Your Honor's mind if you let me speak.        I'll sit down.

17                  THE COURT:    Exactly.    Good call, Mr. Feitel.

18                  The guideline at Section 2D1.1(b)(3)(A) provides a

19      two-level enhancement, quote:        If the defendant unlawfully

20      imported or exported a controlled substance in which, A, an

21      aircraft other than a regularly scheduled commercial air

22      carrier was used to import or export the controlled

23      substance in pertinent part.

24                  The PSR does not apply this adjustment, and the

25      defendant agrees with the presentence investigation report
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 37 of 142        37


 1      recommendation not to apply this two-level offense level

 2      SOC.   Upon review of the evidence, the government's

 3      objection to not including this two-level enhancement for

 4      use of a plane is overruled.       The government has not proven

 5      by a preponderance of the evidence that the defendant used a

 6      plane to import or export cocaine.        The only witness who

 7      testified about this enhancement was Ramirez, Mojarro

 8      Ramirez, whose testimony about this defendant's use of a

 9      plane for narco trafficking is insufficient.

10                  Mr. Ramirez testified that, credibly, about his

11      own use of planes and his own trafficking operation.            And he

12      admitted, for example, that, in 2015, a plane chartered by

13      Ramirez to transport 1500 kilograms of drugs from Venezuela

14      to Honduras was shot down.      He also testified that he was

15      told the defendant had access to planes.

16                  The government relies on a recorded phone call

17      between Ramirez and defendant to argue that the evidence

18      established that Mr. Flores used planes in his operations.

19      But having reviewed the transcript of that call, it simply

20      is not as persuasive as the government argues.

21                  That recorded call, on January 9, 2017, between

22      Ramirez and the defendant reveals, from what I could

23      understand of it, that the defendant was thinking about

24      purchasing a plane.     There was no transfer or purchase,

25      paperwork that had been yet completed.        And he may have
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 38 of 142   38


 1      understood in theory that drugs can be transferred by the

 2      plane, but that does not, to my mind, meet the explicit

 3      language of this specific offense characteristic at

 4      2D1.1(b)(3)(A) that the defendant did unlawfully import or

 5      export cocaine using an airplane.

 6                  At most, the evidence suggests that the defendant

 7      understood that planes could be used to smuggle drugs and

 8      that the defendant, if he wanted to, could buy a plane.

 9      This is insufficient to establish that he, in fact,

10      unlawfully imported or exported a controlled substance using

11      an aircraft other than a regularly scheduled commercial air

12      carrier, so no two-level increase will be applied, as the

13      government requests, under 2D1.1(b)(3)(A) for use of an

14      aircraft to unlawfully import a controlled substance.

15                  Okay.   We're now down to dispute number three,

16      bribery of a law enforcement officer.

17                  I will hear from the government.

18                  MR. HORNOK:    Thank you, Your Honor.

19                  With respect to the bribery of a law enforcement

20      officer, we have got a couple of different instances where

21      we heard testimony about how this occurs, and it occurs kind

22      of regularly within the context of the drug trafficking

23      business.    And we also specifically heard about those who

24      were involved with Mr. Flores, bribing law enforcement

25      officers on the defendant's behalf or for his benefit.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 39 of 142         39


 1                  Specifically, we heard about an individual named

 2      Licenciado; he was a partner of the defendant.          And he was

 3      the person within their partnership who was responsible for

 4      paying everybody at the ports.       This was with respect to the

 5      oil tanker testimony.      So there was a group of individuals

 6      who were partnering to bring those oil tankers in; and the

 7      defendant was one of those partners, and another of those

 8      partners was the responsible party for going and paying

 9      those bribes on behalf of that partnership.

10                  In addition to that, we heard testimony about

11      Mr. Flores's money launderers and the bribes that they were

12      paying to the commander of the airport in order to get the

13      loads of cash through the airport down to Colombia.             In both

14      of these instances, Mr. Flores is not directly the one who

15      is handing the cash to the law enforcement officers, but he

16      is the one who is certainly benefiting from that, and he is

17      obtaining those services.      So he is obtaining the services

18      of a money launderer who is, in turn, actually the one who

19      is handing the cash over to the law enforcement officer in

20      order to launder the defendant's money.

21                  In addition to that, I would point out -- in

22      reading back through, particularly, the forfeiture

23      discussion regarding the receipts actually that came from

24      the defendants.     Some of those receipts actually identify --

25      Your Honor will recall, most of them identify absolutely
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 40 of 142    40


 1      nothing with respect to details; it's just some kind of a

 2      number.    But some of those receipts actually did identify or

 3      have some things written on them.       There were a couple of

 4      them that listed -- I am not going to butcher the Spanish,

 5      but it's customs agent -- the Spanish word is for customs

 6      agent.    So it is, essentially, a receipt; and the

 7      description is customs agent.       Another of those receipts

 8      lists custom agent and tips.       And so both of those things

 9      that were provided by the defendant suggest and kind of

10      corroborate the idea that he was participating in and was

11      himself --

12                   THE COURT:    Yes.   But the problem with those

13      receipts, that evidence is -- you think that he was making

14      receipts of bribes to customs agents for cocaine shipments?

15      I mean, it has to be -- it has to facilitate the commission

16      of the offense of cocaine trafficking and importation into

17      the United States.     So, I mean, I don't even know what to

18      make of those receipts that were dumped on the Court during

19      the evidentiary hearing.

20                   As I said at the time, it clearly could strongly

21      suggest some nefarious criminal activity given the nature of

22      those receipts, but I am not sure I can rely on them to find

23      that a two-level increase under 2D1.1(b)(11) applies.

24                   MR. HORNOK:    I don't think you should rely

25      exclusively on them by any means because of the issues that
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 41 of 142     41


 1      you have identified.     But what those receipts -- those are

 2      receipts from 1988 and 1989, and just kind of the general

 3      theory that the defense has offered, which is that he was

 4      involved in this smuggling business -- what they demonstrate

 5      is the defendant's understanding of how to smuggle things

 6      and how bribing customs agents, for example, and giving them

 7      tips is part of that smuggling business.

 8                  So then when we look -- fast forward to years

 9      later where the defendant has risen enough in the

10      organization that he is not the one who is actually putting

11      his hands on the drugs, he is not the one who is actually

12      handing bags of cash to an airport commander -- this is not

13      happening without his knowledge.       This is happening at his

14      direction and for his benefit, but he has gotten high enough

15      up in the organization that he can kind of keep his hands

16      clean.

17                  THE COURT:   Well, this Licenciado, this evidence

18      that -- Pinedo said that Licenciado --

19                  Ms. Rhee, how would you pronounce that name?

20                  MS. RHEE:    We can ask the interpreters, but it's

21      Licenciado.    It is someone that is --

22                  THE COURT:   Licenciado, thank you, Mr. Rhee.

23                  This testimony about Licenciado being a partner of

24      this defendant and -- meaning that, you know, it sounds as

25      if he certainly wasn't an employee.        He wasn't paying the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 42 of 142         42


 1      bribes at a specific direction of this defendant.          And

 2      partners -- when somebody is a partner as opposed to an

 3      employee or a worker, you can't attribute everything that

 4      that person knows to the defendant.

 5                  Why should I believe that if Licenciado was a

 6      partner that this defendant had any knowledge of what the

 7      partner was doing to facilitate shipments?

 8                  MR. HORNOK:    I think you have precisely identified

 9      the appropriate standard here.       This is not a:     You are

10      responsible for the acts of your co-conspirator because --

11      given the language of that enhancement.        It needs to be an

12      act that the defendant did personally or that he obtained or

13      that he -- the language is aided, abetted, counseled,

14      commanded, induced, procured, or willfully caused.          So I do

15      think that that is the evidence that needs to be there.

16                  I have presented the evidence as it was presented

17      by those witnesses.      I think you can make the reasonable

18      inference given, specifically, the history in the 1980s

19      where we have got the evidence of bribery and then the

20      testimony that you have to make that conclusion that needs

21      to be made under the guidelines.       If I had better evidence,

22      I would be offering it to you.

23                  THE COURT:    Got it.

24                  MR. FEITEL:    Good afternoon, again, Your Honor.

25                  I have a case that Your Honor talked about; I
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 43 of 142     43


 1      promise to be brief.      I do agree with the government's

 2      concession and Your Honor's concern that this needs to be a

 3      personal matter.     You have to do it yourself, because the

 4      enhancement at 2D1.1(b)(11) says if the defendant bribed --

 5      or attempted to bribe a law enforcement officer.

 6                  Your Honor may remember that there was a lot of

 7      problems that the government had, in the first instance,

 8      trying to get out from the witness who it was that was

 9      bribed at the airport.      It sort of seemed no one had

10      mentioned to him what they were looking for before he got on

11      the witness stand or he had forgotten -- in my view, he had

12      forgotten what he made up; but I will leave that alone.

13                  There is a case from the Southern District of

14      New York called United States versus Lobo, it appears at

15      2017 Westlaw 2838187 -- this is my latenight review.

16                  THE COURT:    You said the Southern District of

17      New York?

18                  MR. FEITEL:    Yes, ma'am.    Judge Schofield.

19                  The defendant, Mr. Lobo, was the son of the former

20      President of Honduras.      He was charged in a drug conspiracy

21      with bribing the law enforcement officers through the use of

22      some associates.     And the court concluded that the

23      enhancement requires proof that the "Defendant," quote --

24      himself personally -- "bribed or attempted to bribe" the law

25      enforcement officials.      In the Lobo case, the defendant was
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 44 of 142     44


 1      present at a meeting where other people bribed a law

 2      enforcement officer, $100,000 to each.        And the court

 3      concluded that even actual knowledge that the bribes are to

 4      be paid doesn't satisfy the government's burden of proof.

 5                  I don't want to belabor the point.       Again, I would

 6      like to win when I am ahead; brevity being the soul of wit,

 7      as they say.    I will sit down.

 8                  THE COURT:   And you are ahead here.

 9                  All right.   The guideline at Section 2D1.1(b)(11)

10      provides that: If the defendant bribed or attempted to bribe

11      a law enforcement officer to facilitate the commission of

12      the offense, increase by two levels.        The PSR doesn't

13      mention this adjustment.      The defendant agrees with the PSR

14      recommendation not to apply this two-offense level specific

15      offense characteristic, and the government believes it

16      should be added.

17                  According to the government, the defendant used

18      intermediaries including Licenciado and a money launderer to

19      pay bribes to law enforcement officers.        I don't believe

20      this record is sufficiently clear for the government to have

21      established this support for this SOC by the necessary

22      preponderance of the evidence.

23                  Pinedo was the person who testified that

24      Licenciado -- I am sorry, Ms. Rhee, I am going to slaughter

25      that name again -- a government official -- that Licenciado,
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 45 of 142        45


 1      who was a government official at an airport, bribed -- a

 2      government official bribed court officials.         He admitted

 3      that he never saw Licenciado bribe anyone.         He didn't know

 4      how much Licenciado got paid, if at all; he didn't know

 5      whether the defendant directed Licensiado's payments.           He

 6      only knew that Licenciado was the person who would pay

 7      everyone government related, and he understood that

 8      Licenciado was the defendant's partner; never suggested that

 9      Licenciado was the defendant's employee, his worker, took

10      direction from the defendant.       That is just simply not

11      sufficient to support this two-level increase.

12                  Citing pages 98 through 101 of the September 6,

13      2023, evidentiary hearing transcript that the government

14      also argues that Mr. Flores hired a money launderer who

15      would pay the commander of the airport $50,000 each week.

16      At the outset, the government cited transcript pages 98

17      through 100, excerpts from the defendant's cross of Pinedo,

18      when he was asking about the money the government paid him

19      in exchange for cooperation are irrelevant to the bribery

20      enhancement.    The government's citation to those transcript

21      pages was a waste of time.

22                  But to the extent that Pinedo testified about

23      paying the commander of the airport $50,000 every week, it

24      appears to me from the testimony that Pinedo did that to aid

25      his own money laundering.      And so this, again, doesn't help
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 46 of 142      46


 1      support this two-level enhancement for bribery against this

 2      defendant.    So the government's objection is overruled and

 3      the two-offense level increase for bribery under

 4      2D1.1(b)(11) will not be applied.

 5                   All right.    We are at dispute number four, the

 6      defendant's role as a leader of his own DTO.

 7                   Okay.    I will hear from the government.

 8                   MR. HORNOK:    Thank you, Your Honor.

 9                   Your Honor, all three of the witnesses described

10      the way that the defendant was engaged in drug trafficking.

11      What is clear is that although he was associated with the

12      Sinaloa cartel and other cartels, he was really operating

13      independently.       As we get a view into the way that his

14      operation ran, it is clear that it included five or more

15      people; the defendant, plus at least four other people.

16                   We have got specific testimony about there were

17      about 20 people working for him in 2003.         We have another

18      instance of testimony talking about five people were

19      bodyguards.    And then we have -- I believe it is -- six

20      people where we have specific names of people who have been

21      identified.    We have identified that in our briefing.

22                   Bottom line, there were at least five people

23      involved in the defendant's organization; and the defendant

24      was, in fact, the organizer or leader.        He was kind of the

25      top-level person.       He wasn't working for somebody who was
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 47 of 142       47


 1      further up the food chain; although he was, certainly,

 2      associated with bigger drug traffickers.

 3                  THE COURT:    Okay.   And you would not include

 4      Sinuhe in that -- any of -- in those five people?          Any of

 5      the cooperators were not included in the five because he

 6      wasn't -- by their own admission, this defendant wasn't

 7      their leader?

 8                  MR. HORNOK:    That's correct.

 9                  So, for example, in the oil tanker scenario where

10      we have kind of this description of a partnership and it's a

11      little bit unclear, for example, as to whether Licenciado

12      was working for the defendant; that guy is not included in

13      the six.   It's the: How many people showed up working for

14      the defendant to receive the defendant's cocaine?          Those are

15      the people included.      Specifically, the names were Chani;

16      Cachoro; a different Licenciado who was delivering money

17      later, I believe; Santiaguito, who also went by Enrico; and

18      then there was a description of a man with the last name

19      Alfaro, who the witness described as the current governor of

20      Jalisco, Mexico.     And we have provided information -- public

21      record information to corroborate that statement.          In

22      addition to that, there is Mr. Flores's son who was also

23      identified as a specific individual within that kind of

24      general 20 individuals or more.

25                  THE COURT:    Ms. Rhee.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 48 of 142     48


 1                  MS. RHEE:    Good afternoon, Your Honor.

 2                  I let Mr. Feitel pick his issues, and he let me

 3      have this one, Your Honor.

 4                  The only other thing that we would argue is that

 5      we disagree with the Court's assessment of the credibility

 6      of the witnesses.     And we would just argue that there is no

 7      corroboration of any -- with any factual evidence or --

 8      excuse me -- any physical evidence, no emails, no text

 9      messages, and Mr. Flores just has no idea who these people

10      are that were identified by the witnesses.         Other than that,

11      we would rest on the evidence.       Thank you.

12                  THE COURT:   All right.    Thank you.

13                  Okay.   The guideline at Section 3B1.1(a) provides,

14      quote:   If the defendant was an organizer or leader of a

15      criminal activity that involved five or more participants or

16      was otherwise extensive, increase by four levels.

17                  The PSR, presentence investigation report, does

18      not apply this leadership role adjustment, and the defendant

19      agrees with probation's recommendation not to apply the

20      4-level role adjustment under Section 3B1.1(a) of the

21      guidelines.

22                  The government argues that the evidence

23      established that Mr. Flores worked independently but was

24      protected by the Sinaloa cartel; and that about 20 people,

25      including five bodyguards, were working in the defendant's
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 49 of 142     49


 1      cocaine trafficking organization.

 2                  For a defendant to be a manager or supervisor, he

 3      must exercise some control over others.        See U.S. v.

 4      Bikundi, 926 F.3d 761, jump cite 801, D.C. Circuit from

 5      2019.

 6                  The D.C. Circuit understands the concept of

 7      control or authority implicit in the notion of management or

 8      supervision to connote some sort of hierarchical

 9      relationship in the sense that an employer is hierarchically

10      superior to his employee.      See U.S. v. Johnson, 64 F.4th

11      1348, jump cite 1352, D.C. Circuit from 2023 quoting

12      U.S. v. Quigley, a D.C. Circuit case from 2004.

13                  The government specifically names as individuals

14      supervised by the defendant, the five bodyguards, plus

15      Chani, Cachoro, Licenciado, Enriquito, and Alfaro.          And

16      specifically, Pinedo testified about 20 people who he

17      identified or believed worked for the defendant and named

18      specifically Licenciado, Enriquito, Chani, and Cachoro.

19      None of the other witnesses corroborated this defendant's

20      association with these persons.

21                  Sinuhe testified that the defendant had numerous

22      workers but was unable to name any except Alfaro, who he

23      defined as the defendant's errand boy; Chicklin, one of the

24      defendant's workers; and -- which are different names,

25      potentially different participants supervised by the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 50 of 142      50


 1      defendant than those named by Pinedo.

 2                  To my mind, this is not particularly surprising

 3      since the defendant's involvement in narcotics trafficking

 4      occurred over a lengthy period, with deals with multiple

 5      high-level drug dealers for hundreds of kilograms of cocaine

 6      shipped to the U.S. using various means from shipping

 7      containers to trucks.      Not only did the witnesses identify

 8      by name more than four workers -- five workers supervised by

 9      the defendant; his narcotics trafficking qualifies as an

10      otherwise extensive illegal operation to meet the criteria

11      of this role adjustment.      So I do find that the government

12      has proved by a preponderance of the evidence and just

13      common sense, given the nature of what this defendant has

14      admitted about his own conduct, the amount of cocaine

15      involved that this was an activity that involved five or

16      more participants or was otherwise extensive.

17                  Accordingly, the four offense levels under the

18      guideline at 3B1.1 will be applied.        This finding makes this

19      defendant ineligible for his request for safety valve relief

20      under 18 U.S.C. Section 3553(f).       That statute, the

21      statute -- that statute expressly provides, in pertinent

22      part, that relief from an applicable mandatory minimum is

23      available if the defendant was not an organizer, leader,

24      manager or supervisor of others in the offense as determined

25      under the sentencing guidelines.       So that finding about his
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 51 of 142     51


 1      role adjustment also resolves the dispute between the

 2      parties about application of the safety valve relief.

 3                  All right.    Now let's turn to the fifth dispute,

 4      obstruction of justice.

 5                  I will hear from the government.

 6                  MR. HORNOK:    The Court mentioned the safety valve;

 7      I believe also that that finding resolves the issue with

 8      respect to 4C1.1.

 9                  THE COURT:    It does.

10                  MR. HORNOK:    Specifically, 4C1.1(a)(10) requires

11      that the defendant meet all of the following criteria.

12      Number 10 is that the defendant did not receive an

13      adjustment under 3B1.1, aggravating role, to which the Court

14      has just referenced.      I believe that that resolves that as

15      well.

16                  MR. FEITEL:    Not to interrupt my colleague, but I

17      would like to reserve on that because the enhancement has

18      two parts to it, I believe.       I believe it has both

19      leadership and if you are charged with a continuing

20      enterprise offense, so I would like to reserve that.

21                  THE COURT:    Okay.   We can talk about that.

22                  MR. FEITEL:    I wanted to reserve that because I

23      had not heard this before.

24                  THE COURT:    Okay.

25                  MR. HORNOK:    With respect to the obstruction
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 52 of 142      52


 1      enhancement, specifically there are two prongs or two ways

 2      in which I believe the defendant obstructed justice, both of

 3      them occurred during the course of the sentencing.

 4      Specifically, the first with respect to the threatening

 5      gesture that the defendant made to the witness as soon as

 6      the witness took the stand, and we have got caught on candid

 7      camera, amazingly; that, under the definitions and the

 8      application notes to the obstruction enhancement, that

 9      applies.

10                  In addition to that, the presentation of the

11      documents and kind of the way that the documents were

12      presented in this case, it does -- these receipts, I believe

13      that also, likewise, constitutes an obstruction because they

14      are putting them forth as something that the Court has found

15      that they, in fact, are not.

16                  MR. FEITEL:    Your Honor, I think it would be

17      prudent to take these up in turn.

18                  The first issue that the government claims causes

19      an obstruction of justice is Mr. Flores-Hernandez gesturing

20      at his face.    I don't know if Your Honor has been

21      watching --

22                  THE COURT:    He has been doing that all morning.

23                  MR. FEITEL:    He does it all the time.      I don't

24      want to belabor the point.

25                  I think that most reasonable people would agree
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 53 of 142        53


 1      that if Mr. Flores had made a motion across his neck, like

 2      in a knife motion, or pretended -- imagined he had a weapon

 3      and pointed it at his head, at the witness, most people

 4      would understand that to be a threat.        I just don't think

 5      that what he did is reasonably construed as a threat.           I

 6      don't know what made the witness think that it was.

 7                  THE COURT:    Because he was scared to be

 8      testifying.

 9                  MR. FEITEL:    I have an alternative theory that he

10      was scared because he was testifying falsely.

11                  In either event, I don't diminish that he actually

12      was concerned about it.      But I think that his perception of

13      the events is an entirely different matter than the intent

14      of the defendant's.      I would ask Your Honor to not rely on

15      that particular prong as a basis for finding that Mr. Flores

16      attempted to intimidate a witness.

17                  I don't know Mr. Flores as well as Ms. Rhee does.

18      But if I had a beard, it would be white now; I don't have it

19      anymore.   People are always -- when you have facial hair,

20      it's an issue -- I think a gender issue.         When you have

21      facial hair, you are always playing with it.         It's just the

22      kind of thing that happens.       I really do think that

23      Mr. Flores is not -- it would be better if he didn't play

24      with his lips and mouth, but I don't think he intended to

25      threaten the witness.      I would ask Your Honor to find that.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 54 of 142       54


 1                   With respect to the other prong --

 2                   THE COURT:    I mean, the gesture was not just

 3      playing with his mustache or his face, it was having his

 4      tongue stick out and touching the tip of it as a warning not

 5      to talk about what he was going to say.

 6                   MR. FEITEL:    I really don't see that's what he is

 7      doing.     I think he has a dry mouth.     He is doing it all the

 8      time.    He does it all the time.     Even if we assume that the

 9      witness felt that way, I don't think that his trepidation is

10      binding.

11                   As I said, there are some universal gestures that

12      I think all of us would agree are threats.         I have never

13      heard -- if someone came who was an expert in Mexican body

14      language and said that this is feigness everywhere --

15                   THE COURT:    You don't have to spend much more time

16      on that, Mr. Feitel.       Let's move on to the receipts.

17                   MR. FEITEL:    To the receipts, Your Honor, first, I

18      would say it's not Mr. Flores who produced them, it's his

19      counsel.    I mean, he is not the one -- first, he didn't

20      create --

21                   THE COURT:    Falling on your sword for the binders?

22                   MR. FEITEL:    No.   I am not admitting that they're

23      false or fraudulent.       To the extent that they reflect

24      criminal conduct --

25                   THE COURT:    Just incomplete?   Insufficient?
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 55 of 142        55


 1      Questionable?    Highly questionable?

 2                  MR. FEITEL:    The receipts -- this is a different

 3      issue.   The receipts were created as part of Mr. Flores's

 4      admittedly illegal conduct involved with smuggling

 5      electronics.    In the moment when they were created, the

 6      person who made the receipts is a person named Wolf Hoffman;

 7      he was the owner of the business.

 8                  The defense provided the government with his name

 9      a long time ago.     The government says that they're false,

10      they're incomplete, they're somehow meant to obstruct.

11                  What they didn't say was they contacted

12      Mr. Hoffman.    I know that he is still available because

13      Ms. Rhee spoke with him before the sentencing.          I don't know

14      what the government did to try to verify or unverify them.

15                  But to the extent that there is a claim that

16      somehow this is an effort to commit an obstruction of

17      justice on the Court, defense counsel are the ones who

18      submitted -- we didn't consult with Mr. Flores.          And to be

19      fair, Your Honor --

20                  THE COURT:    I agree with you.

21                  MR. FEITEL:    Okay.

22                  THE COURT:    You can be seated, Mr. Feitel.

23                  MR. FEITEL:    Always a pleasure.     Thank you, Your

24      Honor.

25                  THE COURT:    Okay.    The fifth dispute between the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 56 of 142     56


 1      parties has to do with application of an obstruction of

 2      justice enhancement under the guideline at Section 3C1.1.

 3                  That provision provides, quote:       If, one, the

 4      defendant willfully obstructed or impeded or attempted to

 5      obstruct or impede the administration of justice with

 6      respect to the investigation, prosecution, or sentencing of

 7      the instant offense of conviction and, two, the obstructive

 8      conduct related to, A, the defendant's offense of conviction

 9      and any relevant conduct or, B, a closely related offense,

10      increase the offense level by two levels.

11                  Examples of covered conduct includes:

12      Threatening, intimidating, or otherwise unlawfully

13      influencing a witness, directly or indirectly, or attempting

14      to do so, or producing or attempting to produce a false,

15      altered, or counterfeit document, or record during an

16      official investigation or judicial proceeding.          See the

17      application note to that guideline; application Note 4(A)

18      and (C).

19                  The government urges application of this

20      obstruction upward adjustment.       The presentence

21      investigation report doesn't apply this enhancement, and the

22      defendant argues that the enhancement should not apply.

23                  According to the government, this enhancement

24      should apply because the defendant threatened a witness when

25      he attempted to intimidate Pinedo by sticking out his tongue
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 57 of 142       57


 1      and touching the end of it with his pointer finger, which

 2      Pinedo took to mean "watch out" with his tongue.

 3                  In papers, I think, the government also mentioned

 4      that Sanchez, the stepfather, tried to convince Sinuhe, his

 5      son, not to testify -- but I think you dropped that, or you

 6      don't present that as part of your argument anymore?

 7                  MR. HORNOK:    We haven't dropped it.      It's still

 8      part of the argument, just didn't want to waste your time

 9      with something I knew you already had read and digested.

10                  THE COURT:    Got it.

11                  Okay.   And then, also, that the defendant produced

12      binders full of false documents in the form of 7500 pages of

13      receipts of Mr. Flores purchasing electronics that he

14      smuggled into Mexico.

15                  I am going to address each of these in turn.

16                  With regard to threatening the witness, Pinedo

17      testified that he understood the defendant's finger movement

18      to his tongue when he was taking the stand to be a threat

19      about his testifying.      I have to say that the defendant does

20      touch his face a lot, as Mr. Feitel said.         And I do

21      understand how the witness could understand, having seen

22      that gesture, particularly if he has some plausible fear for

23      his safety or the safety of his family, that he could see

24      that gesture as threatening.        I think it would be quite a

25      very bold move to make a threatening gesture towards a
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 58 of 142    58


 1      testifying witness in the courtroom before the very

 2      sentencing judge, even if the gesture is somewhat subtle.

 3                   I do find that that conduct was concerning, that's

 4      why I got the tape of the camera in the courtroom, so we can

 5      look at what -- precisely what occurred and when; but I am

 6      also concerned about treating as a justification for a

 7      two-offense level obstruction enhancement physical conduct

 8      by a defendant that could be just more general or even

 9      somewhat negative if a defendant frowned or shook his head

10      that scared a particular witness.       I am a little bit

11      concerned about setting a precedent of using that kind of

12      conduct as a triggering application of the obstruction

13      enhancement, so I don't find that that is sufficient.

14                   Sinuhe testified that he received a text from his

15      stepfather who is a very close friend, I guess, of the

16      defendant; and he interpreted that text to be that Sanchez

17      was trying to convince Sinuhe not to testify against the

18      defendant.    There is nothing about that message, the text of

19      which I am not particularly -- it was never presented to the

20      Court -- that supports any conclusion that that should be

21      attributed to this defendant.       So that is certainly

22      insufficient to warrant an obstruction enhancement.

23                   And then with respect to the last issue, which is

24      the dump of a bunch of vague receipts from the late '80s, I

25      guess, through 1993 to help demonstrate by the defense that
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 59 of 142     59


 1      what he was smuggling wasn't cocaine but it was illegal

 2      merchandise; that was the reason he had such a large income

 3      and could afford a house with its soccer field.          It was

 4      smuggled illegal merchandise, not cocaine.         And the

 5      defendant's criminal attorney and his friend, Jorge Arturo

 6      Santos Murillo, testified about these receipts; that he used

 7      these receipts successfully in a Mexican court in connection

 8      with his representation of the defendant in a 2017 fraud

 9      case.   And while the belated and questionable dump of

10      receipts for items that are nowhere identified may perhaps

11      prove some kind of nefarious or criminal activity, although

12      it wasn't persuasive to a Mexican court, these receipts that

13      were presented as part of a defense -- and I would put the

14      responsibility for the presentation of those receipts

15      squarely on the shoulders of defense counsel and not on the

16      defendant.    So, accordingly, I find that the dumping of

17      those receipts on the Court is insufficient to warrant an

18      obstruction enhancement.      Accordingly, the two offense

19      levels under the guideline at Section 3C1.1 for obstruction

20      will not be applied.

21                   And we're on to dispute number six, acceptance of

22      responsibility.

23                   MR. HORNOK:   Your Honor, acceptance of

24      responsibility sets out in Application Note 3, the guideline

25      section, that the defendant may not falsely deny any
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 60 of 142        60


 1      additional relevant conduct.       It also provides that the

 2      defendant falsely denies or frivolously contests relevant

 3      conduct that the Court determines to be true and has acted

 4      in a manner inconsistent with acceptance of responsibility.

 5                  What I would specifically point to -- I think of

 6      particular note here is the drug quantity.         The Court has

 7      now found that the true drug quantity for which the

 8      defendant was responsible is at least two orders of

 9      magnitude greater than the drug quantity which the defendant

10      has admitted to or has advanced to this Court.

11                  THE COURT:    Can I just ask you as a policy matter?

12      I mean, the defendant entered a plea of guilty.

13                  MR. HORNOK:    He did.

14                  THE COURT:    He entered a plea of guilty to a

15      substantial charge carrying a 10-year mandatory minimum.

16      That's something that -- even if the parties couldn't

17      negotiate a plea agreement, that's kind of acceptance of

18      responsibility; spared the Court a jury trial; translations

19      of tons of transcripts; bringing in witnesses from afar;

20      spared the Court from having to resolve -- I am quite

21      confident, knowing Mr. Feitel and Ms. Rhee -- many, many

22      pretrial motions --

23                  MR. HORNOK:    So what is the benefit?

24                  THE COURT:    Why is the government taking the

25      position it is?     You should be encouraging this.       Then you
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 61 of 142            61


 1      get to prove some of these things by a preponderance at a

 2      sentencing hearing, as opposed to beyond a reasonable doubt

 3      at a trial.

 4                   So why are you fighting this so hard?       It seems

 5      counterproductive to me and counterproductive to the

 6      effective preservation of limited prosecutorial,

 7      investigative, and judicial resources.

 8                   MR. HORNOK:    So I think you have identified, I

 9      think, an important issue in this case.

10                   THE COURT:    I hope this is a tough issue for you

11      to decide.

12                   MR. HORNOK:    It is.    It is a tough issue.      And to

13      be frank, as I have been preparing this week, that's been

14      the issue.

15                   Why do you take a defendant who pleaded guilty,

16      who didn't put the Court or the government to the burden of

17      a trial -- why do you deny his acceptance of responsibility?

18      And why is it justifiable to stand up here and say that the

19      guy should spend the rest of his life in prison?

20                   THE COURT:    It's hard for people to admit when

21      they have done things wrong.         He admitted to a lot.

22                   MR. HORNOK:    He did.    The problem is the defendant

23      pleaded guilty, and then it kind of went off the rails from

24      there.   And I think you have to kind of look --

25                   THE COURT:    Not from where I sit.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 62 of 142    62


 1                  Why do you think it went off the rails?

 2                  MR. HORNOK:    First, specifically, the defendant,

 3      in pleading guilty, had an option.

 4                  In order to plead guilty, he had to plead guilty

 5      to the elements of the offense.       He had to admit facts

 6      sufficient to demonstrate -- to meet the elements of the

 7      offense.

 8                  The defendant went a step further with respect to

 9      the drug quantity.     He affirmatively limited his culpability

10      and then has advanced that limitation over and over and over

11      again.

12                  THE COURT:    The defendant could have put the

13      government to prove beyond a reasonable doubt by going to

14      trial.

15                  MR. HORNOK:    He could have, and he didn't.

16                  But in his process of trying to, kind of, garner

17      this acceptance of responsibility -- it's very different

18      than a defendant who accepts responsibility and, say, does

19      it under the context of a plea agreement or even different

20      from a defendant who accepts responsibility, admits the

21      elements of the offense, and then does not frivolously

22      contest the relevant conduct that is core to the offense at

23      issue in this case.      That's exactly what --

24                  THE COURT:    Do you think that it's frivolous for

25      the defense to raise challenges to the testimony of sort of
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 63 of 142            63


 1      almost huge international narco traffickers?

 2                   MR. HORNOK:    Absolutely not.

 3                   THE COURT:    Absolutely not?

 4                   MR. HORNOK:    Absolutely not.   I think the

 5      difference is demonstrated in the --

 6                   THE COURT:    Why is that frivolous?

 7                   MR. HORNOK:    The difference is demonstrated in the

 8      approach the defendant took with respect to the drug

 9      quantity and the aircraft bribery and other enhancements.

10      Okay?   With respect to those enhancements, the defendant's

11      factual basis is completely silent.        And his approach seems

12      to have been, through the course of putting the government

13      to its burden at sentencing, is to test the credibility of

14      the government's witnesses; to subject those witnesses to

15      cross-examination; to make legal arguments about whether the

16      testimony that was presented is legally sufficient.             That's

17      one approach; I think that's perfectly fine.

18                   What the defendant did with respect to drug

19      quantity is different.      In his factual basis, he said:        I

20      was responsible for no more than 450 kilograms of cocaine.

21      He swore an oath to a judge in this courthouse that that was

22      the truth.    He then, in the context of his papers, has

23      advanced the position that he was responsible for -- he is

24      kind of making up this evidence of these three loads and

25      this 30 kilograms each.      It's a difference between testing
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 64 of 142          64


 1      the evidence that the government presents and advancing a

 2      specifically false narrative; it's just different.

 3                   In addition to that, I think that the acceptance

 4      of responsibility here, although the Court -- I understand

 5      the Court's ruling with respect to obstruction of justice.

 6      But I think all of those things -- all of the things that

 7      supported that obstruction enhancement are also relevant to

 8      the Court's determination of acceptance of responsibility.

 9                   In addition to that -- so you have got the

10      defendant's conduct.     In addition to that, I would point out

11      the other of the defendant's conduct which the Court has

12      witnessed.    For example, you have got the witness who is

13      sitting up there and asked the Court:        Why is it that the

14      defendant keeps laughing every single time I say something?

15      The Court noticed it, pointed it out.

16                   What was the defendant's response?      It wasn't

17      contrition.    He turned around in his seat and started

18      looking at the back of the courtroom in complete disrespect

19      for the Court.

20                   In this morning's hearing, while the Court was

21      resolving -- was identifying and kind of laying out the

22      basis for some of its rulings, the defendant was shaking his

23      head as if it were not true.       His defense counsel got right

24      up here with respect to the role enhancement and said:           The

25      defendant has no idea who any of these individuals are.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 65 of 142         65


 1                  So the difference is, do you put the government to

 2      the test and do you challenge the evidence that is presented

 3      or do you advance a specifically false narrative?

 4                  The defendant has done that.      He has demonstrated

 5      through the course of these proceedings that he has not

 6      accepted responsibility.      He still thinks he is a small-time

 7      drug dealer --

 8                  THE COURT:    And perhaps compared to some of the

 9      other people running the Sinaloa cartel, the Milenio cartel,

10      and the CJNG, he probably is smaller than they are.

11                  MR. HORNOK:    He is probably smaller than they are,

12      that is true.     But he is incredibly different than any drug

13      dealer who is in this court because they are committing that

14      drug trafficking conduct here in the District of Columbia;

15      different than any drug dealer I ever prosecuted in Texas or

16      Arizona.   He is by orders of magnitude a big -- a larger

17      drug dealer, and I think that's the difference.          Are you

18      going to affirmatively present -- and that's a needle that's

19      difficult to thread in the context of pleading guilty,

20      right?

21                  Because you could plead guilty and you have a plea

22      agreement and then, absolutely, you have acceptance of

23      responsibility.     But he chose a middle ground.       He tried to

24      gain his acceptance of responsibility but retain the

25      benefits of most of the results of going to trial, right?
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 66 of 142      66


 1      Because the sentencing is -- that is the ball game here, and

 2      that's really what he contested.

 3                   In doing that, he got a lot of the benefits of

 4      going to trial.     He got to call, out of the darkness, the

 5      cooperating individuals who -- it was not publicly known

 6      that those individuals were able to cooperate and were -- so

 7      now there are individuals who are subject to retaliation

 8      because of the defendant's tack in this particular case.         So

 9      I think it's different.      There is acceptance of

10      responsibility --

11                   THE COURT:    So he should be -- despite all of the

12      benefits to the court system, to the prosecutors, to all of

13      the citizens of the District of Columbia who would be called

14      upon to serve as jurors for a fairly lengthy trial given the

15      extent of conspiracy, the numbers of witnesses, the language

16      issues, et cetera -- all of those benefits should be put

17      aside in assessing whether he gets two levels off for

18      acceptance of responsibility because by putting the

19      government to its proof at a sentencing hearing cooperators

20      who have been otherwise shielded had to be fronted and are

21      now known.    That would have happened had the case gone to

22      trial as well, so why should I hold that against the

23      defendant in denying him acceptance of responsibility for

24      pleading guilty for a 10-to-life narcotics charge?

25                   MR. HORNOK:    Because those cooperators -- sure,
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 67 of 142         67


 1      they would have come out in the context of trial.          But in

 2      the context of trial, the defendant wouldn't have gotten the

 3      benefit of a three-level reduction.

 4                  THE COURT:    Well, we're only talking about two

 5      levels here because, certainly, the third point requires a

 6      government motion which you are not making, right?          So it's

 7      just two levels.

 8                  MR. HORNOK:    I have not made a motion.      That is

 9      correct, I have not made a motion for a third level.

10                  THE COURT:    So we're just talking about two, not

11      three.

12                  MR. HORNOK:    That's correct.

13                  THE COURT:    Okay.   I just wanted to make sure I

14      hadn't missed something in the flurry of paperwork in the

15      case.

16                  MR. HORNOK:    He shouldn't get the benefit -- so

17      the fact that the cooperators come out in the context of the

18      sentencing, that mitigates his acceptance.         So, yes, it does

19      say --

20                  THE COURT:    I am sure all of the cartels want to

21      know exactly who is cooperating with the government, and

22      that's one of the things that happens in our process; they

23      get revealed.

24                  MR. HORNOK:    It is one of the things that happens.

25      But one of the things that can't happen in our process, the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 68 of 142       68


 1      defendant can't claim the benefits -- the full benefits of

 2      acceptance of responsibility and then come into this court

 3      and advance a specifically false narrative which is

 4      completely undermined by any fact that has been presented to

 5      the Court.

 6                   THE COURT:    I appreciate the government's

 7      position.    But I think you also understand what I view as

 8      sort of the countervailing considerations.

 9                   MR. HORNOK:    Absolutely.

10                   And I think the way to balance those is to focus

11      on the defendant's post-plea conduct.        He pleaded guilty.

12      The question is:     What did he do afterwards?

13                   If a defendant cannot lose his acceptance of

14      responsibility after pleading guilty, then there isn't that

15      basis -- there is not a motivation for a defendant to not

16      flood the court with false information in the context of a

17      contested sentencing hearing; to not -- the defendant's got

18      to have an interest to continue to actually stay the course

19      with acceptance of responsibility.        And I think you look at

20      that from the moment he pleads guilty going forward, and

21      this defendant did not stay the course.

22                   THE COURT:    Well, let me just be clear.     Had I

23      found clearer evidence of obstruction by threats to

24      witnesses in any way, there would be -- post plea, there

25      would be no acceptance of responsibility given here.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 69 of 142           69


 1                  I have noticed very well the defendant's demeanor

 2      in the court, both through the evidentiary hearing, and so

 3      on.   To me, that plays a role where within a guidelines

 4      range an appropriate sentence should be given as opposed to

 5      whether acceptance of responsibility with all of the

 6      benefits that that provides to the system writ large should

 7      be granted.    But there you have it.

 8                  MR. HORNOK:    Thank you.

 9                  THE COURT:    Ms. Rhee or Mr. Feitel.

10                  MR. FEITEL:    I will truly try to be brief.

11                  The new amendment to the sentencing guidelines

12      provides that the sine qua non for getting the two-level

13      downward adjustment for acceptance of responsibility is

14      saving the government the necessity to have a trial, and

15      that's exactly what Mr. Flores did.

16                  What the government has suggested is that he would

17      have been better off admitting to just the barest offense,

18      the five kilos, and having said nothing more about it.               That

19      is actually what the government articulated in its pleading.

20      They said had he admitted to just the offense conduct, and

21      then he would have fought over everything else, that would

22      have been better.     I disagree.

23                  He saved the government the trial.       He saved the

24      court the trial.     He saved the community the trial.          He

25      admitted responsibility for what he had done.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 70 of 142     70


 1                  I want to read from the commentary note before I

 2      conclude.    But I wanted to --

 3                  THE COURT:    But you understand that -- you are

 4      just talking, you are just debating the two offense levels

 5      under 3E1.1(a)?

 6                  MR. FEITEL:    Yes.

 7                  THE COURT:    You are not talking about (b)?

 8                  MR. FEITEL:    No.

 9                  THE COURT:    Okay.   Which requires the government

10      motion which we do not have here.

11                  MR. FEITEL:    I don't think they are going to, and

12      I will leave it for now.

13                  There are two things.     The first is that the

14      Narcotics and Dangerous Drug Section has decided -- that

15      decision is within their discretion -- to call the actual

16      witnesses at contested sentencing hearings.

17                  There is another formula that used to be all the

18      rage, I mean -- because hearsay is admissible at sentencing

19      hearings.    The government used to call the case agent, like

20      Agent Novick.    And he would get up on the witness stand and

21      he would dutifully relay -- Your Honor gets the point --

22      what Witness No. 1 said, what Witness No. 2 said.          The

23      actual identity of the witness was disclosed to defense

24      counsel and the defendant, but not writ large to the

25      community, which is what happened here in this case.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 71 of 142      71


 1                   I remember thinking during this case they would

 2      have been a lot better off with Agent Novick -- it would not

 3      have been, I think, the same event.        I applaud them for

 4      calling the witnesses, but that's a tactical decision that

 5      they made.    We didn't cause them to call the actual

 6      witnesses at sentencing, Your Honor.

 7                   If they had presented hearsay testimony of an

 8      agent and I had objected, I think Your Honor would have

 9      said:   Mr. Feitel, you know the rule, which is that hearsay

10      is admissible.    So it is not Mr. Flores's sole

11      responsibility for who they called.

12                   But finally, Your Honor, I do note that the

13      commentary note to the acceptance of responsibility

14      guideline at 3E1.1 says that:       The fact that a defendant's

15      challenge is unsuccessful does not necessarily establish

16      that it was either a false denial or frivolous.          I think

17      that's where we are in this case.

18                   To be fair, I think we have done okay this morning

19      with challenges to the enhancements.        We didn't win them

20      all, but we're batting more than 500.        So I think, on

21      balance, Your Honor should give Mr. Flores the benefit of

22      the two-level downward adjustment in this case.

23                   THE COURT:    I plan to.

24                   MR. FEITEL:    Okay.   Yes, ma'am.

25                   THE COURT:    If you couldn't tell from my
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 72 of 142        72


 1      conversation with the government.

 2                   But as I pointed out, I am always curious to

 3      hear -- not "curious" -- I need to hear what everybody's

 4      views are.

 5                   You may sit down.

 6                   MR. FEITEL:    Thank you.

 7                   THE COURT:    All right.    The guideline at Section

 8      3E1.1(a) provides, quote:      If the defendant clearly

 9      demonstrates acceptance of responsibility for his offense,

10      decrease the offense level by two levels.

11                   The probation office applied the two-level

12      decrease for defendant clearly demonstrating acceptance of

13      responsibility for the offense.         The defendant clearly

14      agrees with the probation office's recommendation.          The

15      government argues that the two-offense level decrease should

16      no longer be applied because he falsely denied and

17      frivolously contested his relevant conduct.         Specifically,

18      the government takes issue with defendant's position that he

19      trafficked no more than 450 kilograms of cocaine; in other

20      words, he admitted to a whole lot of cocaine, but not all of

21      his drug trafficking activity.

22                   I am sympathetic to the government's view.         I also

23      appreciate that the government has -- in order to support

24      both the full amount of cocaine involved and its other

25      specific offense characteristics that it believes applies in
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 73 of 142       73


 1      this case, was put through the task of presenting that

 2      evidence in an evidentiary hearing.        But I, for the reasons

 3      that I have already talked about in the colloquy with the

 4      government, believe that the defendant here did accept

 5      responsibility for a whole lot of his drug trafficking

 6      activity, and that needs to be acknowledged.         Under the

 7      guidelines, it is acknowledged with a two-level decrease.

 8      And given the seriousness of the charge to which this

 9      defendant admitted his culpability, I will grant that

10      two-level reduction.

11                  All right.    Yes?

12                  MR. HORNOK:    There is a matter we want to address

13      with respect to the guidelines.

14                  With respect to the third point, given the Court's

15      ruling and in reliance on the Court's ruling that the two

16      points should apply, the government, likewise, is moving for

17      the third point of a reduction.

18                  THE COURT:    Okay.   That will be encouraging a lot

19      more people in Mr. Flores's situation to perhaps take the

20      same tack he has.

21                  All right.    So clearly there is no objection to

22      that?

23                  MR. FEITEL:    No.

24                  THE COURT:    So I will grant the government's

25      motion so that there are three offense levels that will be
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 74 of 142         74


 1      reduced under 3E1.1(a) and (b).

 2                   Now, I think we have the 7th issue.       I lost track

 3      of my issues here.     One second.

 4                   I think the 7th issue has to do with --

 5                   MR. FEITEL:    4C1.1, qualifying zero-point

 6      offenders.

 7                   THE COURT:    Yes.   4C1.1, qualifying zero-point

 8      offenders, and he is a zero-point offender.

 9                   I will hear the government on that.

10                   I have been talking all morning.      Excuse me while

11      I have a sip of water.

12                   MR. HORNOK:   4C1.1(a) says that:     If the defendant

13      meets all of the following criteria -- there are ten

14      subparts; looking at the bottom, then decrease the offense

15      level by two.

16                   So the question is:     Does the defendant meet all

17      of the criteria?

18                   There are ten criteria.     I have just given the way

19      that that provision is set out.       If the defendant were to

20      fail to qualify for any of the criteria, then he would be

21      ineligible for the two-point reduction.        Those criteria 1

22      through 10 are connected at the end of paragraph 9 with an

23      "and."

24                   Ten is broken up into two different parts joined

25      with an "and"; the first clause of which is that the
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 75 of 142           75


 1      defendant did not receive an adjustment under 3B1.1,

 2      aggravating role.

 3                  In this particular case, the defendant did receive

 4      an adjustment for aggravating role; therefore, because the

 5      defendant must satisfy all of the criteria in 4C1.1(a) given

 6      the plain text of that provision, he is not qualified for a

 7      two-level reduction.

 8                  THE COURT:    But 10 also says:     The defendant did

 9      not receive an adjustment under -- for aggravating role and

10      was not engaged in a continuing criminal enterprise.            And he

11      wasn't here.    Okay.    Right.   I get it.   Thank you.

12                  MR. HORNOK:    All right.

13                  THE COURT:    Mr. Feitel, why doesn't the

14      aggravating role make him ineligible?

15                  MR. FEITEL:    I am going to ask Your Honor to

16      strictly construe the subparagraph 10 where "and" means

17      "and."

18                  I will say that, as a relevant interpretive

19      analysis, when they changed the disqualifiers for criminal

20      history for the safety valve, there was another example;

21      they used the word "and"; like you had to be disqualified by

22      not having four points for violence and three.          And in this

23      court -- I can provide Your Honor the case citation.            Judge

24      Walton found that "and" meant "and."

25                  I think in the statute to be disqualified you have
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 76 of 142    76


 1      to satisfy each -- you have to -- they're framed in the

 2      negative.    You have to dissatisfy or not be able to satisfy

 3      all of them.    And it says --

 4                  THE COURT:    Wait, wait, wait.

 5                  So you are saying that he --

 6                  MR. FEITEL:    He failed to qualify --

 7                  THE COURT:    So you are saying that I have to

 8      find -- even if he received an aggravating role adjustment,

 9      I have to find that he was not engaged in a continuing

10      criminal enterprise; and I can't find that because there's

11      been no proof as to that and so, therefore, 10 doesn't

12      apply?

13                  MR. FEITEL:    I think Your Honor would have to find

14      not only that he was involved in a continuing criminal

15      enterprise but that it satisfied the statutory requirements

16      of 21 U.S.C. 848.     I think it's different.

17                  THE COURT:    So what you are saying is, like, based

18      on the evidence and the statement of facts underlying his

19      plea, it was sufficient to find him engaged in a continuing

20      criminal enterprise so -- what?

21                  MR. FEITEL:    No.   It's the negative.

22                  I think Your Honor would have to find that he

23      satisfied both of the separate requirements of

24      subparagraph 10 to be -- this is one of those -- I know Your

25      Honor worked for the Commission.       I don't know who writes
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 77 of 142       77


 1      these.    I only -- we follow the rules of strict

 2      interpretation.

 3                   It says to be disqualified you have to not have

 4      any of it.    It says you have to not have the enhancement and

 5      not -- or you have to have both.       So he is not charged with

 6      18 U.S.C. 848.     And to be fair, if the Court --

 7                   THE COURT:    He hasn't been found -- you would

 8      admit he has not been found to have engaged in a continuing

 9      criminal enterprise; he hasn't been convicted under 21

10      U.S.C. Section 848; that was never a charge brought against

11      him.     The government hasn't attempted to present any proof

12      about whether he was not involved or was involved in a

13      continuing criminal enterprise, so the CCE charge is

14      irrelevant here.

15                   Why isn't that enough for him not to have been

16      engaging in a continuing criminal enterprise?         I mean, why

17      isn't that enough to --

18                   MR. FEITEL:    I think he's only --

19                   THE COURT:    So what you are saying --

20                   MR. FEITEL:    He's only disqualified if he is

21      charged -- if he's found to have a leadership enhancement

22      and he was charged with a CCE.

23                   THE COURT:    I see.   Okay.

24                   MR. FEITEL:    I just want to say that if they had

25      intended each of them to be a separate disqualifier and not
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 78 of 142    78


 1      conjunctive because "and" means "and," they could have made

 2      subparagraph 11 convicted or charged with a CCE.

 3                  THE COURT:    Yes.   And that's probably what they

 4      should have done but they wanted a round number, but who

 5      knows what they were doing.       I am not on the Commission

 6      anymore, so I can't take responsibility for how they're

 7      drafting, but this is something that I probably should bring

 8      to their attention as a confusion.

 9                  I am going to reject that statutory interpretation

10      argument, Mr. Feitel.      I think, clearly, read in a

11      reasonable way, the disqualifier in paragraph 10, under

12      Section 4C1.1, is that a defendant is not -- is only

13      eligible if he did not receive an adjustment as an -- for an

14      aggravating role and he was not engaged or found to have

15      engaged in a CCE.

16                  This defendant was found to have engaged in an

17      aggravating role, and so he is ineligible for the zero

18      point.   So that is my finding on that.

19                  But interesting argument.

20                  Okay.   Unless the government wants to respond and

21      make a fuller record on this...

22                  MR. HORNOK:    For the record, the government agrees

23      with the Court's ruling.

24                  And I would -- so one of the pieces of

25      Mr. Feitel's argument was that this language, somehow or
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 79 of 142           79


 1      another, would require -- would only be triggered if the

 2      defendant had been charged with a violation of 848.             There

 3      are other instances in the guidelines, specifically in

 4      2D1.1(a) which -- where the commission has demonstrated a

 5      capacity to craft language that would require a defendant to

 6      trigger enhancements only when a defendant is charged with

 7      an offense.    That kind of language and structure, which is

 8      present in 2D1.1(a)(1) -- a couple of those different

 9      subsections there is, obviously, not present in 4C1.1 and is

10      another basis to support the Court's ruling.

11                  THE COURT:   All right.    Thank you.

12                  Okay.   So --

13                  MS. RHEE:    Your Honor.   I'm sorry.    Can we just

14      have a really short break so I can --

15                  THE COURT:   Yes.   Yes.   This day is disappearing

16      quickly.   Yes, we'll take a ten-minute break.

17                  (Whereupon, a recess was taken.)

18                  THE COURT:   All right.    Are we ready to begin?

19                  Okay.   So let me just sum up here.

20                  I found that the government has not sustained its

21      burden of proof, proving by a preponderance of the evidence

22      to support application of the two-level increase for using

23      an aircraft; the two-level increase for bribery of a law

24      enforcement officer; the two-level increase for obstruction;

25      and I found that the defendant is not eligible for safety
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 80 of 142     80


 1      valve relief; that the two-level increase for certain

 2      qualifying zero-point offenders does not apply and,

 3      therefore, that the guidelines apply to this defendant as

 4      follows:

 5                  The base offense level is 38.       Under Section

 6      2D1.1(a)(5) and (c)(1).      That is increased by four offense

 7      levels for being an organizer or leader of five or more

 8      participants under -- for a role adjustment under Section

 9      3B1.1(a); and then there is a two-level decrease for

10      acceptance of responsibility under Section 3E1.1; and

11      another one-level decrease under 3E1.1(b) upon grant of the

12      government's motion for that third point.         That results in a

13      total offense level of 39 which, in combination with a

14      Criminal History Category of I produces an advisory

15      sentencing range of 262 to 327 months' imprisonment; a fine

16      range of 50 million to $10 million; a special assessment of

17      $100 for the one count of conviction.

18                  Are there any objections to that guideline

19      determination not already noted on the record from the

20      government?

21                  MR. HORNOK:    No, Your Honor.

22                  THE COURT:    Ms. Rhee?

23                  MS. RHEE:    No, Your Honor.

24                  THE COURT:    All right.   So I was going to talk

25      about the order of forfeiture now.        Have the parties
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 81 of 142          81


 1      conferred on the order of forfeiture at all or do I have to

 2      make findings about that?

 3                  I know I have entered a preliminary order of

 4      forfeiture on September 18, 2023.       Is that ready to be

 5      finalized, or no?

 6                  MR. HORNOK:    The parties have not conferred, to

 7      answer your first question.

 8                  With respect to the second question, in our

 9      briefing we have asked for an upward revision of that

10      forfeiture amount based on the evidence that was presented

11      and I think now based on the findings the Court has made.

12                  THE COURT:    Right.   So your original forfeiture

13      judgment was in the amount of 280 million derived from

14      28,000 kilograms of cocaine involved in the offense; and I

15      think you now seek a forfeiture judgment in the amount of

16      680 million.    Is that right?

17                  MR. HORNOK:    That is correct, Your Honor.

18                  THE COURT:    Okay.    And as I understand it, that is

19      attributable to the defendant's presentation of 16 binders

20      of receipts from 1985 to 1993, which you say total over

21      $100 million; is that right?

22                  MR. HORNOK:    That is correct, Your Honor.         That

23      was the testimony of the defense witness who --

24                  THE COURT:    I know exactly where the receipts came

25      from.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 82 of 142      82


 1                  MR. HORNOK:    Yes.   But the $100 million was

 2      actually part of that testimony of that witness.          He said he

 3      actually thought it might have been more.         He conservatively

 4      estimated it was 100 million.

 5                  In addition to that --

 6                  THE COURT:    Reflected in those receipts.

 7                  MR. HORNOK:    Reflected in those receipts.

 8                  In addition to that, kind of back-of-an-envelope

 9      math, I looked at those; there are approximately 17 binders.

10      The binders have a ledger actually in them.         It was about

11      $6 million per ledger as kind of an average.         17 times

12      6 million gets you over 100 million.        So I think, in

13      addition to the witness's statement, it is reflected in my

14      general review of those binders.

15                  THE COURT:    Do you think it's appropriate -- we

16      don't really have evidence about -- I mean, some illegal

17      activity was involved.      He says it was electronic smuggling

18      of -- smuggling of electronics equipment.

19                  But do you think that that is properly

20      attributable to forfeiture in connection with a narcotics

21      trafficking offense?

22                  MR. HORNOK:    I do, Your Honor.     I think that's the

23      nub of the issue there.      The Court correctly --

24                  THE COURT:    Or the big, fat question?

25                  MR. HORNOK:    It is the question.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 83 of 142         83


 1                  So I would point you to paragraph 3 of the PSR

 2      which the Court has adopted, which is that the criminal

 3      conduct charged in the indictment occurred from in or around

 4      1983 and continued until March of 2017.        So the charges to

 5      which the defendant pleaded guilty included the time period

 6      from which those receipts actually came from.

 7                  In addition --

 8                  THE COURT:    I am supposed to take the leap to

 9      believe -- to disregard his Mexican criminal attorney's

10      testimony that it was electronics equipment and think that

11      it was narcotics trafficking?

12                  MR. HORNOK:    Well, so in addition to that, you

13      have the evidence of Jack Sinuhe who described meeting the

14      defendant in the mid to late '90s and how he was already

15      engaged in drug trafficking at that time.

16                  So, essentially, what the evidence is:        These are

17      receipts from a time period in which the defendant was

18      already engaged in drug trafficking.

19                  Your Honor has identified that these receipts do

20      appear to be evidence of -- I believe Your Honor's statement

21      was something -- essentially, money laundering, right?          I

22      don't know how these don't prove anything other than money

23      laundering.

24                  Even if these receipts somehow or another

25      accurately represented the purchase of TVs and other kinds
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 84 of 142    84


 1      of equipment, that is just a different variation of money

 2      laundering.    That is kind of a trade-based money laundering

 3      idea so, essentially, you have cash in the United States;

 4      for example, in Laredo, Texas.       You need to get that cash to

 5      Mexico, you want to conceal the ownership of those things.

 6                  THE COURT:    Can I stop you for just a second and

 7      ask -- don't leave.

 8                  MR. HORNOK:    Yes.

 9                  THE COURT:    Is there an objection from the

10      defendant to me finalizing the forfeiture judgment -- the

11      preliminary order of forfeiture which was for $280 million?

12                  MS. RHEE:     No, Your Honor, not the preliminary

13      one.

14                  THE COURT:    So you would just debate and dispute

15      the final order of forfeiture that was different from the

16      preliminary order of forfeiture?

17                  MS. RHEE:    Yes.   Yes, Your Honor.

18                  THE COURT:    So my question to the government is:

19      Do we really need to fight about it because I don't know how

20      you are going to get $280 million?

21                  MR. HORNOK:    The statute commands the Court figure

22      out what the right number is regardless of whether the

23      defendant has the ability to pay or whether the government

24      has the ability to actually recover.

25                  The reason that I think it's worth fighting about
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 85 of 142         85


 1      in this particular case, in addition to just getting the

 2      right number, is that I think this discussion feeds into the

 3      Court's ultimate decision with respect to the sentence.

 4                   The value of the drugs the defendant trafficked

 5      and is responsible for trafficking, it's kind of hard -- I

 6      mean, I have never seen 450 kilograms of cocaine and I am in

 7      this business.    I imagine the Court hasn't either.        So I

 8      think it's kind of hard --

 9                   THE COURT:    I have seen pictures of it.

10                   MR. HORNOK:    Pictures of it.   So you kind of have

11      an idea, generally, as to what this might look like.            But

12      it's really quite difficult, I think, to kind of have a

13      sense of:    What does 56,000 kilograms of cocaine actually

14      look like?    It's kind of just big numbers that sound bad.

15                   But I think when you put a dollar amount to it, it

16      actually drives home the point.       Because I think we are

17      accustomed to using dollars and cents, and I think we have a

18      sense that $680 million is a whole lot of money; and it's a

19      very different amount of money than $280 million.          And so

20      this, I think, kind of falls into the category of -- in

21      addition to:     We just congressionally have the mandate to

22      get the number right.      This is a step in the way to our

23      eventual discussion of:      What's the right outcome for a guy

24      who traffics $680 million worth of cocaine versus

25      $280 million worth of cocaine?
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 86 of 142        86


 1                  THE COURT:    All right.   I will hear Mr. Feitel.

 2                  MR. FEITEL:    Your Honor, to the extent that the

 3      government initially offered $280 million, we do not object.

 4                  If the government now wants to use the ledgers

 5      that were produced in the case to kind of create another

 6      argument about the drug trafficking that the defendant

 7      engaged in, we object.      I think that's what the government

 8      is trying to do here.      They're trying to suggest that those

 9      were all the proceeds of crime and money laundering.

10                  Mr. Flores is not charged with a money laundering

11      offense in this case, and I believe those ledgers are

12      outside the scope of the charged criminal conduct.

13                  To be charitable, the government said themselves:

14      It doesn't matter whether we can collect or not.          They are

15      not going to get the 280 million; they're not going to get

16      600 million either, I don't really believe.

17                  But to the extent that a concession means that our

18      client now is responsible for more drugs, we are just unable

19      to agree to it.     I don't understand how the computation of

20      $100 million more in the ledgers changes the forfeiture

21      number from 280 to 6-whatever.       I mean, I am also not a

22      mathematician and not a doctor -- to my mother's everlasting

23      chagrin, as I always say.

24                  But I just don't see how $100 million more gets

25      you to $680 million.      I think 280 is sufficient.      We agree
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 87 of 142          87


 1      that it doesn't require any more fact-finding by Your Honor

 2      because it's by consent between the parties.         I would ask

 3      you to do that and to reject any other kind of further

 4      argument -- or we can discuss it later at least -- about

 5      whether those ledgers are somehow related to this particular

 6      charged criminal conspiracy, because we do not believe that

 7      they are at all.

 8                   THE COURT:    Thank you.

 9                   MR. HORNOK:    The 680 million, to be clear,

10      100 million from the ledgers, 56 -- 560 million comes from

11      the description of 56 loads of 1,000 kilograms each at a

12      rate of $10,000 per kilogram; that is a conservative view of

13      the evidence that Mr. Feitel cross-examined the witness

14      about.

15                   He nailed down the witness.     He said:    It was 56

16      loads, right?    And the witness agreed that it was, in fact,

17      56 loads.

18                   That's the 56 times 1,000 times 10,000 gets you

19      560 million.    That's -- a portion of that --

20                   THE COURT:    But those loads were only half

21      attributable to the defendant, right?

22                   MR. HORNOK:    Yes.   Mr. Feitel also nailed down

23      that it was 2000 kilos per load, so that is the half.           That

24      is where that thousand comes from.        Half of it was for the

25      defendant.     All of that -- the testimony was also that all
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 88 of 142      88


 1      of those -- all that cocaine was going to the United States.

 2                  And so that -- when we made the initial motion for

 3      280 million, there was somewhat of a question based on the

 4      notes that we were looking at as to precisely how that

 5      number -- specifically with respect to the defendant's

 6      cocaine versus the amount of cocaine that was actually going

 7      to the United States, how that testimony was precisely going

 8      to come out.    That's why we kind of took the conservative

 9      estimate because we weren't quite sure, based on the notes

10      that we had, how that number was going to --

11                  THE COURT:    And you also haven't included the

12      450-kilogram cocaine load from Ramirez?

13                  MR. HORNOK:    That is correct.     We have not

14      included that number or the $20 million that was laundered

15      for the defendant in 2007 to 2008.

16                  THE COURT:    So you view this as conservative?

17                  MR. HORNOK:    Yes.   Because I think the

18      nonconservative number is $2.7 billion, and that is using

19      the much larger $26,000 per kilogram range that was

20      testified to as the possible wholesale value of that

21      cocaine.   So we have used the low-end value of a kilogram of

22      cocaine in the United States and we have focused on the

23      statement specifically.

24                  THE COURT:    Okay.   This is what I am going to do.

25                  I am going to take the preliminary order of
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 89 of 142       89


 1      forfeiture, I am going to make that the final order of

 2      forfeiture.

 3                  I do find that Pinedo did talk about the 53 to 56

 4      loads ranging from 1,000 to 2,000 kilos per truckload, one

 5      to two every two weeks; 53 to 56 shipments, half of which

 6      each load belonged to the defendant.        I thought his numbers

 7      were sufficiently clear.      But at the same time, given the

 8      length of time that has passed, appropriately cabined; and

 9      the conservative estimate of kilograms of cocaine was about

10      2800 kilograms of cocaine.        At 10,000 each, you get 280

11      million; that's going to be the final order of forfeiture.

12                  MR. HORNOK:    28,000 kilograms of cocaine.

13                  THE COURT:    28,000.    So $280 million, as set out

14      in the preliminary order of forfeiture, which I originally

15      thought made sense; and I was a little bit surprised to see

16      the government's -- I don't know, I can't do the math -- but

17      doubling of it at least in the final -- the request for the

18      final order of forfeiture.        All right.

19                  MR. HORNOK:    With respect to the government's

20      argument as to the $20 million laundered, separate

21      testimony, 2007 to 2008 --

22                  THE COURT:    All right.    I am just going to be

23      conservative.

24                  MR. HORNOK:    Thank you.

25                  THE COURT:    Okay.    Now, returning to the third
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 90 of 142       90


 1      part of this hearing where I will hear from the parties

 2      about their sentencing recommendations.

 3                   The probation office has recommended 162 months'

 4      incarceration; the defendant has recommended 120 months'

 5      incarceration, with a variance below the guidelines; the

 6      government had asked for life imprisonment.

 7                   I will start with the government.

 8                   MR. HORNOK:    Thank you, Your Honor.

 9                   To be clear, just as a preparatory point, the

10      probation office made its recommendation before any of the

11      evidence --

12                   THE COURT:    I know.   You don't have to deal with

13      that.

14                   MR. HORNOK:    Okay.    So with respect to the range

15      that the Court has now established with respect to the

16      guidelines, we have now come to the point where the question

17      is:     Is this a heartland case for that particular guideline

18      range?

19                   The defendant has said that this is something

20      below the heartland and that he should somehow or another be

21      sentenced to 120 months.

22                   I would argue that this -- although I am not

23      asking for --

24                   THE COURT:    I think he's partially arguing for

25      that.    So given his age -- I think he is in his 70s -- so
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 91 of 142    91


 1      that he sees daylight outside the prison walls.

 2                  MR. HORNOK:    That certainly -- I understand that

 3      that could or should be his argument; and the defendant's

 4      age is certainly relevant to the Court's determination.

 5                  But with respect to the defendant's conduct,

 6      although I am not asking for the Court to go above the

 7      guideline range -- I think 327 months, which is the top of

 8      guideline range as the Court has now found it, is an

 9      appropriate sentence.      We are revising that recommendation

10      down based on the Court's determination with respect to the

11      guidelines.

12                  But I think there are a whole lot of reasons, even

13      though I am not asking -- maintaining our position that it

14      should be life, I think there are actually a whole lot of

15      reasons why this is not a heartland case with respect to the

16      guidelines.    In fact, it is much, much worse than the

17      heartland case that is represented by this guideline range

18      because this is a drug trafficker who is categorically

19      different from a drug trafficker who traffics 450 kilograms

20      of cocaine.

21                  As the Court has just held, a conservative -- very

22      conservative, excluding buckets and buckets and buckets of

23      evidence estimate of the quantity of drugs that the

24      defendant is responsible for -- 28,000 kilograms; that is

25      much, much, much, much more than the 450 kilograms that
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 92 of 142          92


 1      would be sufficient to get you into this category.

 2                  Likewise, the defendant's role is not somehow or

 3      another unique; many defendants have this.         But, really,

 4      it's the quantity of the cocaine that was at issue in this

 5      particular case that really makes it -- it's just a

 6      different case.     So much more than 450 kilograms.

 7                  And the guidelines -- so I am going to reference

 8      some of the guidelines that generally would support a basis

 9      for the Court to depart upward from the guidelines.             I am

10      not asking the Court to do that.       But what I think that they

11      are is that they're instructive for where within the

12      guidelines the Court should find the sentence because these

13      are things that the sentencing commission has sat down and

14      said:   These are things that matter.

15                  One of the provisions is guideline Section

16      5K2.0(a)(3).    It provides that:     A departure may be

17      warranted in an exceptional case even though the

18      circumstance that forms the basis for the departure is taken

19      into consideration in determining the guideline range if the

20      Court determines that such circumstance is present in the

21      offense to a degree substantially in excess of or

22      substantially below that which ordinarily is involved in

23      that kind of offense.

24                  One of the things that the probation office did --

25      and this is often very helpful information; is they go look
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 93 of 142       93


 1      to see, okay, for people who have a base offense level of

 2      38, who have some kind of an aggravated role adjustment,

 3      what's the typical sentence that that kind of an individual

 4      receives.

 5                   Those numbers represent those individuals who only

 6      trafficked 450 or maybe 500 kilograms of cocaine.          This is a

 7      defendant who conservatively trafficked much, much, much,

 8      much more for decades; absolute decades.         That is -- the

 9      quantity of cocaine just makes this case different.

10                   THE COURT:    So the record is absolutely clear, you

11      are not asking me to make an upward departure under

12      Chapter 5?

13                   MR. HORNOK:    I am not asking you to make the

14      upward departure or to make an upward variance.

15                   What I am alluding to is:     The guidelines focus in

16      on this, and that is a basis for the Court to go to the top

17      of the guideline range in this case.

18                   In addition to conduct which has been accounted

19      for by the guidelines but insufficiently so, there is also

20      conduct which now, under the Court's rulings, has not been

21      accounted for by the guidelines at all.        I would direct you

22      to all of the conversation that we have had for the last

23      couple of hours about all of the guideline enhancements

24      which we have brought to the Court's attention which the

25      Court have now found don't apply.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 94 of 142         94


 1                   So in some ways this is kind of like an imperfect

 2      guideline enhancement argument, which is:         Look to the

 3      conduct of the defendant and the fact that it does appear to

 4      be obstructive.     There is a difference.

 5                   I would point out the defendant, throughout the

 6      course of this hearing -- and if you looked at the video --

 7      he was typically sitting as he was here with his elbow on

 8      the table with his right hand stroking his face.          When he

 9      made the threatening gesture -- and I do think it was a

10      threatening gesture, it was very different.

11                   It wasn't just, he happened to stick out his

12      tongue and used that same right hand to touch his tongue.

13      It was: His hand was down, he picked up his left hand; he

14      stuck his tongue out.      He then touched the tip of his tongue

15      using his finger.

16                   I understand the Court's ruling with respect to:

17      That is not sufficient to meet the guideline enhancement in

18      this case.    But it is relevant information which I believe

19      the Court should consider when determining where within the

20      guideline range this defendant should be sentenced.

21                   In addition to that, I understand it's the Court's

22      ruling with respect to acceptance of responsibility.            But

23      for all of the reasons which I think -- all of the arguments

24      we have made as to why that may not have been -- the

25      position we took that he shouldn't have received
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 95 of 142      95


 1      acceptance -- all of that, as the Court has acknowledged,

 2      reflects on where within the guideline range he should be

 3      sentenced.    None of those things have now been taken into

 4      account under the guidelines.

 5                   This is a defendant whose acceptance of

 6      responsibility truly is imperfect because of this -- at

 7      least what was understood to be obstructive conduct by a

 8      witness who was sitting on the stand.        And the defendant's

 9      decision to advance a strategy after pleading guilty that

10      actually advanced a false narrative.

11                   The Court has now said conservatively 28,000

12      kilograms of cocaine.      He said under oath to a judge, in

13      this Court when he pleaded guilty, it was absolutely no more

14      than 450 kilograms.       That is a position he has reiterated

15      over and over and over again.       That is just different than a

16      defendant who walks in here, who has taken full

17      responsibility for his conduct and has given a full account

18      of that conduct in a plea agreement and accepted that

19      sentence.

20                   I would direct your attention to the sentencing

21      hearing you had this morning; that defendant took this

22      responsibility.

23                   THE COURT:    Was that only this morning?

24                   MR. HORNOK:    It was only this morning.

25                   That defendant took responsibility for the most
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 96 of 142    96


 1      serious aspects of the conduct that he was responsible for,

 2      and he accepted that he was going to get a sentence that was

 3      very significant even though the guidelines gave you the

 4      ability to possibly do something lower than the sentence he

 5      agreed to; that's different than what this defendant has

 6      done.

 7                   This defendant has affirmatively, to you, in court

 8      enhanced a false narrative and has denied responsibility for

 9      what is core to -- we are not talking about ancillary

10      things.    This is to -- core to what kind of drug trafficker

11      the defendant was.     Was he a 450 or less kind of drug

12      trafficker who, because of his bad friends in prison,

13      invested in three loads because he was kind of rough on

14      luck?     Or is this a defendant who trafficked conservatively

15      in a one- to two-year period out of his 30-plus years as a

16      drug trafficker at least 28,000 kilograms of cocaine?

17                   It's a different kind of acceptance of

18      responsibility and it should be reflected in the Court's

19      sentence as to where within the guideline range the Court

20      should sentence the defendant.

21                   I would also point the Court's direction to

22      guideline Section 5K2.7, similar with respect to the

23      guideline -- things that have been accounted for by the

24      guidelines.    This is an additional thing which is not

25      accounted for by the guidelines; but the guidelines say:        If
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 97 of 142      97


 1      this occurred, this might be relevant to the Court's

 2      sentence.    That provision says:     If the defendant's conduct

 3      resulted in a significant disruption of a governmental

 4      function, the Court may increase the sentence above the

 5      authorized guideline to reflect the nature and extent of the

 6      disruption and the importance of the governmental function

 7      affected.

 8                  In this particular case, we have lots and lots and

 9      lots of testimony about how the defendant's conduct and the

10      conduct of those with whom he was working to traffic drugs

11      was disrupting the important governmental functions across

12      the country of Mexico.

13                  We have testimony of how you've got the leader of

14      the Milenio cartel has coopted the Mexican Navy to be his

15      spy in the port and to do his dirty work.         You have

16      testimony of how a money mule has coopted the commander of

17      an airport $50,000 a week to allow money to be waltzing

18      through an airport in Mexico to head back to Colombia.

19      These are effects on the government of Mexico

20      collectively -- I think it is just almost common sense, I

21      mean, general knowledge that the government of Mexico has

22      been affected -- and the ability of that government to

23      function properly has been affected by the defendant and

24      those with whom he was closely associating; El Chapo, the

25      Beltran Leyva organization.       These are not insignificant
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 98 of 142        98


 1      people.   The defendant was very tied into people who were

 2      causing conduct which caused the government of Mexico not to

 3      function the way that it should have.

 4                  Likewise, there is a two-level enhancement if the

 5      defendant -- under 2D1.1(b)(16)(E) if the defendant receives

 6      an adjustment under 3B1.1 -- which he did -- and the

 7      defendant committed the offense as part of a pattern of

 8      criminal conduct engaged in as a livelihood.         The thrust of

 9      this enhancement is:     If you've got somebody who isn't just

10      kind of -- their side gig -- their side hustle is to sell a

11      little bit of drugs, but this is somebody who is living --

12      making a living, their livelihood is this criminal conduct,

13      then there is a two-level enhancement.        That is exactly the

14      kind of individual that this defendant is.         That's the

15      picture that was painted by the testimony that we have here.

16                  This is not somebody who somehow or another -- as

17      a side business to his -- you know, playing soccer in his

18      backyard soccer field happened to sell drugs.         This is a

19      person who was able to buy that soccer field in the backyard

20      of his house because he was selling drugs.

21                  This is a person who in the 1980s- -- I mean, his

22      mitigating defense in this case is:        Well, I was already

23      smuggling things into Mexico, and that was the way that I

24      was able to accumulate that $6 million that the Mexican

25      government took out of my house.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 99 of 142        99


 1                   So this defendant made his livelihood by engaging

 2      in criminal conduct.       This was a part of his criminal

 3      conduct and therefore that, too, should be considered,

 4      because it has not been considered by the guideline

 5      calculation so far.

 6                   So I think to kind of -- going to the last

 7      question, which is 327 months -- it's a long time.          It's a

 8      very long time for a defendant who is in his 70s.          It may be

 9      an effective life sentence for a defendant depending on his

10      health situation.     Why is that an appropriate sentence in

11      this particular case?

12                   I think it really does go back down to -- look at

13      his post-plea conduct.       I mean, all of his other conduct is

14      incredibly bad and supports the top of the guideline range.

15                   THE COURT:    Can I just interrupt you for a second,

16      because in other cartel-related cases I have imposed life

17      sentences.

18                   MR. HORNOK:    Yes, Your Honor.

19                   THE COURT:    And in those cases, by my

20      recollection, the defendant has been involved in

21      egregious -- directly egregious corruption, violence,

22      murder, torture, and mayhem.

23                   MR. HORNOK:    Yes.

24                   THE COURT:    There is no evidence of that with this

25      defendant, so shouldn't that -- in terms of avoiding
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 100 of 142         100


 1      unwarranted sentence disparities, shouldn't I take that into

 2      account in combination with the defendant's age, in

 3      evaluating whether a top-of-the-guidelines sentence should

 4      be imposed?

 5                   MR. HORNOK:    You absolutely must --

 6                   THE COURT:    I mean, I have seen other cases that

 7      are really chilling.

 8                   MR. HORNOK:    You absolutely must consider that.

 9      And that is something different with respect to Mr. Flores,

10      is that he was not personally engaged in that kind of

11      violence.

12                   What I would direct you to, though, is that those

13      individuals who were engaged in that kind of violence are

14      the individuals with whom Mr. Flores was closely associated.

15      Where the individuals who were protecting Mr. Flores's

16      business, where the individuals that Mr. Flores was

17      supporting with his business -- you don't get to be an ally,

18      an associate, of the Sinaloa cartel and be buddies with

19      El Chapo without supporting what El Chapo is doing.              You

20      don't get to be in that position without supporting the

21      system which is so incredibly violent, as the Court has

22      seen.

23                   But I do think it is different, his kind of arm's

24      length relationship with that violence does make it

25      different.    I don't think it absolves him of that violence
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 101 of 142         101


 1      because it is still at arm's length.        He's still benefiting

 2      from it the same way that he's benefiting from the commander

 3      of an airport getting $50,000 a week.         He is still

 4      responsible for or getting the benefit of -- and, in some

 5      way, in a mitigated way responsible for that conduct.            So,

 6      yes, you must consider that as a difference.

 7                  But what is different with those individuals, I

 8      believe, is the post-plea conduct, and that really does make

 9      the defendant different in this case.

10                  Instead of taking responsibility for this kind

11      of -- his conduct, the defendant tried to cut a path --

12      tried to kind of thread that needle in a way that had his

13      cake -- he'd get to keep his cake and eat it too.

14                  He got to push the government, advance this false

15      narrative while also getting now the benefit of acceptance

16      of responsibility.      Because of that approach -- I am not

17      standing up here asking that he be sentenced to life in

18      prison.    In that sense, he has already received -- he is

19      getting the benefit of that approach.         But within the

20      guideline range he shouldn't double get the benefit because

21      of that distinction.

22                  THE COURT:    All right.

23                  MR. HORNOK:    So, for all of these reasons, a

24      sentence of 327 months is absolutely appropriate.

25                  One more point.     I'm sorry, I said that was it.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 102 of 142       102


 1                  One more point with respect to the unwarranted

 2      sentencing disparities.      Certainly, there are top-level

 3      people that you need to distinguish down from; but there are

 4      also bottom-level people that you need to distinguish up

 5      from.   The sentence of 120 months would be less than the

 6      20-year-old or 22-year-old -- or however old that guy was --

 7      who engaged in a couple of years' worth of admittedly

 8      violent and terrible conduct versus somebody who has been at

 9      the very highest levels of drug trafficking over the course

10      of many decades.     It has to be a lot more than 180 months.

11      It has to be more than 262 months.

12                  I don't think -- under the statute, I don't think

13      it would be possible for the Court to uphold its duty to

14      provide an appropriate sentence to go below 327 months.

15      That is the number that is necessary in this case.           It is

16      supported by the guidelines, in the findings that the Court

17      has found so far, and it is just common sense in this

18      particular case.

19                  THE COURT:    Thank you.

20                  MR. FEITEL:    Your Honor, Ms. Rhee is going to

21      deliver the main part of the argument.         But I wanted to

22      address something that I was paying attention to when the

23      government was speaking.

24                  For the first time in the history of this case,

25      the government made reference to other guidelines that
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 103 of 142       103


 1      they're asking Your Honor to consider that heretofore were

 2      not referenced in any of the pleadings in this case,

 3      including being in the business of drug trafficking and the

 4      effect of other governmental activities.

 5                   Now, I am concerned that these are matters that we

 6      had not been aware of before we came to Court.          Had I been

 7      aware of them, I would have tried to respond.

 8                   THE COURT:    Except I think that he was borrowing

 9      the words of some of the Chapter 5 provisions to help him

10      make his argument that would otherwise apply, and he is not

11      using them to ask for upward departures.

12                   The fact that this defendant made a business for a

13      very long time of engaging in international narco

14      trafficking is no secret.       The fact that -- I think that I

15      am using that as -- I am viewing that as borrowing some of

16      the words carefully crafted and articularly put out by the

17      sentencing commission without requesting an upward

18      departure.    I make that clear on the record, Mr. Feitel.

19                   MR. FEITEL:    As long as they are sort of in the

20      nature of parables, that's fine.        I don't want to be in the

21      position where the government makes arguments about the

22      application of other guidelines and we stand silent without

23      saying anything about it would look bad in an appellate

24      record if someone ever looked back and said:          What were

25      Mr. Feitel and Ms. Rhee doing standing there?
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 104 of 142         104


 1                  THE COURT:    Well, Rule 32 saves us all because you

 2      can't actually invoke a departure provision without prior

 3      notice prior to the hearing and so -- as a procedural

 4      matter, we can't address that.

 5                  MR. FEITEL:    I was going with jet but I thought

 6      maybe discretion was the better part of it.          With that, I am

 7      going to let Ms. Rhee address the Court about the

 8      sentencing.

 9                  THE COURT:    All right.    Ms. Rhee, why don't you

10      call whoever it is you want to speak on behalf of the

11      defendant first and then you can get to whatever you have to

12      say.

13                  MS. RHEE:     Your Honor, right before Your Honor

14      took the bench, I did go through the group and said:             Who

15      wrote a letter and who didn't?

16                  I found two individuals who had not written

17      letters so they would like to address the Court.          I can tell

18      you the names -- it's not the complete names.          But I don't

19      know if Your Honor wants me --

20                  THE COURT:    Do you not have the complete names?

21                  MS. RHEE:     Because it was right before Your Honor

22      took the bench, I didn't get to --

23                  THE COURT:    I see.   Why don't you get their

24      complete names -- two of them?

25                  MS. RHEE:    Two of them, Your Honor.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 105 of 142      105


 1                   THE COURT:   Let's do that quite quickly.       Call

 2      them right up, and we will hear them.

 3                   MS. RHEE:    His name is Oscar Jesus Flores, and he

 4      is Mr. Raul Flores's grandson.

 5                   THE COURT:   All right.     Could Mr. Oscar Jesus

 6      Flores step forward, please.

 7                   THE COURT:   Ms. Rhee, does Mr. Oscar Jesus Flores

 8      speak English?

 9                   MS. RHEE:    He does.    But he says he's so nervous

10      that he doesn't think that he is going to able to testify in

11      English --

12                   THE COURT:   He is not testifying, he is making a

13      statement.

14                   MS. RHEE:    To speak to Your Honor.     He would

15      prefer to speak to Your Honor in Spanish.

16                   THE COURT:   Okay.      Can the interpreters handle that?

17                   THE INTERPRETER:     Yes, Your Honor.

18                   THE COURT:   Okay.    You can speak in Spanish.

19                   MR. O. J. FLORES:       Okay.   So my name is Oscar

20      Flores, and I am Mr. Raul Flores-Hernandez's grandson, and I

21      would like to say a few words.

22                   I would like to speak from my heart.       I would like

23      to say that my grandfather is a very loving person, that he

24      has a very big heart, that is extended to all of his family

25      members.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 106 of 142        106


 1                  He is my pillar.      Both my pillar and -- I am

 2      speaking for my entire family.       He is also a very happy

 3      person, a very simple person, and a very honest person.

 4                  And honestly, what I would like, God willing, is

 5      for him to be out and be with us soon.          We really miss him,

 6      and especially me because he is like my second father.

 7                  When I speak with him on a daily basis he makes me

 8      laugh.    He listens to me, he understands me a lot.         He gives

 9      me life advice, how to be a man -- and for the whole family.

10      And honestly, I just love him very much.

11                  THE COURT:    And I hope one of the things he

12      teaches you is not to get involved -- I hope one of the

13      things he teaches you is not to get involved in narcotics

14      trafficking.

15                  MR. O. J. FLORES:      Never.   Never.   What he always

16      says to me is to study, to work hard so that I can help my

17      family.    Because as he tells me, I am also a family man; I

18      am the head of the family.        And I would just like to say one

19      more time I would just really look forward to having him

20      back with us at home again.

21                  THE COURT:    Okay.    Thank you.

22                  MR. O. J. FLORES:      Thank you, Your Honor.

23                  MS. RHEE:    The other individual is named Pablo

24      Vazquez.

25                  THE COURT:    Is Pablo Vazquez here?
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 107 of 142            107


 1                  Is it Vazquez, V-A-S, or V-A-Z?

 2                  MS. RHEE:    V-A-Z-Q-U-E-Z.

 3                  THE COURT:    All right.    Mr. Vazquez you may speak.

 4                  MR. VAZQUEZ:    So the only thing I really want to

 5      say is that I am Mr. Flores's nephew.         And I would like to

 6      reiterate what my cousin -- nephew said, and that is that

 7      Mr. Flores is a really wonderful person.         And as people

 8      know, he has a really big heart that he shares with

 9      everybody, and we really want him back home with us.             We

10      really miss him, and we would really like him back with us.

11                  THE COURT:    Thank you.

12                  Ms. Rhee.

13                  MS. RHEE:    Your Honor, as Your Honor noted,

14      Mr. Flores is a 71-year-old man.        As Your Honor can see, he

15      is a beloved father, brother, husband, uncle, nephew.            And

16      there are some friends in the audience, also, who traveled

17      from California, Atlanta, Chicago, and even Mexico to show

18      their support.

19                  The defense had previously submitted a binder of

20      letters.    I have never honestly seen that many letters.             I

21      have never submitted that many letters to a Court on behalf

22      of a defendant at all.

23                  THE COURT:    I have never seen so many letters.

24                  MS. RHEE:    From my conversation with the family,

25      it's clear that he is the glue that keeps the family
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 108 of 142            108


 1      together even now.

 2                  I understand, with my -- from my conversations

 3      with the family last night, that they have videos at the

 4      jail; and whenever they have videos he makes sure the family

 5      gathers.    If there is someone missing he will say:         Why are

 6      they missing?     Is there a problem with that person?           And he

 7      encourages the family to support each other, his children,

 8      his grandchildren; and he is the youngest of 18.          He has

 9      nieces and nephews here who are actually older than he is.

10                  We make no mistake, Your Honor, Mr. Flores

11      accepted responsibility for what he did.         He pled guilty to

12      drug trafficking.     He understands and acknowledges the

13      terrible errors and he is paying for those errors in jails

14      far away from home.      He was at the D.C. Jail where the

15      conditions of confinement were horrible.         He was extradited

16      here at the height of the pandemic.        Before that, when he

17      was in Mexico, he was held at Altiplano; it's a maximum

18      security prison.     It's not a regular jail as it is here;

19      it's like the super max of Mexico.

20                  THE COURT:    And that's because he was fighting

21      extradition, right?

22                  MS. RHEE:    At the end, he decided to drop all

23      challenges and come to the United States because -- I

24      believe he came to the United States after four years.             And

25      if he wanted, he could have held off extradition for years.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 109 of 142        109


 1      There was one individual who was recently extradited here

 2      after 14 years.     And I think there are others who are in

 3      Mexico now awaiting extradition who have been waiting

 4      extradition even longer.       Given his age, he could have done

 5      so and finished off his time there.

 6                  But he was extradited here.       He was in the D.C.

 7      Jail where the first, I believe eight months, nine months we

 8      had no personal contact visits at the jail.          Then he was

 9      transferred to Lewisburg where he was -- he was there for

10      several months.     But because of the separation order he was

11      kept away from the majority of the Hispanic inmates who were

12      transferred there, and he was the victim of an assault from

13      a cellmate.    I confirmed with other inmates that he was,

14      indeed, assaulted by the other inmate for his fault of

15      respect or his lack of respect.

16                  He lacks any and all language skills even though

17      he has been here, I believe, three years now.          So it's easy

18      for him to be a victim.      He can't communicate with the

19      guards.    He can't communicate when he has health issues.         He

20      has had to call me and I have had to call the jail or

21      contact the jail.     And because of his advanced age, any

22      medical issues will only worsen dramatically.

23                  Mr. Flores does stand apart from any of the other

24      drug traffickers who generally come before this Court.           He

25      never carried weapons and no violence has ever been alleged.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 110 of 142        110


 1                  At his age there is no question of recidivism.

 2      Given the circumstances, there is no reason to believe that

 3      he would go back to any sort of illegal activity.           He only

 4      wants to return home to Mexico and to isolate himself on a

 5      family farm surrounded by family.        This is what he's

 6      actually told me.

 7                  For this defendant, even a 15-year sentence is the

 8      functional equivalent of a life sentence.         He is more than

 9      71 years old.     Once his time is done here, he will be

10      transported to immigration custody where -- we can't tell

11      how long -- it's impossible to determine how long he will

12      spend in immigration custody before he is eventually

13      transferred back to Mexico.

14                  What we're asking for, Your Honor -- because of

15      his age, because of his lack of violence -- is for a

16      downward variance and for a sentence of 120 months.

17                  Mr. Flores has prepared a statement that he will

18      be reading.

19                  THE COURT:    Mr. Flores, this is your opportunity

20      to speak directly to me.       You can step forward.

21                  THE DEFENDANT:     Your Honor, with all due respect I

22      speak to you.     I pled guilty of what I did.       From the very

23      first day that I came, I told my lady attorney that I came

24      to the United States not to fight, but the government

25      accused me of things that I didn't do.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 111 of 142       111


 1                   I pled guilty of what I did, nothing more.

 2                   I want to apologize to you, Your Honor, because of

 3      my behavior in the sentencing hearing.         Sometimes my actions

 4      may seem not appropriate.       When I am stressed, I laugh.     I

 5      simply couldn't believe the false things that these people

 6      were saying about me.

 7                   Your Honor, I am 71 years old and I ask you to

 8      allow me to go back to my house in Mexico.         I have been in

 9      prison for some six and a half years, and a great part of

10      that time has been very difficult.

11                   In Mexico I was in a high-security prison in

12      Mexico, in Altiplano where the conditions were very

13      difficult.    I am a family man.     And I am asking you to allow

14      me to go back to my house to spend my last few years that I

15      have left to be with my family, with my children, with my

16      grandchildren, and with my loved ones.         Thank you, Your

17      Honor.

18                   THE COURT:    Thank you.   You can -- all right.     Let

19      me hear from the government first.

20                   MR. HORNOK:    If I could just briefly respond to

21      some of the statements that he made.

22                   The defendant has continued to falsely --

23                   MR. FEITEL:    We object, Your Honor.

24                   THE COURT:    I actually think you don't have to

25      repeat what you have already said.        I can take account of
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 112 of 142      112


 1      everything I can anticipate you are going to say, and I get it.

 2                  MR. HORNOK:    Thank you.

 3                  THE COURT:    All right.

 4                  Ms. Rhee, and your client -- could you step

 5      forward.    I am going to explain the sentence I am about to

 6      impose and impose sentence.

 7                  So after determining how the sentencing guidelines

 8      apply in this case, having heard testimony at a three-day

 9      evidentiary hearing, having reviewed the extensive exhibits

10      presented at that evidentiary hearing and in supplemental

11      briefs, and in other notebooks full of correspondence that

12      has been provided by the defense, I have to consider the

13      relevant factors set out by Congress in 18 U.S.C. Section

14      3553(a) to ensure that I impose a sentence that is

15      sufficient but not greater than necessary to comply with the

16      purposes of sentencing.

17                  I always think it's good to remind ourselves about

18      what those purposes of sentencing are because this is a

19      sober moment.

20                  We have heard from the defendant's family members,

21      heard from the defendant, all he wants to do is go home and

22      remain in the bosom of his family.        And yet the purposes of

23      sentencing are far broader than what a defendant wants and

24      what his family wants.

25                  The purposes of sentencing include the need for
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 113 of 142   113


 1      the sentence imposed to reflect the seriousness of the

 2      offense.    And who I have standing before me is a person who

 3      dealt with importing vast quantities -- tonnage quantities

 4      of cocaine into this country.

 5                  I also have to consider the need to promote

 6      respect for the law and to provide just punishment for the

 7      offense.    The sentence also should deter criminal conduct,

 8      protect the public from future crimes by this defendant, and

 9      promote rehabilitation.

10                  So in addition to the guidelines and policy

11      statements, I have to consider the nature and circumstances

12      of the offense, this defendant's history and

13      characteristics, the types of sentences available, the need

14      to avoid unwarranted sentence disparities among defendants

15      with similar records found guilty of similar conduct, and

16      the need to provide restitution to any victims of the offense.

17                  With respect to the restitution factor which I

18      will deal with first, this is not the type of case where

19      there are identifiable victims warranting restitution, so I

20      will not address that factor any further.

21                  Regarding the nature and circumstances of the

22      offense, he engaged in a large international drug conspiracy

23      in which he facilitated, as I have already said, the

24      importation of tonnage quantities of cocaine into the

25      United States over a period of years.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 114 of 142         114


 1                  He admits, in the statement of facts supporting

 2      his plea, that he trafficked drugs from 2007 to 2017.            And

 3      the facts of his drug dealings are corroborated by the

 4      government witnesses at the evidentiary hearing, Mr. Pinedo,

 5      Murillo Ramirez, and Jack Sinuhe.

 6                  This defendant was -- if not a member of some of

 7      the more significant and violent cartels -- the Sinaloa

 8      cartel, the CJNG, the Milenio cartel -- he certainly was

 9      associated with the leaders of at least the Milenio and

10      Sinaloa cartels which, I think, as the government said --

11      they all helped each other in various ways, either with

12      protection, either with deals -- certain deals, and so on.

13                  Regarding his history and characteristics, he is

14      71 years old.     He was first arrested in Mexico in 2017.

15      While he contested extradition, he was held there; arriving

16      in the United States somewhat later.        He has, clearly, a lot

17      of family; a lot of community support and family support.

18                  Based on everything I have read, he is a pretty

19      likeable guy.     But he is not standing before this Court

20      based on whether he is likeable or not, whether he is a good

21      father or a good grandfather or not.        He is here for offense

22      conduct that is very damaging to this country with the

23      amount of cocaine being shipped here.

24                  He has no prior criminal convictions, although he

25      was prosecuted in Mexico and found not guilty for a money
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 115 of 142       115


 1      laundering offense.      It's not clear to me that he has ever

 2      had legitimate ways that he has made money other than

 3      cocaine trafficking.      Based on the testimony at the

 4      evidentiary hearing, he was a smuggler of illegal goods.

 5                  But in any event, the need for the sentence

 6      imposed to deter criminal conduct and protect the public

 7      from further crimes are critical considerations for every

 8      sentencing judge.     And here, regarding general deterrence,

 9      people who are abroad who are engaged in huge narcotics

10      trafficking operations, shipping tonnage quantities of

11      cocaine here is a matter that this government and this Court

12      takes very seriously, needs to be deterred.

13                  Regarding specific deterrence, this defendant

14      admitted to being on the run for a number of years even

15      before his arrest, from 2010 to, I guess, 2015.          I have to

16      say that some of his conduct during the evidentiary hearing

17      was troubling, in terms of demonstrating a lack of disregard

18      for law and order, which is consistent with him being on the

19      run for quite some time from Mexico authorities.

20                  Regarding the need to avoid unwarranted sentence

21      disparities among defendants with similar records found

22      guilty of similar conduct, generally, a sentence within the

23      guidelines range addresses that factor, although it is only

24      one factor for the Court to consider.

25                  Neither the government nor the defendant has
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 116 of 142    116


 1      provided any specific comparators to which they want to

 2      direct the Court's attention.       But in any event, this

 3      defendant, given his role in an international narcotics

 4      operation with a management responsibility, is somebody who,

 5      in some ways, stands alone and not comparable to a lot of

 6      the other defendants sentenced under the guidelines.

 7                   Regarding the types of sentences available, his

 8      guidelines range is 262 to 371 [sic] months' imprisonment

 9      which recommends a sentence of -- a lengthy period of

10      incarceration, which I think is amply reasonable in this case.

11                   Yes?   Do you want to say something?

12                   MR. HORNOK:    Your Honor, I believe you may have

13      misspoken with respect to the top of the guideline.

14                   THE COURT:    No.   262 to 327.

15                   MR. HORNOK:    327.   Yes, Your Honor.

16                   THE COURT:    I'm sorry.   I thought that's what I

17      said.   Okay.

18                   I think the defendant has pointed out that his

19      status as a foreign national is going to make it more

20      difficult for him and that, when he is released, he will be

21      sent to an ICE detention center pending his deportation and

22      asks for a Smith departure, which the probation office also

23      recommends, of six months; and I will grant the Smith

24      departure.    But given the fact that I was not planning on

25      giving a sentence at the bottom of the range, I will give
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 117 of 142           117


 1      him, with the Smith departure, a sentence at the bottom of

 2      the range of 262 months.

 3                   So pursuant to the Sentencing Reform Act of 1984

 4      and in consideration of the provisions of 18 U.S.C. Section

 5      3553, as well as the advisory sentencing guidelines:             It is

 6      the judgment of the Court that you, Raul Flores-Hernandez,

 7      are hereby committed to the custody of the Bureau of Prisons

 8      for a term of 262 months as to Count 1.

 9                   In addition, you are ordered to pay a special

10      assessment of $100 in accordance with 18 U.S.C. Section

11      3013, and to a supervised release term of 60 months.

12                   While on supervision, you shall abide by the

13      following mandatory conditions as well as all discretionary

14      conditions recommended by the probation office in Part D,

15      Sentencing Options, of the presentence report, which are

16      imposed to establish the basic expectations for your conduct

17      while on supervision.

18                   The mandatory conditions include:       You must not

19      commit another federal, state, or local crime.          You must not

20      unlawfully possess a controlled substance.         You must

21      cooperate in the collection of DNA as directed by the

22      probation office.

23                   You shall comply with the following special

24      condition:    You must immediately report to the U.S.

25      Immigration and Customs Enforcement and follow all of their
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 118 of 142            118


 1      instructions and reporting requirements until any

 2      deportation proceedings are completed.         If you are ordered

 3      deported from the United States, you must remain outside the

 4      United States unless legally authorized to reenter.              If you

 5      reenter the United States, you must report to the nearest

 6      probation office within 72 hours after your return.

 7                  The Court waives imposition of a fine in this case

 8      in light of the very significant forfeiture order that will

 9      be entered.

10                  You are ordered to pay a money judgment to the

11      United States in the amount of $280 million, which is what

12      the preliminary order of forfeiture called for.

13                  The financial obligations are immediately payable

14      to the Clerk of the Court, U.S. District Court, 333

15      Constitution Avenue, NW, Washington, D.C. 20001.          Within 30

16      days of any change of address you shall notify the Clerk of

17      the Court of the change until such time as the financial

18      obligation is paid in full.

19                  The probation office shall release the presentence

20      investigation report and/or Judgment and Commitment order to

21      the Bureau of Immigration and Customs Enforcement to

22      facilitate any deportation proceedings.         The probation

23      office shall release the presentence investigation report to

24      all appropriate agencies as necessary in order to execute

25      the sentence of the Court.
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 119 of 142      119


 1                  You can appeal your conviction to the U.S. Court

 2      of Appeals for the D.C. Circuit if you believe that your

 3      guilty plea was somehow unlawful or involuntary, or if there

 4      was some other fundamental defect in the proceedings that

 5      was not waived by your guilty plea.

 6                  Pursuant to 18 U.S.C. Section 3742A, you also have

 7      a statutory right to appeal your sentence to the

 8      D.C. Circuit under certain circumstances, including if you

 9      think this sentence was imposed in violation of law or was

10      imposed as a result of an incorrect application of the

11      sentencing guidelines or is more severe than the maximum

12      established in the guideline range.

13                  You may also appeal your sentence if you believe

14      you received ineffective assistance of counsel at sentencing.

15                  Pursuant to 28 U.S.C. Section 2255, you also have

16      the right to challenge the conviction entered or sentence

17      imposed to the extent permitted by that statute.          Any notice

18      of appeal must be filed within 14 days of the entry of

19      judgment or within 14 days of the filing of a notice of

20      appeal by the government.       If you are unable to afford the

21      cost of an appeal, you may request permission from the Court

22      to file an appeal without cost to you.         On appeal, you may

23      also apply for court-appointed counsel.

24                  Are there any objections to the extent imposed not

25      already noted on the record from the government?
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 120 of 142   120


 1                  MR. HORNOK:    No, Your Honor.     Thank you.

 2                  THE COURT:    Ms. Rhee?

 3                  MS. RHEE:    No, Your Honor.

 4                  THE COURT:    Do you have a recommendation for

 5      designation?

 6                  MS. RHEE:     We would ask for Southern California

 7      and --

 8                  THE COURT:    Do we have the name of a facility in

 9      Southern California?

10                  MS. RHEE:    I don't, Your Honor.

11                  THE COURT:    Okay.   I will make a recommendation to

12      the Bureau of Prisons that Mr. Flores-Hernandez be

13      designated to a facility in Southern California.

14                  MS. RHEE:     And if I could ask that Your Honor note

15      on the Judgement and Commitment order his arrest date of

16      July 20, 2017.

17                  THE COURT:    And is that when he was arrested on

18      the warrant in this case?

19                  MS. RHEE:     Yes, Your Honor.

20                  THE COURT:    Does the government have any objection

21      to that?

22                  MR. HORNOK:     That is the date that he was arrested

23      in Mexico pursuant to a provisional arrest warrant; it is

24      the correct date.

25                  I think the Bureau of Prisons probably will give
     Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 121 of 142      121


 1      him credit for it; I just wanted to make that clear on the

 2      record.

 3                  THE COURT:    I will make that clear on the J and C

 4      just in case the Bureau of Prisons is puzzling over it.

 5                  MS. RHEE:     Thank you, Your Honor.

 6                  THE COURT:    All right.    Is there anything further

 7      today from the government?

 8                  MR. HORNOK:    No, Your Honor.     Thank you.

 9                  THE COURT:    Ms. Rhee, anything further?

10                  MS. RHEE:     No, Your Honor.    Thank you.

11                  THE COURT:    All right.    You are all excused.

12                  (Whereupon, the proceeding concludes, 3:10 p.m.)

13                                    * * * * *

14                                   CERTIFICATE

15                I, ELIZABETH SAINT-LOTH, RPR, FCRR, do hereby
        certify that the foregoing constitutes a true and accurate
16      transcript of my stenographic notes, and is a full, true,
        and complete transcript of the proceedings to the best of my
17      ability.

18               This certificate shall be considered null and void
        if the transcript is disassembled and/or photocopied in any
19      manner by any party without authorization of the signatory
        below.
20
             Dated this 2nd day of March, 2024.
21
             /s/ Elizabeth Saint-Loth, RPR, FCRR
22           Official Court Reporter

23

24

25
         Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 122 of 142                                                           1



            $               109:2, 119:18,           2010 [7] - 13:4, 20:15,   2d1.1(b)(3)(A) [1] -       72:19, 85:6, 91:19,
                            119:19                    20:23, 23:13, 28:15,      35:9                      91:25, 92:6, 93:6,
$10 [1] - 80:16            145 [1] - 1:13             33:13, 115:15            2D1.1(b)(3)(B [1] -        95:14, 96:11
$10,000 [1] - 87:12        148 [1] - 15:25           2011 [2] - 23:14, 30:21    10:9                     450-kilogram [1] -
$100 [6] - 80:17,          15-year [1] - 110:7       2012 [2] - 21:1, 30:21    2D1.1(c)(2 [1] - 34:8      88:12
 81:21, 82:1, 86:20,       150 [3] - 31:19, 31:23,   2014 [1] - 21:2           2D1.1(c)(2) [1] - 31:21   4C1.1 [6] - 10:24,
 86:24, 117:10              32:16                    2015 [3] - 21:3, 37:12,   2nd [1] - 121:20           51:8, 74:5, 74:7,
$100,000 [2] - 30:3,       1500 [1] - 37:13           115:15                                              78:12, 79:9
 44:2                      156 [1] - 16:20           2017 [10] - 25:20,                   3              4C1.1(a [2] - 74:12,
$17 [1] - 30:22            16 [2] - 23:11, 81:19      25:23, 26:1, 37:21,                                 75:5
$20 [2] - 88:14, 89:20     162 [1] - 90:3             43:15, 59:8, 83:4,       3 [2] - 59:24, 83:1       4C1.1(a)(10 [1] - 51:10
$26,000 [1] - 88:19        17 [2] - 82:9, 82:11       114:2, 114:14,           30 [3] - 32:10, 63:25,
$280 [7] - 84:11,          17-051 [2] - 1:3, 3:3      120:16                    118:15                               5
 84:20, 85:19, 85:25,      18 [9] - 9:9, 50:20,      2019 [2] - 15:16, 49:5    30-plus [1] - 96:15
 86:3, 89:13, 118:11        77:6, 81:4, 108:8,       202 [2] - 1:14, 2:5       300 [1] - 1:22            5 [4] - 4:7, 31:13,
$30,000 [1] - 30:2          112:13, 117:4,           2023 [7] - 4:6, 4:19,     3013 [1] - 117:11          93:12, 103:9
$50 [2] - 20:7, 20:9        117:10, 119:6             16:25, 17:1, 45:13,      32 [1] - 104:1            50 [4] - 13:7, 24:18,
$50,000 [4] - 45:15,       180 [1] - 102:10           49:11, 81:4              327 [7] - 80:15, 91:7,     33:15, 80:16
 45:23, 97:17, 101:3       18th [1] - 4:18           2024 [2] - 1:5, 121:20     99:7, 101:24,            500 [3] - 33:4, 71:20,
$680 [3] - 85:18,          1975 [1] - 27:25          20530 [1] - 1:14           102:14, 116:14,           93:6
 85:24, 86:25              1980s [2] - 42:18,        21 [3] - 4:9, 76:16,       116:15                   500-kilogram [2] -
                            98:21                     77:9                     328 [1] - 16:22            24:17, 25:15
                                                                                                         514-0917 [1] - 1:14
             '             1983 [1] - 83:4           22 [1] - 17:1             333 [1] - 118:14
                                                                                                         519 [2] - 15:25, 16:20
                           1984 [1] - 117:3          22-year-old [1] - 102:6   3553 [1] - 117:5
'80s [1] - 58:24           1985 [1] - 81:20          220 [1] - 17:5            3553(a [1] - 112:14       53 [5] - 19:24, 33:1,
'90s [1] - 83:14           1988 [2] - 28:1, 41:2     22314 [1] - 1:23          3553(f) [1] - 50:20        33:5, 89:3, 89:5
                           1989 [1] - 41:2           2255 [1] - 119:15         36 [3] - 13:21, 14:5,     53,000 [1] - 20:4
            /              1992 [1] - 16:2           228 [1] - 1:22             31:21                    543 [1] - 17:5
                           1993 [2] - 58:25, 81:20   24 [2] - 15:16, 17:16     371 [1] - 116:8           546-8874 [1] - 1:19
/s [1] - 121:21            1997 [3] - 15:25,         246 [1] - 16:1            3742A [1] - 119:6         55 [1] - 4:19
                            16:15, 28:24             255-6637 [1] - 2:5        38 [9] - 13:14, 13:20,    56 [11] - 12:24, 19:24,
            1                                        26,500 [1] - 33:3          14:1, 14:5, 31:15,        33:1, 33:6, 87:10,
                                                                                33:11, 34:7, 80:5,        87:11, 87:15, 87:17,
1 [4] - 31:12, 70:22,                 2              262 [6] - 80:15,
                                                                                                          87:18, 89:3, 89:5
                                                      102:11, 116:8,            93:2
 74:21, 117:8              2 [2] - 20:8, 70:22                                 39 [1] - 80:13            56,000 [3] - 20:4, 33:8,
                                                      116:14, 117:2, 117:8
1,000 [5] - 32:24, 33:6,   2,000 [2] - 32:24, 89:4                             3:10 [1] - 121:12          85:13
                                                     28 [1] - 119:15
 87:11, 87:18, 89:4        2.7 [1] - 88:18                                     3B1.1 [4] - 50:18,        56,450 [1] - 12:16
                                                     28,000 [6] - 81:14,
1,000-kilogram [2] -                                                            51:13, 75:1, 98:6        560 [2] - 87:10, 87:19
                           20 [5] - 46:17, 47:24,     89:12, 89:13, 91:24,
 24:16, 25:6                                                                   3B1.1(a [4] - 10:16,      571 [1] - 1:23
                            48:24, 49:16, 120:16      95:11, 96:16
10 [8] - 29:4, 51:12,                                                           48:13, 48:20, 80:9       5K2.0(a)(3) [1] - 92:16
                           20-year-old [1] - 102:6   280 [6] - 81:13, 86:15,
 74:22, 75:8, 75:16,                                                           3C1.1 [2] - 56:2, 59:19   5K2.7 [1] - 96:22
                           2000 [3] - 12:23,          86:21, 86:25, 88:3,
 76:11, 76:24, 78:11                                                           3E1.1 [3] - 10:21,
                            19:20, 87:23              89:10
10,000 [2] - 87:18,
                           20001 [1] - 118:15        2800 [1] - 89:10           71:14, 80:10                         6
 89:10                                                                         3E1.1(a [3] - 70:5,
                           20008 [1] - 2:4           2838187 [1] - 43:15
10-to-life [1] - 66:24                                                          72:8, 74:1               6 [6] - 4:18, 9:9, 45:12,
                           2000s [2] - 22:15,        29 [1] - 15:17
10-year [1] - 60:15                                                            3E1.1(b [1] - 80:11        82:11, 82:12, 98:24
                            28:15                    2C1.1 [1] - 10:19
100 [5] - 33:23, 45:17,                                                                                  6-whatever [1] - 86:21
                           2001 [1] - 16:1           2D [1] - 11:13
 82:4, 82:12, 87:10                                                                                      60 [2] - 4:23, 117:11
1000 [1] - 20:3
                           2002 [1] - 33:5           2D1.1 [4] - 10:5,                    4
                           2003 [7] - 12:20,          11:12, 13:20, 31:12                                600 [1] - 86:16
101 [1] - 45:12                                                                4 [1] - 17:1              619 [1] - 1:19
                            16:16, 19:7, 19:19,      2D1.1(a [1] - 79:4
11 [1] - 78:2                                                                  4(A [1] - 56:17           64 [1] - 49:10
                            33:1, 33:7, 46:17        2D1.1(a)(1 [1] - 79:8
112,450 [1] - 12:14                                                            4-level [1] - 48:20       661 [1] - 16:22
                           2004 [3] - 19:19,         2D1.1(a)(5 [2] - 31:17,
11:56 [1] - 1:5             20:13, 49:12                                       41 [1] - 4:14             680 [2] - 81:16, 87:9
                                                      80:6
12 [1] - 1:5               2005 [4] - 17:5, 33:1,                              42 [1] - 4:14             696 [1] - 16:2
                                                     2D1.1(b)(11 [5] -
120 [4] - 90:4, 90:21,      33:5, 33:7                                         450 [26] - 13:7, 13:10,   698 [1] - 16:2
                                                      10:12, 40:23, 43:4,
 102:5, 110:16             2007 [3] - 88:15,                                    13:13, 13:15, 14:10,     6A1.3 [1] - 15:19
                                                      44:9, 46:4
1300 [1] - 2:4              89:21, 114:2                                        24:18, 25:2, 25:8,
                                                     2D1.1(b)(16)(E [1] -
1348 [1] - 49:11           2008 [2] - 88:15, 89:21    98:5                      31:16, 31:19, 31:23,                 7
1352 [1] - 49:11           2009 [3] - 15:22, 24:3,   2D1.1(b)(3)(A [3] -        32:3, 32:17, 33:14,
14 [5] - 15:15, 30:21,      33:13                                               33:21, 34:9, 63:20,      7 [2] - 4:18, 9:9
                                                      36:18, 38:4, 38:13
         Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 123 of 142                                                       2



70s [2] - 90:25, 99:8     acceptance [29] -        activity [15] - 10:13,    102:7                     air [3] - 35:12, 36:21,
71 [3] - 110:9, 111:7,     59:21, 59:23, 60:4,      19:7, 20:16, 21:17,     admitting [2] - 54:22,      38:11
 114:14                    60:17, 61:17, 62:17,     28:14, 30:12, 31:8,      69:17                     aircraft [9] - 10:6,
71-year-old [1] -          64:3, 64:8, 65:22,       40:21, 48:15, 50:15,    adopted [1] - 83:2          34:11, 34:14, 35:11,
 107:14                    65:24, 66:9, 66:18,      59:11, 72:21, 73:6,     advance [6] - 4:16,         36:21, 38:11, 38:14,
72 [1] - 118:6             66:23, 67:18, 68:2,      82:17, 110:3             4:21, 65:3, 68:3,          63:9, 79:23
73 [1] - 4:24              68:13, 68:19, 68:25,    acts [1] - 42:10          95:9, 101:14              Airlines [1] - 20:9
7500 [1] - 57:12           69:5, 69:13, 71:13,     actual [5] - 34:21,      advanced [5] - 60:10,      airplane [3] - 34:17,
761 [1] - 49:4             72:9, 72:12, 80:10,      44:3, 70:15, 70:23,      62:10, 63:23, 95:10,       34:18, 38:5
7th [2] - 74:2, 74:4       94:22, 95:1, 95:5,       71:5                     109:21                    airplanes [1] - 20:9
                           96:17, 101:15           add [2] - 14:17, 33:19   advancing [1] - 64:1       airport [11] - 28:3,
                          accepted [7] - 10:19,
           8                                       added [1] - 44:16        advice [1] - 106:9          39:12, 39:13, 41:12,
                           32:15, 35:6, 65:6,      addition [19] - 11:4,    advisory [4] - 5:22,        43:9, 45:1, 45:15,
8 [1] - 4:6                95:18, 96:2, 108:11      39:10, 39:21, 47:22,     80:14, 117:5               45:23, 97:17, 97:18,
80 [1] - 4:19             accepting [1] - 14:24     52:10, 64:3, 64:9,      afar [1] - 60:19            101:3
800-6900 [1] - 1:23       accepts [3] - 36:8,       64:10, 82:5, 82:8,      affected [3] - 97:7,       Airport [1] - 20:20
801 [1] - 49:4             62:18, 62:20             82:13, 83:7, 83:12,      97:22, 97:23              alerted [1] - 25:9
848 [4] - 76:16, 77:6,    access [2] - 25:21,       85:1, 85:21, 93:18,     affiliate [1] - 23:16      Alexandria [2] - 1:23,
 77:10, 79:2               37:15                    94:21, 113:10, 117:9    affirmatively [4] -         26:4
85 [1] - 4:23             accomplices [1] -        additional [3] - 13:3,    26:21, 62:9, 65:18,       Alfaro [3] - 47:19,
86 [1] - 4:19              18:21                    60:1, 96:24              96:7                       49:15, 49:22
880 [1] - 1:18            accordance [1] -         address [17] - 6:19,     afford [2] - 59:3,         alleged [2] - 17:8,
8853035 [1] - 17:1         117:10                   11:15, 11:20, 15:8,      119:20                     109:25
                          according [4] - 12:17,    15:9, 17:24, 19:4,      afternoon [3] - 35:4,      allow [3] - 97:17,
           9               25:2, 44:17, 56:23       26:17, 35:5, 57:15,      42:24, 48:1                111:8, 111:13
                          accordingly [3] -         73:12, 102:22,          afterwards [1] - 68:12     alluding [1] - 93:15
9 [3] - 25:23, 37:21,      50:17, 59:16, 59:18      104:4, 104:7,           age [7] - 90:25, 91:4,     ally [1] - 100:17
 74:22                    account [4] - 95:4,       104:17, 113:20,          100:2, 109:4,             Almaguer [2] - 5:5,
90 [4] - 32:12, 32:13,     95:17, 100:2, 111:25     118:16                   109:21, 110:1,             18:16
 32:17, 32:19             accountability [1] -     addresses [2] - 12:1,     110:15                    Almaguer-Ramirez [2]
916 [2] - 15:15, 17:16     31:16                    115:23                  agencies [1] - 118:24       - 5:5, 18:16
92101-8807 [1] - 1:18     accountable [6] -        adjustment [19] -        agent [6] - 40:5, 40:6,    almost [2] - 63:1,
926 [1] - 49:4             10:4, 31:19, 32:2,       35:11, 36:24, 44:13,     40:7, 40:8, 70:19,         97:20
959(a [1] - 4:9            33:3, 33:7, 34:8         48:18, 48:20, 50:11,     71:8                      alone [4] - 28:13,
960 [1] - 4:9             accountant [2] - 22:9,    51:1, 51:13, 56:20,     Agent [5] - 2:8, 2:9,       33:10, 43:12, 116:5
963 [1] - 4:9              22:18                    69:13, 71:22, 75:1,      5:5, 70:20, 71:2          ALSO [1] - 2:7
98 [2] - 45:12, 45:16     accounted [4] - 93:18,    75:4, 75:9, 76:8,       agents [3] - 3:14,         Alsworth [2] - 3:13,
                           93:21, 96:23, 96:25      78:13, 80:8, 93:2,       40:14, 41:6                3:15
                          accounts [1] - 23:2       98:6
           A                                       adjustments [1] - 7:18
                                                                            aggravated [1] - 93:2      ALSWORTH [1] - 1:12
                          accumulate [1] -                                  aggravating [8] -          altered [1] - 56:15
a.m [1] - 1:5              98:24                   administration [1] -      51:13, 75:2, 75:4,        alternative [1] - 53:9
abetted [1] - 42:13       accuracy [1] - 17:15      56:5                     75:9, 75:14, 76:8,        Altiplano [2] - 108:17,
abide [1] - 117:12        accurate [1] - 121:15    admissibility [1] -       78:14, 78:17               111:12
ability [5] - 84:23,      accurately [1] - 83:25    17:13                   ago [1] - 55:9             altogether [1] - 12:4
 84:24, 96:4, 97:22,      accused [1] - 110:25     admissible [2] -         agree [10] - 9:15, 9:16,   Alvarez [2] - 5:4,
 121:17                   accustomed [1] -          70:18, 71:10             14:4, 36:12, 43:1,         18:14
able [6] - 30:14, 66:6,    85:17                   admission [2] - 31:25,    52:25, 54:12, 55:20,      amazingly [1] - 52:7
 76:2, 98:19, 98:24,      acknowledged [4] -        47:6                     86:19, 86:25              amendment [1] -
 105:10                    22:23, 73:6, 73:7,      admit [4] - 30:7,        agreed [3] - 7:14,          69:11
abroad [1] - 115:9         95:1                     61:20, 62:5, 77:8        87:16, 96:5               America [4] - 3:3,
absent [1] - 27:22        acknowledges [1] -       admits [5] - 21:16,      agreement [5] - 4:5,        3:12, 4:8, 20:21
absolute [1] - 93:8        108:12                   31:24, 32:19, 62:20,     60:17, 62:19, 65:22,      AMERICA [1] - 1:3
absolutely [11] -         act [1] - 42:12           114:1                    95:18                     amount [14] - 13:9,
 39:25, 63:2, 63:3,       Act [1] - 117:3          admitted [14] - 9:7,     agrees [7] - 13:19,         15:17, 33:19, 33:22,
 63:4, 65:22, 68:9,       acted [1] - 60:3          23:10, 28:4, 32:14,      31:18, 36:25, 44:13,       50:14, 72:24, 81:10,
 93:10, 95:13, 100:5,     Action [1] - 1:3          37:12, 45:2, 50:14,      48:19, 72:14, 78:22        81:13, 81:15, 85:15,
 100:8, 101:24            actions [1] - 111:3       60:10, 61:21, 69:20,    ahead [3] - 3:23, 44:6,     85:19, 88:6, 114:23,
absolves [1] - 100:25     active [1] - 24:6         69:25, 72:20, 73:9,      44:8                       118:11
accept [4] - 9:6, 28:8,   activities [2] - 22:3,    115:14                  aid [1] - 45:24            amounts [5] - 13:9,
 35:7, 73:4                103:4                   admittedly [2] - 55:4,   aided [2] - 2:15, 42:13     20:17, 29:5, 31:7,
         Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 124 of 142                                                           3



 32:12                      63:11, 63:17,              114:9                                               below [5] - 90:5,
                                                                                           B
amply [1] - 116:10          101:16, 101:19            associates [3] - 24:2,                                90:20, 92:22,
analysis [1] - 75:19       appropriate [11] -          27:16, 43:22             b) [1] - 74:1               102:14, 121:19
ancillary [1] - 96:9        15:17, 15:20, 42:9,       associating [1] -         back-of-an-envelope        Beltran [1] - 97:25
Angel [1] - 19:11           69:4, 82:15, 91:9,         97:24                     [1] - 82:8                Beltrán [1] - 19:12
answer [1] - 81:7           99:10, 101:24,            association [1] -         backyard [2] - 98:18,      bench [2] - 104:14,
anticipate [1] - 112:1      102:14, 111:4,             49:20                     98:19                      104:22
apart [1] - 109:23          118:24                    assume [1] - 54:8         bad [4] - 85:14, 96:12,    benefit [10] - 38:25,
apologize [1] - 111:2      appropriately [1] -        assumed [1] - 33:5         99:14, 103:23              41:14, 60:23, 67:3,
appeal [9] - 17:21,         89:8                      assuming [1] - 17:2       bags [3] - 20:8, 20:18,     67:16, 71:21, 101:4,
 119:1, 119:7,             argue [4] - 37:17,         Atlanta [2] - 7:7,         41:12                      101:15, 101:19,
 119:13, 119:18,            48:4, 48:6, 90:22          107:17                   BAKER [1] - 2:7             101:20
 119:20, 119:21,           argued [1] - 14:21         attack [1] - 18:6         Baker [1] - 3:25           benefited [1] - 21:13
 119:22                    argues [10] - 16:11,       attempted [8] - 10:10,    baker [1] - 4:2            benefiting [3] - 39:16,
Appeals [1] - 119:2         22:19, 24:7, 26:3,         43:5, 43:24, 44:10,      balance [2] - 68:10,        101:1, 101:2
appear [2] - 83:20,         31:19, 37:20, 45:14,       53:16, 56:4, 56:25,       71:21                     benefits [10] - 30:5,
 94:3                       48:22, 56:22, 72:15        77:11                    balances [1] - 23:3         30:7, 30:8, 65:25,
Appearances [1] -          arguing [2] - 13:21,       attempting [2] - 56:13,   ball [1] - 66:1             66:3, 66:12, 66:16,
 1:25                       90:24                      56:14                    Barbie [1] - 20:24          68:1, 69:6
APPEARANCES [2] -          argument [18] - 11:16,     attended [1] - 30:14      barest [1] - 69:17         Benito [1] - 20:20
 1:9, 2:1                   14:15, 16:13, 16:15,      attention [5] - 78:8,     base [16] - 10:5, 10:7,    BERYL [1] - 1:8
appellate [1] - 103:23      32:17, 35:20, 57:6,        93:24, 95:20,             10:11, 10:18, 10:20,      best [2] - 11:23,
applaud [1] - 71:3          57:8, 78:10, 78:19,        102:22, 116:2             10:23, 13:19, 13:21,       121:16
applicability [1] - 16:7    78:25, 86:6, 87:4,        attorney [3] - 26:11,      15:1, 28:22, 31:15,       better [7] - 30:4,
applicable [4] - 10:5,      89:20, 91:3, 94:2,         59:5, 110:23              31:20, 33:11, 34:7,        42:21, 53:23, 69:17,
 15:18, 17:13, 50:22        102:21, 103:10            attorney's [1] - 83:9      80:5, 93:1                 69:22, 71:2, 104:6
application [10] -         arguments [5] - 7:19,      attorneys [2] - 8:20,     based [20] - 5:23,         between [14] - 11:19,
 51:2, 52:8, 56:1,          18:1, 63:15, 94:23,        8:24                      14:11, 16:19, 19:25,       13:16, 14:5, 29:9,
 56:17, 56:19, 58:12,       103:21                    attributable [4] -         27:1, 29:22, 31:16,        33:7, 33:13, 35:22,
 79:22, 103:22,            Arizona [1] - 65:16         14:10, 81:19, 82:20,      32:3, 33:3, 33:10,         36:11, 37:17, 37:21,
 119:10                    arm's [2] - 100:23,         87:21                     76:17, 81:10, 81:11,       51:1, 55:25, 63:25,
Application [1] -           101:1                     attribute [1] - 42:3       84:2, 88:3, 88:9,          87:2
 59:24                     arrangements [1] -         attributed [2] - 11:1,     91:10, 114:18,            beyond [3] - 33:9,
applied [8] - 15:7,         23:4                       58:21                     114:20, 115:3              61:2, 62:13
 15:24, 38:12, 46:4,       arrest [3] - 115:15,       audience [2] - 6:16,      basic [1] - 117:16         big [6] - 21:10, 65:16,
 50:18, 59:20, 72:11,       120:15, 120:23             107:16                   basis [13] - 32:20,         82:24, 85:14,
 72:16                     arrested [4] - 23:13,      AUSA [1] - 3:16            32:21, 34:24, 53:15,       105:24, 107:8
applies [10] - 11:13,       114:14, 120:17,           authorities [1] -          63:11, 63:19, 64:22,      bigger [1] - 47:2
 13:20, 15:5, 15:12,        120:22                     115:19                    68:15, 79:10, 92:8,       Bikundi [1] - 49:4
 16:11, 31:12, 33:11,      arrive [2] - 19:23,        authority [1] - 49:7       92:18, 93:16, 106:7       billion [1] - 88:18
 40:23, 52:9, 72:25         19:24                     authorization [1] -       batting [1] - 71:20        binder [1] - 107:19
apply [28] - 5:22, 5:25,   arrived [2] - 25:6, 33:7    121:19                   beard [1] - 53:18          binders [6] - 54:21,
 7:19, 7:20, 9:11,         arriving [1] - 114:15      authorized [2] - 97:5,    became [2] - 23:10,         57:12, 81:19, 82:9,
 9:15, 9:25, 10:1,         articularly [1] - 103:16    118:4                     23:15                      82:10, 82:14
 11:14, 13:14, 16:9,       articulated [1] - 69:19    available [4] - 50:23,    BEFORE [1] - 1:8           binding [1] - 54:10
 16:12, 36:24, 37:1,       Arturo [2] - 21:8, 59:5     55:12, 113:13, 116:7     begin [1] - 79:18          bit [6] - 12:9, 26:23,
 44:14, 48:18, 48:19,      aside [3] - 7:25, 8:12,    Avenue [2] - 2:4,         beginning [1] - 19:7        47:11, 58:10, 89:15,
 56:21, 56:22, 56:24,       66:17                      118:15                   behalf [6] - 3:11, 3:25,    98:11
 73:16, 76:12, 80:2,       aspect [1] - 9:14          average [1] - 82:11        38:25, 39:9, 104:10,      Blalock [1] - 15:22
 80:3, 93:25, 103:10,      aspects [1] - 96:1         avoid [2] - 113:14,        107:21                    board [1] - 28:3
 112:8, 119:23             assault [1] - 109:12        115:20                   behavior [1] - 111:3       body [1] - 54:13
appointed [2] - 22:18,     assaulted [1] - 109:14     avoiding [1] - 99:25      belabor [2] - 44:5,        bodyguards [3] -
 119:23                    assessing [1] - 66:17      awaiting [1] - 109:3       52:24                      46:19, 48:25, 49:14
appreciate [2] - 68:6,     assessment [3] - 48:5,     aware [3] - 23:16,        belated [1] - 59:9         boils [1] - 13:22
 72:23                      80:16, 117:10              103:6, 103:7             believes [3] - 21:18,      bold [1] - 57:25
appreciated [1] -          assistance [1] -           AZZOUZ [1] - 2:10          44:15, 72:25              Bolivia [2] - 24:14,
 28:16                      119:14                    Azzouz [1] - 3:5          belonged [3] - 12:17,       25:3
appreciating [1] -         associate [1] - 100:18                                25:9, 89:6                Boney [1] - 16:3
 28:11                     associated [4] -                                     belonging [1] - 33:4       Booker [1] - 17:5
approach [5] - 63:8,        46:11, 47:2, 100:14,                                beloved [1] - 107:15       borrowing [2] - 103:8,
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 125 of 142                                                            4



 103:15                     103:3, 103:12             35:15, 42:25, 43:13,      change [2] - 118:16,       75:23
bosom [1] - 112:22         businesses [3] -           43:25, 49:12, 52:12,       118:17                   cite [4] - 15:16, 16:2,
bottom [5] - 46:22,         29:16, 29:19, 29:20       59:9, 61:9, 62:23,        changed [1] - 75:19        49:4, 49:11
 74:14, 102:4,             butcher [1] - 40:4         66:8, 66:21, 67:15,       changes [1] - 86:20       cited [1] - 45:16
 116:25, 117:1             buy [2] - 38:8, 98:19      70:19, 70:25, 71:1,       changing [1] - 36:15      cites [1] - 16:14
bottom-level [1] -                                    71:17, 71:22, 73:1,       Chani [3] - 47:15,        citing [1] - 45:12
 102:4                               C                75:3, 75:23, 85:1,         49:15, 49:18             citizens [1] - 66:13
boy [1] - 49:23                                       86:5, 86:11, 90:17,       Chapo [5] - 19:11,        City [3] - 20:20, 22:17,
bragging [1] - 36:10       C) [1] - 56:18             91:15, 91:17, 92:5,        23:23, 97:24, 100:19      30:20
break [2] - 79:14,         c)(1) [2] - 31:18, 80:6    92:6, 92:17, 93:9,        Chapter [2] - 93:12,      CJNG [10] - 24:23,
 79:16                     CA [1] - 1:18              93:17, 94:18, 97:8,        103:9                     25:4, 25:7, 25:8,
brevity [1] - 44:6         cabined [1] - 89:8         98:22, 99:11, 101:9,      characteristic [3] -       25:13, 25:17, 33:17,
bribe [5] - 10:10, 43:5,   Cachoro [3] - 47:16,       102:15, 102:18,            10:8, 38:3, 44:15         33:18, 65:10, 114:8
 43:24, 44:10, 45:3         49:15, 49:18              102:24, 103:2,            characteristics [4] -     claim [2] - 55:15, 68:1
bribed [9] - 10:10,        cake [2] - 101:13          112:8, 113:18,             5:24, 72:25, 113:13,     claims [1] - 52:18
 25:11, 43:4, 43:9,        calculation [3] - 8:13,    116:10, 118:7,             114:13                   clause [1] - 74:25
 43:24, 44:1, 44:10,        9:24, 99:5                120:18, 121:4             characterization [1] -    clean [2] - 19:22,
 45:1, 45:2                California [6] - 3:16,    cases [6] - 14:8,           26:23                     41:16
bribery [8] - 38:16,        7:7, 107:17, 120:6,       16:14, 18:9, 99:16,       charge [6] - 22:15,       clear [17] - 16:11,
 38:19, 42:19, 45:19,       120:9, 120:13             99:19, 100:6               60:15, 66:24, 73:8,       16:19, 32:5, 32:21,
 46:1, 46:3, 63:9,         camera [2] - 52:7, 58:4   cash [8] - 20:18, 30:9,     77:10, 77:13              44:20, 46:11, 46:14,
 79:23                     candid [1] - 52:6          39:13, 39:15, 39:19,      charged [16] - 21:14,      68:22, 87:9, 89:7,
bribes [6] - 39:9,         cannot [1] - 68:13         41:12, 84:3, 84:4          21:15, 21:23, 43:20,      90:9, 93:10, 103:18,
 39:11, 40:14, 42:1,       capacity [1] - 79:5       casino [1] - 29:16          51:19, 77:5, 77:21,       107:25, 115:1,
 44:3, 44:19               carefully [2] - 17:10,    categorically [1] -         77:22, 78:2, 79:2,        121:1, 121:3
bribing [5] - 23:4,         103:16                    91:18                      79:6, 83:3, 86:10,       clearer [1] - 68:23
 28:4, 38:24, 41:6,        Carlos [2] - 23:13        category [2] - 85:20,       86:12, 87:6              clearly [7] - 40:20,
 43:21                     carried [1] - 109:25       92:1                      charges [3] - 4:6,         72:8, 72:12, 72:13,
brief [2] - 43:1, 69:10    carrier [3] - 35:12,      Category [2] - 9:18,        21:21, 83:4               73:21, 78:10, 114:16
briefing [7] - 13:18,       36:22, 38:12              80:14                     charging [1] - 31:12      Clerk [2] - 118:14,
 14:9, 14:18, 26:14,       carriers [1] - 20:7       caught [1] - 52:6          charitable [1] - 86:13     118:16
 26:16, 46:21, 81:9        carries [1] - 15:13       caused [2] - 42:14,        chartered [1] - 37:12     client [3] - 8:9, 86:18,
briefly [5] - 6:19, 7:6,   carry [1] - 20:7           98:2                      checkered [1] - 27:24      112:4
 14:20, 34:14, 111:20      carrying [3] - 20:10,     causes [1] - 52:18         Chicago [2] - 7:8,        close [3] - 29:8, 29:9,
briefs [1] - 112:11         20:18, 60:15             causing [1] - 98:2          107:17                    58:15
bring [3] - 18:10, 39:6,   cartel [25] - 13:6,       CCE [4] - 77:13,           Chicklin [1] - 49:23      closely [3] - 56:9,
 78:7                       20:14, 22:10, 22:15,      77:22, 78:2, 78:15        children [2] - 108:7,      97:24, 100:14
bringing [1] - 60:19        22:20, 22:21, 22:24,     cellmate [1] - 109:13       111:15                   co [1] - 42:10
broader [1] - 112:23        23:3, 23:8, 23:11,       center [1] - 116:21        Chile [1] - 24:14         co-conspirator [1] -
broken [1] - 74:24          23:17, 23:22, 23:24,     Center [1] - 26:5          chilling [1] - 100:7       42:10
brother [7] - 19:9,         24:23, 24:25, 33:17,     cents [1] - 85:17          Chivito [1] - 25:4        cocaine [97] - 4:7,
 19:19, 20:1, 20:11,        46:12, 48:24, 65:9,      certain [4] - 7:14,        chose [1] - 65:23          10:3, 12:10, 12:15,
 21:4, 32:24, 107:15        97:14, 99:16,             80:1, 114:12, 119:8       Chupik [2] - 3:13, 3:14    12:16, 12:21, 12:23,
brother's [1] - 19:6        100:18, 114:8            certainly [12] - 21:12,    CHUPIK [1] - 2:9           13:1, 13:7, 13:10,
brought [4] - 28:17,       cartel's [2] - 22:25,      27:24, 29:5, 39:16,       circles [1] - 23:17        13:12, 13:14, 14:2,
 28:18, 77:10, 93:24        23:2                      41:25, 47:1, 58:21,       Circuit [12] - 15:16,      14:10, 14:22, 18:21,
buckets [3] - 91:22        cartel-related [1] -       67:5, 91:2, 91:4,          16:1, 16:2, 16:16,        19:20, 19:21, 20:12,
buddies [1] - 100:18        99:16                     102:2, 114:8               16:21, 17:1, 49:4,        20:22, 22:16, 22:25,
bulls [2] - 30:17, 33:25   cartels [6] - 23:18,      CERTIFICATE [1] -           49:6, 49:11, 49:12,       24:14, 24:18, 25:2,
bunch [1] - 58:24           23:19, 46:12, 67:20,      121:14                     119:2, 119:8              25:5, 25:6, 25:8,
burden [5] - 15:13,         114:7, 114:10            certificate [1] - 121:18   Circuit's [1] - 15:21      25:13, 25:15, 28:2,
 44:4, 61:16, 63:13,       Case [2] - 3:3, 16:1      certify [1] - 121:15       circuits [3] - 16:17,      28:25, 29:3, 29:7,
 79:21                     case [70] - 4:18, 5:22,   cetera [1] - 66:16          16:21, 16:23              30:18, 30:22, 31:14,
Bureau [5] - 117:7,         5:25, 6:1, 6:6, 7:19,    chagrin [1] - 86:23        circumstance [2] -         31:17, 31:20, 31:24,
 118:21, 120:12,            7:21, 7:22, 8:21,        chain [1] - 47:1            92:18, 92:20              32:10, 32:12, 32:13,
 120:25, 121:4              9:11, 9:12, 9:25,        challenge [6] - 15:3,      circumstances [6] -        32:18, 32:25, 33:3,
business [11] - 29:8,       15:21, 16:1, 16:2,        17:22, 35:14, 65:2,        16:17, 27:21, 110:2,      33:6, 33:8, 33:15,
 38:23, 41:4, 41:7,         16:15, 16:16, 17:1,       71:15, 119:16              113:11, 113:21,           33:20, 33:22, 33:24,
 55:7, 85:7, 98:17,         17:2, 22:13, 26:8,       challenges [3] -            119:8                     34:3, 34:9, 34:22,
 100:16, 100:17,            26:22, 27:12, 29:2,       62:25, 71:19, 108:23      citation [2] - 45:20,      35:1, 35:18, 36:1,
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 126 of 142                                                        5



 37:6, 38:5, 40:14,         69:24, 70:25, 114:17     72:17, 83:3, 86:12,     Constitution [1] -         16:12, 16:19
 40:16, 47:14, 49:1,       company [4] - 24:5,       91:5, 93:18, 93:20,      118:15                   cooperate [2] - 66:6,
 50:5, 50:14, 59:1,         24:6, 24:12              94:3, 95:7, 95:17,      construe [1] - 75:16       117:21
 59:4, 63:20, 72:19,       comparable [1] -          95:18, 96:1, 97:2,      construed [1] - 53:5      cooperating [10] -
 72:20, 72:24, 81:14,       116:5                    97:9, 97:10, 98:2,      consult [1] - 55:18        17:7, 17:9, 17:23,
 85:6, 85:13, 85:24,       comparators [1] -         98:8, 98:12, 99:2,      contact [2] - 109:8,       18:2, 18:12, 18:18,
 85:25, 88:1, 88:6,         116:1                    99:3, 99:13, 101:5,      109:21                    19:1, 31:5, 66:5,
 88:12, 88:21, 88:22,      compared [1] - 65:8       101:8, 101:11,          contacted [1] - 55:11      67:21
 89:9, 89:10, 89:12,       compartment [1] -         102:8, 113:7,           contain [1] - 33:6        cooperation [5] -
 91:20, 92:4, 93:6,         33:24                    113:15, 114:22,         contained [1] - 35:9       20:25, 21:13, 21:19,
 93:9, 95:12, 96:16,       compartments [2] -        115:6, 115:16,          container [5] - 24:16,     27:13, 45:19
 113:4, 113:24,             22:16, 30:17             115:22, 117:16           24:19, 25:6, 25:12,      cooperators [5] -
 114:23, 115:3,            complete [5] - 64:18,    conferred [2] - 81:1,     25:15                     19:5, 47:5, 66:19,
 115:11                     104:18, 104:20,          81:6                    containers [2] - 24:22,    66:25, 67:17
coded [1] - 34:21           104:24, 121:16          confident [1] - 60:21     50:7                     coopted [2] - 97:14,
colleague [1] - 51:16      completed [2] - 37:25,   confinement [1] -        containing [1] - 19:20     97:16
collect [2] - 30:21,        118:2                    108:15                  contends [3] - 19:14,     coordinated [1] - 23:3
 86:14                     completely [3] - 30:5,   confirmed [1] - 109:13    29:11, 29:15             Copa [1] - 20:8
collection [1] - 117:21     63:11, 68:4             confused [1] - 34:21     contest [1] - 62:22       core [3] - 62:22, 96:9,
collectively [1] - 97:20   comply [2] - 112:15,     confusion [1] - 78:8     contested [5] - 66:2,      96:10
colloquy [1] - 73:3         117:23                  Congress [1] - 112:13     68:17, 70:16, 72:17,     Correa [2] - 5:4, 18:14
Colombia [3] - 20:9,       computation [1] -        congressionally [1] -     114:15                   correct [15] - 8:7,
 39:13, 97:18               86:19                    85:21                   contests [1] - 60:2        9:19, 9:20, 9:22,
Columbia [2] - 65:14,      computer [1] - 2:15      conjunctive [1] - 78:1   context [8] - 38:22,       11:18, 14:6, 21:12,
 66:13                     computer-aided [1] -     connected [1] - 74:22     62:19, 63:22, 65:19,      36:2, 47:8, 67:9,
COLUMBIA [1] - 1:1          2:15                    connection [5] - 4:11,    67:1, 67:2, 67:17,        67:12, 81:17, 81:22,
combination [2] -          conceal [1] - 84:5        9:1, 22:11, 59:7,        68:16                     88:13, 120:24
 80:13, 100:2              concept [1] - 49:6        82:20                   continue [1] - 68:18      correctly [1] - 82:23
combined [2] - 7:22,       concern [1] - 43:2       connections [1] - 29:9   continued [2] - 83:4,     correspondence [1] -
 15:2                      concerned [5] - 27:13,   connote [1] - 49:8        111:22                    112:11
coming [2] - 6:23,          53:12, 58:6, 58:11,     consent [1] - 87:2       Continued [2] - 1:25,     corresponding [1] -
 24:22                      103:5                   conservative [9] -        2:1                       9:18
commanded [1] -            concerning [1] - 58:3     33:2, 33:10, 87:12,     continuing [8] - 51:19,   corroborate [3] - 31:9,
 42:14                     concerns [1] - 17:6       88:8, 88:16, 89:9,       75:10, 76:9, 76:14,       40:10, 47:21
commander [6] -            concert [1] - 29:16       89:23, 91:21, 91:22      76:19, 77:8, 77:13,      corroborated [5] -
 39:12, 41:12, 45:15,      concerted [2] - 26:6,    conservatively [4] -      77:16                     21:8, 33:12, 33:23,
 45:23, 97:16, 101:2        27:6                     82:3, 93:7, 95:11,      contrary [1] - 35:14       49:19, 114:3
commands [1] - 84:21       concession [2] - 43:2,    96:14                   contrition [1] - 64:17    corroboration [1] -
comment [1] - 15:19         86:17                   consider [9] - 17:12,    control [3] - 24:23,       48:7
commentary [2] -           conclude [2] - 36:5,      94:19, 100:8, 101:6,     49:3, 49:7               corruption [1] - 99:21
 70:1, 71:13                70:2                     103:1, 112:12,          controlled [6] - 35:13,   cost [3] - 35:23,
commercial [3] -           concluded [3] - 36:6,     113:5, 113:11,           36:20, 36:22, 38:10,      119:21, 119:22
 35:12, 36:21, 38:11        43:22, 44:3              115:24                   38:14, 117:20            counsel [11] - 3:9,
Commission [2] -           concludes [1] -          consideration [2] -      conversation [8] -         3:12, 3:20, 6:4,
 76:25, 78:5                121:12                   92:19, 117:4             34:15, 34:23, 34:24,      54:19, 55:17, 59:15,
commission [5] -           conclusion [2] -         considerations [2] -      35:22, 72:1, 93:22,       64:23, 70:24,
 40:15, 44:11, 79:4,        42:20, 58:20             68:8, 115:7              107:24                    119:14, 119:23
 92:13, 103:17             condition [1] - 117:24   considered [3] - 99:3,   conversations [2] -       counseled [1] - 42:13
commit [3] - 35:19,        conditions [5] -          99:4, 121:18             19:25, 108:2             count [4] - 4:6, 9:25,
 55:16, 117:19              108:15, 111:12,         consisted [1] - 13:6     convicted [2] - 77:9,      23:11, 80:17
Commitment [2] -            117:13, 117:14,         consistent [1] -          78:2                     Count [2] - 31:12,
 118:20, 120:15             117:18                   115:18                  conviction [8] - 27:25,    117:8
committed [3] - 20:24,     conduct [54] - 16:18,    conspiracy [9] - 4:7,     28:1, 28:2, 56:7,        counterfeit [1] - 56:15
 98:7, 117:7                17:4, 18:20, 21:13,      12:15, 28:2, 31:13,      56:8, 80:17, 119:1,      counterproductive [2]
committing [1] - 65:13      28:8, 50:14, 54:24,      35:19, 43:20, 66:15,     119:16                    - 61:5
common [3] - 50:13,         55:4, 56:8, 56:9,        87:6, 113:22            convictions [2] -         countervailing [1] -
 97:20, 102:17              56:11, 58:3, 58:7,      conspirator [1] -         28:19, 114:24             68:8
communicate [2] -           58:12, 60:1, 60:3,       42:10                   convince [3] - 31:3,      counting [1] - 34:5
 109:18, 109:19             62:22, 64:10, 64:11,    constitutes [2] -         57:4, 58:17              country [3] - 97:12,
community [3] -             65:14, 68:11, 69:20,     52:13, 121:15           convincing [2] -           113:4, 114:22
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 127 of 142                                                          6



couple [5] - 38:20,         68:22, 69:9, 70:3,     cows [2] - 30:17,          custody [3] - 110:10,      declined [1] - 16:24
 40:3, 79:8, 93:23,         70:7, 70:9, 71:23,      33:25                      110:12, 117:7             decrease [9] - 10:20,
 102:7                      71:25, 72:7, 73:18,    craft [1] - 79:5           custom [1] - 40:8           10:23, 72:10, 72:12,
couriers [1] - 20:18        73:24, 74:7, 75:8,     crafted [1] - 103:16       customs [5] - 40:5,         72:15, 73:7, 74:14,
course [8] - 4:25,          75:13, 76:4, 76:7,     create [2] - 54:20, 86:5    40:7, 40:14, 41:6          80:9, 80:11
 52:3, 63:12, 65:5,         76:17, 77:7, 77:19,    created [2] - 55:3,        Customs [2] - 117:25,      deemed [1] - 14:12
 68:18, 68:21, 94:6,        77:23, 78:3, 79:11,     55:5                       118:21                    deeply [2] - 20:1, 31:6
 102:9                      79:15, 79:18, 80:22,   credibility [18] - 15:3,   cut [2] - 14:7, 101:11     defect [1] - 119:4
Court [75] - 2:12, 2:13,    80:24, 81:12, 81:18,    17:18, 17:20, 17:24,                                 defend [1] - 26:17
 6:19, 15:25, 16:15,        81:24, 82:6, 82:15,     18:7, 19:2, 19:4,                    D               defendant [236] - 4:4,
 16:22, 17:3, 18:8,         82:24, 83:8, 84:6,      22:5, 22:22, 26:5,                                    7:14, 8:13, 9:17,
 18:10, 26:10, 26:13,       84:9, 84:14, 84:18,     26:9, 26:17, 29:17,       D.C [17] - 1:6, 15:16,      10:4, 10:6, 10:9,
 27:9, 32:2, 40:18,         85:9, 86:1, 87:8,       29:24, 30:10, 48:5,        15:21, 16:1, 16:2,         10:13, 10:17, 10:19,
 51:6, 51:13, 52:14,        87:20, 88:11, 88:16,    63:13                      16:16, 16:21, 17:1,        10:22, 13:1, 13:2,
 55:17, 58:20, 59:17,       88:24, 89:13, 89:22,   credible [5] - 14:12,       49:4, 49:6, 49:11,         13:20, 14:11, 16:9,
 60:3, 60:6, 60:10,         89:25, 90:12, 90:24,    18:13, 22:12, 25:18,       49:12, 108:14,             16:10, 16:14, 19:2,
 60:18, 60:20, 61:16,       93:10, 95:23, 99:15,    33:21                      109:6, 118:15,             19:10, 19:14, 20:3,
 64:4, 64:11, 64:13,        99:19, 99:24, 100:6,   credibly [1] - 37:10        119:2, 119:8               20:10, 21:5, 22:2,
 64:15, 64:19, 64:20,       101:22, 102:19,        credit [1] - 121:1         daily [1] - 106:7           22:4, 22:6, 22:8,
 68:5, 77:6, 81:11,         103:8, 104:1, 104:9,   crime [2] - 86:9,          damaging [1] - 114:22       22:19, 23:9, 23:15,
 82:23, 83:2, 84:21,        104:20, 104:23,         117:19                    Dangerous [2] - 18:9,       23:16, 23:21, 23:22,
 85:7, 90:15, 91:6,         105:1, 105:5, 105:7,   crimes [2] - 113:8,         70:14                      24:1, 24:3, 24:17,
 91:8, 91:21, 92:9,         105:12, 105:16,         115:7                     darkness [1] - 66:4         24:19, 25:9, 25:16,
 92:10, 92:12, 92:20,       105:18, 106:11,        criminal [35] - 5:23,      date [3] - 120:15,          25:20, 25:21, 25:22,
 93:16, 93:25, 94:19,       106:21, 106:25,         9:13, 9:17, 10:13,         120:22, 120:24             25:25, 26:3, 26:4,
 95:1, 95:11, 95:13,        107:3, 107:11,          18:20, 20:13, 20:16,      Dated [1] - 121:20          26:21, 26:22, 27:5,
 96:19, 97:4, 100:21,       107:23, 108:20,         21:17, 27:24, 28:6,       dates [1] - 27:18           27:12, 27:14, 27:22,
 102:13, 102:16,            110:19, 111:18,         30:12, 40:21, 48:15,      daylight [1] - 91:1         28:24, 29:11, 29:14,
 103:6, 104:7,              111:24, 112:3,          54:24, 59:5, 59:11,       days [3] - 118:16,          29:15, 29:19, 29:25,
 104:17, 107:21,            116:14, 116:16,         75:10, 75:19, 76:10,       119:18, 119:19             30:13, 30:15, 30:19,
 109:24, 114:19,            120:2, 120:4, 120:8,    76:14, 76:20, 77:9,       DC [2] - 1:14, 2:4          30:23, 31:4, 31:10,
 115:11, 115:24,            120:11, 120:17,         77:13, 77:16, 83:2,                                   31:13, 31:19, 32:2,
                                                                              DEA [3] - 3:14, 5:4,
 117:6, 118:7,              120:20, 121:3,          83:9, 86:12, 87:6,                                    32:24, 33:1, 33:2,
                                                                               21:1
 118:14, 118:17,            121:6, 121:9, 121:11    98:8, 98:12, 99:2,                                    33:4, 33:6, 33:14,
                                                                              deactivation [1] - 21:1
 118:25, 119:1,            court [16] - 15:23,      113:7, 114:24, 115:6                                  34:8, 34:16, 34:25,
                                                                              deal [9] - 11:7, 11:9,
 119:21, 121:22             17:11, 43:22, 44:2,    Criminal [5] - 1:3,                                    35:23, 35:25, 36:19,
                                                                               11:23, 11:24, 24:3,
COURT [165] - 1:1,          45:2, 59:7, 59:12,      1:17, 3:3, 9:18,                                      36:25, 37:5, 37:15,
                                                                               24:11, 36:13, 90:12,
 1:8, 3:17, 3:21, 4:2,      65:13, 66:12, 68:2,     80:14                                                 37:17, 37:22, 37:23,
                                                                               113:18
 5:9, 5:12, 6:12, 6:14,     68:16, 69:2, 69:24,    CRISP [1] - 2:10                                       38:4, 38:6, 38:8,
                                                                              dealer [4] - 65:7,
 6:20, 7:1, 7:13, 8:4,      75:23, 96:7, 119:23                                                           39:2, 39:7, 40:9,
                                                   Crisp [1] - 3:5             65:13, 65:15, 65:17
 8:8, 8:12, 8:17, 8:23,    court's [2] - 17:17,                                                           41:9, 41:24, 42:1,
                                                   criteria [8] - 50:10,      dealers [1] - 50:5
 9:3, 9:21, 9:23, 11:7,     17:19                                                                         42:4, 42:6, 42:12,
                                                    51:11, 74:13, 74:17,      dealings [2] - 22:8,
 11:9, 11:15, 11:22,       Court's [19] - 17:21,                                                          43:4, 43:19, 43:25,
                                                    74:18, 74:20, 74:21,       114:3
 12:7, 13:18, 13:24,        48:5, 64:5, 64:8,       75:5                                                  44:10, 44:13, 44:17,
                                                                              deals [4] - 23:23, 50:4,
 14:4, 14:7, 14:14,         73:14, 73:15, 78:23,                                                          45:5, 45:10, 46:2,
                                                   critical [2] - 19:2,        114:12
 14:17, 14:25, 35:2,        79:10, 85:3, 91:4,                                                            46:10, 46:15, 46:23,
                                                    115:7                     dealt [2] - 29:4, 113:3
 35:21, 36:12, 36:17,       91:10, 93:20, 93:24,                                                          47:6, 47:12, 47:14,
                                                   criticism [1] - 15:9       debate [2] - 14:4,
 40:12, 41:17, 41:22,       94:16, 94:21, 96:18,                                                          48:14, 48:18, 49:2,
                                                   CRM [1] - 1:13              84:14
 42:23, 43:16, 44:8,        96:21, 97:1, 116:2                                                            49:14, 49:17, 49:21,
                                                   cross [5] - 28:7,          debating [1] - 70:4
 47:3, 47:25, 48:12,       court-appointed [1] -                                                          50:1, 50:9, 50:13,
                                                    28:17, 45:17, 63:15,      debt [1] - 19:8
 51:9, 51:21, 51:24,        119:23                                                                        50:19, 50:23, 51:11,
                                                    87:13                     decades [4] - 21:16,
 52:22, 53:7, 54:2,        courthouse [1] -                                                               51:12, 52:2, 52:5,
                                                   cross-examination [3]       93:8, 102:10
 54:15, 54:21, 54:25,       63:21                                                                         56:4, 56:22, 56:24,
                                                    - 28:7, 28:17, 63:15      December [1] - 17:1
 55:20, 55:22, 55:25,      courtroom [3] - 58:1,                                                          57:11, 57:19, 58:8,
                                                   cross-examined [1] -       decide [1] - 61:11
 57:10, 60:11, 60:14,       58:4, 64:18                                                                   58:9, 58:16, 58:18,
                                                    87:13                     decided [3] - 24:13,
 60:24, 61:10, 61:20,      COURTROOM [1] -                                                                58:21, 59:8, 59:16,
                                                   culpability [2] - 62:9,     70:14, 108:22
 61:25, 62:12, 62:24,       3:2                                                                           59:25, 60:2, 60:8,
                                                    73:9                      decision [5] - 17:17,
 63:3, 63:6, 65:8,         courts [1] - 27:16                                                             60:9, 60:12, 61:15,
                                                   curious [2] - 72:2,         70:15, 71:4, 85:3,
 66:11, 67:4, 67:10,       cousin [1] - 107:6                                                             61:22, 62:2, 62:8,
                                                    72:3                       95:9
 67:13, 67:20, 68:6,       covered [1] - 56:11                                                            62:12, 62:18, 62:20,
                                                   current [1] - 47:19        declarant [1] - 17:19
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 128 of 142                                                             7



 63:8, 63:18, 64:14,      defense [21] - 4:23,      designation [1] -            35:25, 93:21, 95:20,       101:21
 64:22, 64:25, 65:4,       5:3, 5:6, 9:21, 15:3,     120:5                       100:12, 116:2             distinguish [2] -
 66:23, 67:2, 68:1,        15:5, 24:7, 28:18,       despite [2] - 21:16,        directed [3] - 25:14,       102:3, 102:4
 68:13, 68:15, 68:21,      41:3, 55:8, 55:17,        66:11                       45:5, 117:21              distribute [3] - 4:7,
 70:24, 72:8, 72:12,       58:25, 59:13, 59:15,     destroy [1] - 26:8          direction [4] - 41:14,      28:2, 31:13
 72:13, 73:4, 73:9,        62:25, 64:23, 70:23,     detail [8] - 19:18, 21:6,    42:1, 45:10, 96:21        district [4] - 15:23,
 74:12, 74:16, 74:19,      81:23, 98:22,             21:22, 22:14, 24:20,       directly [9] - 6:5, 7:4,    17:11, 17:17, 17:19
 75:1, 75:3, 75:5,         107:19, 112:12            30:5, 30:14, 30:23          19:7, 23:5, 35:17,        DISTRICT [3] - 1:1,
 75:8, 78:12, 78:16,      deference [1] - 17:21     detailed [2] - 24:10,        39:14, 56:13, 99:21,       1:1, 1:8
 79:2, 79:5, 79:6,        defined [2] - 29:1,        25:18                       110:20                    District [7] - 3:16,
 79:25, 80:3, 83:5,        49:23                    details [5] - 19:15,        dirty [1] - 97:15           17:3, 43:13, 43:16,
 83:14, 83:17, 84:10,     definitions [1] - 52:7     20:25, 22:1, 29:12,        disagree [3] - 36:7,        65:14, 66:13, 118:14
 84:23, 85:4, 86:6,       degree [1] - 92:21         40:1                        48:5, 69:22               Division [1] - 1:17
 87:21, 87:25, 88:15,     deliver [1] - 102:21      Detention [1] - 26:5        disappearing [1] -         DNA [1] - 117:21
 89:6, 90:4, 90:19,       delivered [1] - 13:1      detention [1] - 116:21       79:15                     docketed [4] - 4:14,
 91:24, 93:7, 94:3,       delivering [1] - 47:16    deter [2] - 113:7,          disassembled [1] -          4:19, 4:22, 4:24
 94:5, 94:20, 95:5,       demeanor [1] - 69:1        115:6                       121:18                    doctor [1] - 86:22
 95:16, 95:21, 95:25,     demonstrate [4] -         determination [6] -         disclosed [1] - 70:23      document [1] - 56:15
 96:5, 96:7, 96:11,        15:13, 41:4, 58:25,       9:16, 11:10, 64:8,         discounted [2] -           documents [4] - 8:25,
 96:14, 96:20, 97:23,      62:6                      80:19, 91:4, 91:10          28:15, 28:20               52:11, 57:12
 98:1, 98:5, 98:7,        demonstrated [4] -        determinations [2] -        discredit [2] - 27:23,     DOJ [2] - 1:13, 1:17
 98:14, 99:1, 99:8,        63:5, 63:7, 65:4,         8:1, 17:20                  32:6                      DOJ's [1] - 18:9
 99:9, 99:20, 99:25,       79:4                     determine [4] - 5:17,       discrediting [1] - 32:4    DOJ-CRM [1] - 1:13
 101:9, 101:11,           demonstrates [1] -         5:21, 15:22, 110:11        discretion [3] - 17:21,    DOJ-USAO [1] - 1:17
 103:12, 104:11,           72:9                     determined [2] - 23:1,       70:15, 104:6              dollar [1] - 85:15
 107:22, 110:7,           demonstrating [2] -        50:24                      discretionary [1] -        dollars [2] - 20:21,
 111:22, 112:21,           72:12, 115:17                                         117:13
                                                    determines [2] - 60:3,                                  85:17
 112:23, 113:8,
                          denial [1] - 71:16         92:20                      discuss [1] - 87:4         domed [1] - 21:10
 114:6, 115:13,
                          denied [3] - 26:13,       determining [3] -           discussed [3] - 8:10,      done [8] - 61:21, 65:4,
 115:25, 116:3,
                           72:16, 96:8               92:19, 94:19, 112:7         26:2, 30:15                69:25, 71:18, 78:4,
 116:18
                          denies [2] - 19:3, 60:2   deterred [1] - 115:12       discussion [4] - 26:1,      96:6, 109:4, 110:9
DEFENDANT [6] -
                          deny [2] - 59:25, 61:17   deterrence [2] - 115:8,      39:23, 85:2, 85:23        double [1] - 101:20
 1:21, 2:2, 6:11, 8:22,
                          denying [1] - 66:23        115:13                     disparities [4] - 100:1,   doubling [1] - 89:17
 9:2, 110:21
                          depart [1] - 92:9         Diego [1] - 1:18             102:2, 113:14,            doubt [2] - 61:2, 62:13
Defendant [2] - 1:6,
                          departure [9] - 92:16,    difference [8] - 13:22,      115:21                    down [14] - 13:22,
 43:23
                           92:18, 93:11, 93:14,      63:5, 63:7, 63:25,         dispute [15] - 10:3,        36:16, 37:14, 38:15,
defendant's [62] -
                           103:18, 104:2,            65:1, 65:17, 94:4,          11:19, 12:9, 12:10,        39:13, 44:7, 72:5,
 4:20, 9:7, 11:5,
                           116:22, 116:24,           101:6                       15:2, 15:11, 31:11,        87:15, 87:22, 91:10,
 13:12, 17:2, 17:6,
                           117:1                    different [37] - 5:16,       34:10, 38:15, 46:5,        92:13, 94:13, 99:12,
 18:1, 21:6, 21:7,
                          departures [1] -           7:17, 13:8, 15:6,           51:1, 51:3, 55:25,         102:3
 21:9, 24:11, 25:1,
                           103:11                    16:9, 25:22, 38:20,         59:21, 84:14              downplayed [1] - 30:1
 26:22, 27:1, 27:13,
                          deportation [3] -          47:16, 49:24, 49:25,       disputed [1] - 6:1         downplaying [1] -
 28:14, 29:7, 29:10,
                           116:21, 118:2,            53:13, 55:2, 62:17,        disputes [6] - 7:20,        30:6
 29:15, 31:16, 31:22,
                           118:22                    62:19, 63:19, 64:2,         9:11, 10:1, 12:2,         downward [3] - 69:13,
 37:8, 38:25, 39:20,
                          deported [1] - 118:3       65:12, 65:15, 66:9,         15:21, 17:10               71:22, 110:16
 41:5, 45:8, 45:9,
                          DEPUTY [1] - 3:2           74:24, 76:16, 79:8,        disqualified [4] -         drafting [1] - 78:7
 45:17, 46:6, 46:23,
                          derived [1] - 81:13        84:1, 84:15, 85:19,         75:21, 75:25, 77:3,       dramatically [2] -
 47:14, 48:25, 49:19,
                          described [19] - 19:6,     91:19, 92:6, 93:9,          77:20                      16:18, 109:22
 49:23, 49:24, 50:3,
                           19:21, 20:11, 20:23,      94:10, 95:15, 96:5,        disqualifier [2] -         draw [1] - 32:2
 53:14, 56:8, 57:17,
                           21:9, 22:8, 22:14,        96:17, 100:9,               77:25, 78:11              drives [1] - 85:16
 59:5, 63:10, 64:10,
                           24:20, 28:9, 29:4,        100:23, 100:25,            disqualifiers [1] -        drop [1] - 108:22
 64:11, 64:16, 66:8,
                           30:11, 30:12, 30:19,      101:7, 101:9                75:19                     dropped [2] - 57:5,
 68:11, 68:17, 69:1,
                           30:20, 30:23, 31:1,      difficult [6] - 30:25,      disregard [2] - 83:9,       57:7
 71:14, 72:18, 81:19,
                           46:9, 47:19, 83:13        65:19, 85:12,               115:17                    drug [47] - 13:4, 15:11,
 88:5, 91:3, 91:5,
                          description [5] - 21:7,    111:10, 111:13,            disrespect [1] - 64:18      19:6, 19:11, 20:2,
 92:2, 95:8, 97:2,
                           40:7, 47:10, 47:18,       116:20                     disrupting [1] - 97:11      21:14, 22:1, 22:3,
 97:9, 100:2, 112:20,
                           87:11                    digested [1] - 57:9         disruption [2] - 97:3,      22:8, 24:1, 28:1,
 113:12
                          descriptions [1] - 23:7   diminish [1] - 53:11         97:6                       28:14, 30:16, 31:11,
defendants [5] -
                          designated [1] -          dining [1] - 21:10          dissatisfy [1] - 76:2       32:23, 38:22, 43:20,
 39:24, 92:3, 113:14,
                           120:13                   direct [6] - 28:18,         distinction [1] -           46:10, 47:2, 50:5,
 115:21, 116:6
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 129 of 142                                                            8



 60:6, 60:7, 60:9,          57:13, 82:18, 83:10       17:8, 63:9, 63:10,        15:20, 15:24, 16:5,       exported [2] - 36:20,
 62:9, 63:8, 63:18,        elements [3] - 62:5,       71:19, 79:6, 93:23        16:11, 16:19, 17:4,        38:10
 65:7, 65:12, 65:14,        62:6, 62:21              Enrico [1] - 47:17         17:13, 21:23, 21:24,      expressly [1] - 50:21
 65:15, 65:17, 72:21,      eligibility [1] - 11:21   Enriquito [2] - 49:15,     31:22, 31:25, 34:14,      extended [1] - 105:24
 73:5, 83:15, 83:18,       eligible [2] - 78:13,      49:18                     35:25, 37:2, 37:5,        extensive [8] - 10:15,
 86:6, 91:18, 91:19,        79:25                    ensure [1] - 112:14        37:17, 38:6, 40:13,        18:20, 23:6, 31:7,
 96:10, 96:11, 96:16,      Elizabeth [2] - 2:12,     entered [6] - 4:5,         41:17, 42:15, 42:16,       48:16, 50:10, 50:16,
 102:9, 103:3,              121:21                    60:12, 60:14, 81:3,       42:19, 42:21, 44:22,       112:9
 108:12, 109:24,           ELIZABETH [1] -            118:9, 119:16             48:7, 48:8, 48:11,        extent [10] - 24:7,
 113:22, 114:3              121:15                   enterprise [8] - 51:20,    48:22, 50:12, 63:24,       45:22, 54:23, 55:15,
Drug [1] - 70:14           Elpidio [4] - 5:4,         75:10, 76:10, 76:15,      64:1, 65:2, 68:23,         66:15, 86:2, 86:17,
Drugs [1] - 18:9            18:15, 22:7, 35:6         76:20, 77:9, 77:13,       73:2, 76:18, 79:21,        97:5, 119:17, 119:24
drugs [17] - 10:6,         Email [5] - 1:15, 1:15,    77:16                     81:10, 82:16, 83:13,      extradited [3] -
 19:10, 19:13, 23:2,        1:19, 1:24, 2:5          entire [1] - 106:2         83:16, 83:20, 87:13,       108:15, 109:1, 109:6
 24:5, 37:13, 38:1,        emails [1] - 48:8         entirely [1] - 53:13       90:11, 91:23, 99:24       extradition [5] -
 38:7, 41:11, 85:4,        emphasizes [1] -          entitled [2] - 10:22,     evidentiary [17] - 4:17,    108:21, 108:25,
 86:18, 91:23, 97:10,       29:25                     21:18                     4:21, 5:1, 8:5, 9:8,       109:3, 109:4, 114:15
 98:11, 98:18, 98:20,      employed [1] - 33:16      entry [2] - 21:2,          26:15, 32:9, 32:18,       extraordinary [2] -
 114:2                     employee [4] - 41:25,      119:18                    40:19, 45:13, 69:2,        17:3, 18:22
dry [1] - 54:7              42:3, 45:9, 49:10        envelope [1] - 82:8        73:2, 112:9, 112:10,      extreme [2] - 16:17,
DTO [1] - 46:6             employer [1] - 49:9       ephedrine [4] - 13:7,      114:4, 115:4, 115:16       26:23
due [4] - 16:3, 19:7,      encourages [1] -           24:14, 24:19, 33:15      exactly [7] - 14:13,
                                                                                36:17, 62:23, 67:21,
 21:18, 110:21              108:7                    equipment [3] - 82:18,                                          F
dump [2] - 58:24, 59:9     encouraging [2] -          83:10, 84:1               69:15, 81:24, 98:13
dumped [1] - 40:18          60:25, 73:18             equivalent [1] - 110:8    examination [3] -          F.3d [5] - 15:15, 16:1,
dumping [1] - 59:16        end [5] - 36:15, 57:1,    err [1] - 17:3             28:7, 28:17, 63:15          16:22, 17:16, 49:4
during [11] - 7:18,         74:22, 88:21, 108:22     errand [1] - 49:23        examined [1] - 87:13       F.4th [1] - 49:10
 7:21, 23:12, 24:24,       Enforcement [2] -         errors [2] - 108:13       example [9] - 27:8,        face [4] - 52:20, 54:3,
 26:25, 28:14, 40:18,       117:25, 118:21           escape [1] - 28:9          29:17, 37:12, 41:6,         57:20, 94:8
 52:3, 56:15, 71:1,        enforcement [13] -        escaping [1] - 28:11       47:9, 47:11, 64:12,       faced [1] - 21:21
 115:16                     10:10, 38:16, 38:19,                                75:20, 84:4               facial [2] - 53:19,
                                                     especially [1] - 106:6
dutifully [1] - 70:21       38:24, 39:15, 39:19,                               examples [1] - 56:11         53:21
                                                     essentially [4] - 40:6,
duty [1] - 102:13           43:5, 43:21, 43:25,                                except [2] - 49:22,        facilitate [4] - 40:15,
                                                      83:16, 83:21, 84:3
                            44:2, 44:11, 44:19,                                 103:8                       42:7, 44:11, 118:22
                                                     establish [3] - 38:9,
           E                79:24                     71:15, 117:16
                                                                               exceptional [1] -          facilitated [1] - 113:23
                           engaged [18] - 21:13,                                92:17                     facility [2] - 120:8,
                                                     established [6] - 16:3,
early [1] - 22:15           46:10, 75:10, 76:9,                                excerpts [1] - 45:17         120:13
                                                      37:18, 44:21, 48:23,
easy [1] - 109:17           76:19, 77:8, 78:14,       90:15, 119:12            excess [1] - 92:21         fact [17] - 9:6, 13:15,
eat [1] - 101:13            78:15, 78:16, 83:15,     estimate [5] - 33:2,      exchange [1] - 45:19         16:8, 30:3, 38:9,
ECF [1] - 4:24              83:18, 86:7, 98:8,        33:10, 88:9, 89:9,       excluding [1] - 91:22        46:24, 52:15, 67:17,
ECFs [2] - 4:14, 4:23       100:10, 100:13,           91:23                    exclusively [1] - 40:25      68:4, 71:14, 87:1,
Edgar [1] - 20:24           102:7, 113:22, 115:9     estimated [1] - 82:4      excuse [2] - 48:8,           87:16, 91:16, 94:3,
effect [1] - 103:4         engaging [3] - 77:16,     et [1] - 66:16             74:10                       103:12, 103:14,
effective [2] - 61:6,       99:1, 103:13             evaluated [1] - 17:10     excused [1] - 121:11         116:24
 99:9                      English [2] - 105:8,      evaluating [1] - 100:3    execute [1] - 118:24       fact-finding [2] - 16:8,
effects [1] - 97:19         105:11                   event [8] - 26:19,        exercise [1] - 49:3          87:1
effort [3] - 26:6, 27:6,   enhanced [1] - 96:8        28:12, 28:20, 29:6,      exhibits [2] - 4:24,       factor [4] - 113:17,
 55:16                     enhancement [33] -         53:11, 71:3, 115:5,       112:9                       113:20, 115:23,
egregious [2] - 99:21       15:14, 35:9, 35:10,       116:2                    expanding [1] - 29:7         115:24
eight [1] - 109:7           35:17, 36:10, 36:19,     events [3] - 19:18,       expectations [1] -         factors [2] - 5:24,
either [7] - 9:4, 53:11,    37:3, 37:7, 42:11,        24:10, 53:13              117:16                      112:13
 71:16, 85:7, 86:16,        43:4, 43:23, 45:20,      eventual [2] - 21:3,      expert [1] - 54:13         facts [12] - 7:15, 8:5,
 114:11, 114:12             46:1, 51:17, 52:1,        85:23                    explain [3] - 5:14, 6:7,     9:7, 13:12, 13:17,
El [9] - 19:11, 23:5,       52:8, 56:2, 56:21,       eventually [1] - 110:12    112:5                       16:4, 32:15, 62:5,
 23:12, 23:23, 24:3,        56:22, 56:23, 58:7,      everlasting [1] - 86:22   explained [1] - 30:25        76:18, 114:1, 114:3
 33:14, 97:24, 100:19       58:13, 58:22, 59:18,                               explaining [1] - 17:2      factual [10] - 5:18,
                                                     everywhere [1] -
el [1] - 12:25              64:7, 64:24, 77:4,                                 explains [1] - 25:21         7:25, 8:1, 8:14, 9:5,
                                                      54:14
elbow [1] - 94:7            77:21, 94:2, 94:17,                                explicit [1] - 38:2          15:21, 17:10, 48:7,
                                                     evidence [52] - 5:1,
electronic [1] - 82:17      98:4, 98:9, 98:13                                  export [4] - 35:13,          63:11, 63:19
                                                      7:17, 9:8, 12:23,
electronics [4] - 55:5,    enhancements [6] -                                   36:22, 37:6, 38:5         fail [1] - 74:20
                                                      13:8, 15:7, 15:14,
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 130 of 142                                                              9



failed [2] - 28:7, 76:6      76:21, 77:18, 77:20,      flood [1] - 68:16            118:8, 118:12            gathers [1] - 108:5
fails [1] - 16:13            77:24, 86:2, 102:20,      floor [1] - 33:24          forgot [1] - 6:15          gender [1] - 53:20
fair [4] - 15:13, 55:19,     103:19, 104:5,            flooring [3] - 24:4,       forgotten [2] - 43:11,     general [10] - 18:1,
  71:18, 77:6                111:23                      24:12, 24:15               43:12                     24:9, 29:12, 29:21,
fairing [1] - 27:16        feitel [1] - 55:22          FLORES [4] - 1:5,          form [1] - 57:12            41:2, 47:24, 58:8,
fairly [1] - 66:14         Feitel [19] - 3:20,           105:19, 106:15,          former [2] - 22:9,          82:14, 97:21, 115:8
falling [1] - 54:21          12:22, 14:21, 14:22,        106:22                     43:19                    generalities [2] -
falls [1] - 85:20            35:3, 36:17, 48:2,        Flores [43] - 3:4, 3:19,   forms [1] - 92:18           19:15, 29:13
false [15] - 28:4, 28:5,     54:16, 57:20, 60:21,        4:4, 5:12, 7:12, 8:18,   formula [1] - 70:17        generally [9] - 15:9,
  54:23, 55:9, 56:14,        69:9, 71:9, 75:13,          12:14, 14:24, 34:25,     forth [2] - 21:24, 52:14    16:11, 23:15, 27:15,
  57:12, 64:2, 65:3,         78:10, 86:1, 87:13,         36:5, 37:18, 38:24,      forward [8] - 3:7,          31:5, 85:11, 92:8,
  68:3, 68:16, 71:16,        87:22, 103:18,              39:14, 45:14, 48:9,        24:13, 41:8, 68:20,       109:24, 115:22
  95:10, 96:8, 101:14,       103:25                      48:23, 52:19, 53:1,        105:6, 106:19,           gesture [8] - 52:5,
  111:5                    Feitel's [1] - 78:25          53:15, 53:17, 53:23,       110:20, 112:5             54:2, 57:22, 57:24,
falsely [5] - 53:10,       felt [1] - 54:9               54:18, 55:18, 57:13,     fought [1] - 69:21          57:25, 58:2, 94:9,
  59:25, 60:2, 72:16,      few [2] - 105:21,             69:15, 71:21, 86:10,     four [14] - 5:2, 5:16,      94:10
  111:22                     111:14                      100:9, 100:14,             10:12, 10:15, 26:9,      gestures [1] - 54:11
familiar [1] - 25:25       field [5] - 21:10, 28:10,     100:16, 105:3,             34:2, 46:5, 46:15,       gesturing [1] - 52:19
families [1] - 18:24         59:3, 98:18, 98:19          105:6, 105:7,              48:16, 50:8, 50:17,      gig [1] - 98:10
family [30] - 6:16,        fifth [2] - 51:3, 55:25       105:20, 107:7,             75:22, 80:6, 108:24      given [20] - 17:21,
  6:18, 7:9, 7:11, 21:3,   fight [3] - 20:11,            107:14, 108:10,          four-point [1] - 10:15      17:22, 40:21, 42:11,
  22:4, 29:9, 29:10,         84:19, 110:24               109:23, 110:17,          framed [1] - 76:1           42:18, 50:13, 66:14,
  30:13, 57:23,            fighting [3] - 61:4,          110:19, 117:6,           frank [1] - 61:13           68:25, 69:4, 73:8,
  105:24, 106:2,             84:25, 108:20               120:12                   fraud [2] - 21:15, 59:8     73:14, 74:18, 75:5,
  106:9, 106:17,           figure [1] - 84:21          Flores's [10] - 6:16,      fraudulent [1] - 54:23      89:7, 90:25, 95:17,
  106:18, 107:24,          file [1] - 119:22             13:4, 39:11, 47:22,      friend [2] - 58:15, 59:5    109:4, 110:2, 116:3,
  107:25, 108:3,           filed [1] - 119:18            55:3, 71:10, 73:19,      friends [2] - 96:12,        116:24
  108:4, 108:7, 110:5,     filing [1] - 119:19           100:15, 105:4, 107:5       107:16                   glue [1] - 107:25
  111:13, 111:15,          filled [1] - 30:18          FLORES-                    frivolous [3] - 62:24,     God [1] - 106:4
  112:20, 112:22,          final [5] - 84:15, 89:1,      HERNANDEZ [1] -            63:6, 71:16              goods [1] - 115:4
  112:24, 114:17             89:11, 89:17, 89:18         1:5                      frivolously [3] - 60:2,    government [110] -
family's [1] - 20:12       finalized [1] - 81:5        Flores-Hernandez [8]         62:21, 72:17              3:9, 5:3, 5:7, 5:17,
far [5] - 32:14, 99:5,     finalizing [1] - 84:10        - 3:4, 3:19, 4:4,        Front [1] - 1:18            6:4, 7:16, 7:23, 7:24,
  102:17, 108:14,          finally [1] - 71:12           5:12, 8:18, 52:19,       fronted [1] - 66:20         10:25, 12:11, 13:19,
  112:23                   financial [2] - 118:13,       117:6, 120:12            frowned [1] - 58:9          14:21, 15:13, 18:5,
farm [1] - 110:5             118:17                    Flores-Hernandez's         fuel [2] - 30:18, 34:3      18:6, 18:12, 21:22,
fast [1] - 41:8            findings [4] - 9:6,           [1] - 105:20                                         21:25, 27:14, 30:1,
                                                                                  full [8] - 57:12, 68:1,
fat [1] - 82:24              81:2, 81:11, 102:16       flurry [1] - 67:14                                     30:4, 30:6, 30:7,
                                                                                    72:24, 95:16, 95:17,
fate [1] - 24:21           fine [4] - 63:17, 80:15,    fly [2] - 34:19, 35:24       112:11, 118:18,           30:8, 31:18, 32:6,
father [9] - 19:6, 19:9,     103:20, 118:7             focus [2] - 68:10,           121:16                    32:21, 34:12, 37:4,
  19:19, 21:4, 29:4,       finger [3] - 57:1,            93:15                    fuller [1] - 78:21          37:16, 37:20, 38:13,
  32:24, 106:6,              57:17, 94:15              focused [1] - 88:22        fully [3] - 8:20, 22:23,    38:17, 43:7, 44:15,
  107:15, 114:21           finished [1] - 109:5        follow [2] - 77:1,           30:5                      44:17, 44:20, 44:25,
fault [1] - 109:14         firmly [1] - 34:6             117:25                   fulsome [1] - 14:18         45:1, 45:2, 45:7,
FCRR [3] - 2:12,           first [22] - 3:9, 5:16,     following [4] - 51:11,                                 45:13, 45:16, 45:18,
                                                                                  function [4] - 97:4,
  121:15, 121:21             7:21, 15:4, 15:8,           74:13, 117:13,                                       46:7, 48:22, 49:13,
                                                                                    97:6, 97:23, 98:3
fear [1] - 57:22             31:11, 43:7, 52:4,          117:23                                               50:11, 51:5, 52:18,
                                                                                  functional [1] - 110:8
federal [1] - 117:19         52:18, 54:17, 54:19,      follows [1] - 80:4                                     55:8, 55:9, 55:14,
                                                                                  functions [1] - 97:11
feeds [1] - 85:2             62:2, 70:13, 74:25,       food [1] - 47:1                                        56:19, 56:23, 57:3,
                                                                                  fundamental [1] -
feigness [1] - 54:14         81:7, 102:24,             FOR [4] - 1:1, 1:11,                                   60:24, 61:16, 62:13,
                                                                                    119:4
FEITEL [37] - 2:3,           104:11, 109:7,              1:21, 2:2                                            63:12, 64:1, 65:1,
                                                                                  furthermore [1] -
  35:4, 36:2, 36:15,         110:23, 111:19,           foregoing [1] - 121:15                                 66:19, 67:6, 67:21,
                                                                                    34:22
  42:24, 43:18, 51:16,       113:18, 114:14            foreign [1] - 116:19                                   69:14, 69:16, 69:19,
                                                                                  future [2] - 18:8, 113:8
  51:22, 52:16, 52:23,     five [16] - 10:14,          forfeiture [21] - 15:16,                               69:23, 70:9, 70:19,
  53:9, 54:6, 54:17,         10:16, 25:22, 34:2,         39:22, 80:25, 81:1,                                  72:1, 72:15, 72:18,
                                                         81:4, 81:10, 81:12,
                                                                                             G                72:23, 73:4, 73:16,
  54:22, 55:2, 55:21,        46:14, 46:18, 46:22,
  55:23, 69:10, 70:6,        47:4, 47:5, 48:15,          81:15, 82:20, 84:10,                                 74:9, 77:11, 78:20,
                                                                                  gain [1] - 65:24
  70:8, 70:11, 71:24,        48:25, 49:14, 50:8,         84:11, 84:15, 84:16,                                 78:22, 79:20, 80:20,
                                                                                  game [1] - 66:1
  72:6, 73:23, 74:5,         50:15, 69:18, 80:7          86:20, 89:1, 89:2,                                   84:18, 84:23, 86:3,
                                                                                  games [1] - 34:20
  75:15, 76:6, 76:13,      fleeing [1] - 28:10           89:11, 89:14, 89:18,                                 86:4, 86:7, 86:13,
                                                                                  garner [1] - 62:16
         Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 131 of 142                                                          10



 90:6, 90:7, 97:19,         92:19, 93:17, 93:23,        46:7, 51:5, 72:3,         111:11                    105:17, 106:22,
 97:21, 97:22, 98:2,        94:2, 94:17, 94:20,         74:9, 86:1, 90:1,        high-level [1] - 50:5      107:13, 107:14,
 98:25, 101:14,             95:2, 96:19, 96:22,         105:2, 111:19            high-security [1] -        108:10, 110:14,
 102:23, 102:25,            96:23, 97:5, 99:4,         heard [16] - 5:1, 6:5,     111:11                    110:21, 111:2,
 103:21, 110:24,            99:14, 101:20,              12:13, 12:16, 12:22,     higher [1] - 16:12         111:7, 111:17,
 111:19, 114:4,             116:13, 119:12              13:3, 27:3, 38:21,       highest [1] - 102:9        111:23, 116:12,
 114:10, 115:11,           guidelines [47] - 5:22,      38:23, 39:1, 39:10,      highlights [1] - 12:19     116:15, 120:1,
 115:25, 119:20,            5:25, 7:19, 7:20,           51:23, 54:13, 112:8,     highly [2] - 25:17,        120:3, 120:10,
 119:25, 120:20,            9:11, 9:15, 9:24,           112:20, 112:21            55:1                      120:14, 120:19,
 121:7                      10:1, 13:14, 15:15,        hearing [41] - 4:17,      himself [6] - 19:8,        121:5, 121:8, 121:10
government's [21] -         17:11, 42:21, 48:21,        4:21, 4:24, 5:2, 5:15,    20:2, 20:6, 40:11,       Honor's [3] - 36:16,
 4:15, 15:10, 17:6,         50:25, 69:3, 69:11,         6:9, 7:18, 7:21, 8:6,     43:24, 110:4              43:2, 83:20
 17:23, 26:12, 26:14,       73:7, 73:13, 79:3,          9:4, 9:9, 16:8, 18:3,    hired [1] - 45:14         HONORABLE [1] - 1:8
 26:15, 32:5, 36:3,         80:3, 90:5, 90:16,          18:13, 22:12, 26:8,      Hispanic [1] - 109:11     hope [3] - 61:10,
 37:2, 43:1, 44:4,          91:11, 91:16, 92:7,         26:15, 27:7, 27:10,      history [10] - 5:23,       106:11, 106:12
 45:20, 46:2, 63:14,        92:8, 92:9, 92:12,          32:4, 32:9, 32:18,        9:13, 9:17, 27:24,       Hornok [1] - 3:11
 68:6, 72:22, 73:24,        93:15, 93:19, 93:21,        40:19, 45:13, 61:2,       28:6, 42:18, 75:20,      HORNOK [81] - 1:12,
 80:12, 89:16, 89:19        95:4, 96:3, 96:24,          64:20, 66:19, 68:17,      102:24, 113:12,           3:10, 5:8, 8:3, 8:7,
governmental [4] -          96:25, 100:3,               69:2, 73:2, 90:1,         114:13                    9:20, 11:3, 11:8,
 97:3, 97:6, 97:11,         102:16, 102:25,             94:6, 95:21, 104:3,      History [2] - 9:18,        11:11, 12:5, 12:12,
 103:4                      103:22, 112:7,              111:3, 112:9,             80:14                     13:23, 34:13, 38:18,
governor [1] - 47:19        113:10, 115:23,             112:10, 114:4,           Hoffman [2] - 55:6,        40:24, 42:8, 46:8,
gram [1] - 29:5             116:6, 116:8, 117:5,        115:4, 115:16             55:12                     47:8, 51:6, 51:10,
grandchildren [2] -         119:11                     hearings [3] - 12:13,     hold [1] - 66:22           51:25, 57:7, 59:23,
 108:8, 111:16             guilty [25] - 4:5, 60:12,    70:16, 70:19             home [9] - 21:6, 21:7,     60:13, 60:23, 61:8,
grandfather [2] -           60:14, 61:15, 61:23,       hearsay [4] - 17:17,       21:9, 85:16, 106:20,      61:12, 61:22, 62:2,
 105:23, 114:21             62:3, 62:4, 65:19,          70:18, 71:7, 71:9         107:9, 108:14,            62:15, 63:2, 63:4,
grandson [2] - 105:4,       65:21, 66:24, 68:11,       heart [3] - 105:22,        110:4, 112:21             63:7, 65:11, 66:25,
 105:20                     68:14, 68:20, 83:5,         105:24, 107:8            Honduras [3] - 22:17,      67:8, 67:12, 67:16,
grant [4] - 73:9, 73:24,    95:9, 95:13, 108:11,       heartland [4] - 90:17,     37:14, 43:20              67:24, 68:9, 69:8,
 80:11, 116:23              110:22, 111:1,              90:20, 91:15, 91:17                                 73:12, 74:12, 75:12,
                                                                                 honest [1] - 106:3
granted [1] - 69:7          113:15, 114:25,            Hector [1] - 19:12                                   78:22, 80:21, 81:6,
                                                                                 honestly [3] - 106:4,
great [3] - 18:23,          115:22, 119:3, 119:5       height [1] - 108:16                                  81:17, 81:22, 82:1,
                                                                                  106:10, 107:20
 19:17, 111:9              guy [5] - 47:12, 61:19,     held [5] - 4:18, 91:21,                              82:7, 82:22, 82:25,
                                                                                 Honor [102] - 3:2, 3:4,
greater [3] - 13:9,         85:23, 102:6, 114:19        108:17, 108:25,                                     83:12, 84:8, 84:21,
                                                                                  3:10, 3:18, 3:24, 5:8,
 60:9, 112:15                                           114:15                    5:11, 6:13, 7:6, 8:3,     85:10, 87:9, 87:22,
grew [1] - 31:1                        H               help [8] - 24:3, 29:7,     8:7, 8:11, 8:16, 9:20,    88:13, 88:17, 89:12,
gross [1] - 19:16                                       30:21, 36:6, 45:25,       9:22, 11:4, 11:18,        89:19, 89:24, 90:8,
ground [1] - 65:23         hair [2] - 53:19, 53:21      58:25, 103:9, 106:16                                90:14, 91:2, 93:13,
                                                                                  11:21, 12:6, 12:12,
                           half [8] - 12:25, 20:2,     helped [5] - 19:7,                                   95:24, 99:18, 99:23,
group [2] - 39:5,                                                                 12:13, 13:11, 14:6,
                            32:25, 87:20, 87:23,        19:19, 19:22, 20:6,                                 100:5, 100:8,
 104:14                                                                           14:13, 14:16, 14:20,
                            87:24, 89:5, 111:9          114:11                                              101:23, 111:20,
growing [1] - 29:7                                                                34:13, 35:4, 35:6,
                           hall [1] - 29:16            helpful [2] - 18:8,                                  112:2, 116:12,
Guadalajara [2] -                                                                 36:2, 36:8, 38:18,
                           hand [4] - 94:8, 94:12,      92:25                                               116:15, 120:1,
 23:20, 30:20                                                                     39:25, 42:24, 42:25,
                            94:13                      hereby [2] - 117:7,                                  120:22, 121:8
guards [1] - 109:19                                                               43:6, 46:8, 46:9,
                           handing [3] - 39:15,         121:15                                             horrible [1] - 108:15
Guatemala [1] - 22:17                                                             48:1, 48:3, 52:16,
                            39:19, 41:12               heretofore [1] - 103:1     52:20, 53:14, 53:25,     hours [2] - 93:23,
guess [6] - 23:18,
                           handle [1] - 105:16         HERNANDEZ [1] - 1:5        54:17, 55:19, 55:24,      118:6
 30:19, 34:2, 58:15,
                           hands [2] - 41:11,          Hernandez [8] - 3:4,       59:23, 70:21, 71:6,      house [5] - 59:3,
 58:25, 115:15
                            41:15                       3:19, 4:4, 5:12, 8:18,    71:8, 71:12, 71:21,       98:20, 98:25, 111:8,
guideline [47] - 7:25,
                           happy [1] - 106:2            52:19, 117:6, 120:12      75:15, 75:23, 76:13,      111:14
 8:13, 10:5, 10:8,
 10:16, 10:18, 10:21,      hard [5] - 61:4, 61:20,     Hernandez's [1] -          76:22, 76:25, 79:13,     HOWELL [1] - 1:8
 10:24, 11:10, 13:16,       85:5, 85:8, 106:16          105:20                    80:21, 80:23, 81:17,     huge [3] - 31:7, 63:1,
 15:19, 31:12, 31:17,      head [5] - 53:3, 58:9,      hidden [2] - 30:17,        81:22, 82:22, 83:19,      115:9
 31:21, 34:7, 36:18,        64:23, 97:18, 106:18        33:24                     84:12, 84:17, 86:2,      human [2] - 20:7,
 44:9, 48:13, 50:18,       health [2] - 99:10,         hiding [1] - 33:23         87:1, 90:8, 99:18,        20:17
 56:2, 56:17, 59:19,        109:19                     hierarchical [1] - 49:8    102:20, 103:1,           hundreds [1] - 50:5
 59:24, 71:14, 72:7,       hear [18] - 6:3, 6:4,       hierarchically [1] -       104:13, 104:19,          husband [1] - 107:15
 80:18, 90:17, 91:7,        6:5, 7:4, 7:18, 11:24,      49:9                      104:21, 104:25,          hustle [1] - 98:10
 91:8, 91:17, 92:15,        12:11, 34:12, 38:17,       high [3] - 41:14, 50:5,    105:14, 105:15,
         Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 132 of 142                                                               11



                              119:24                     39:5, 47:24, 49:13,       interpreted [2] - 31:2,      114:5
            I
                            imposition [1] - 118:7       64:25, 66:5, 66:6,          58:16                    Jail [2] - 108:14, 109:7
ICE [1] - 116:21            impossible [1] -             66:7, 93:5, 100:13,       INTERPRETER [1] -          jail [9] - 21:18, 26:3,
ID [1] - 15:17                110:11                     100:14, 100:15,             105:17                     26:20, 27:9, 108:4,
idea [5] - 40:10, 48:9,     imprecise [1] - 30:9         100:16, 101:7,            Interpreter [2] - 2:10,      108:18, 109:8,
  64:25, 84:3, 85:11        impression [1] - 34:23       104:16                      2:10                       109:20, 109:21
identifiable [1] -          imprisonment [3] -         induced [1] - 42:14         Interpreters [1] - 3:5     jails [1] - 108:13
  113:19                      80:15, 90:6, 116:8       ineffective [1] -           interpreters [2] -         Jalisco [1] - 47:20
identification [1] -        incarceration [3] -          119:14                      41:20, 105:16            JAMES [1] - 2:9
  28:4                        90:4, 90:5, 116:10       ineligible [4] - 50:19,     interpretive [1] - 75:18   James [1] - 3:13
identified [12] - 13:13,    incident [2] - 30:24,        74:21, 75:14, 78:17       interrupt [2] - 51:16,     January [4] - 1:5,
  27:19, 41:1, 42:8,          33:13                    inference [1] - 42:18         99:15                      25:23, 26:1, 37:21
  46:21, 47:23, 48:10,      include [4] - 18:13,       influence [1] - 24:24       intimidate [2] - 53:16,    Jesus [3] - 105:3,
  49:17, 59:10, 61:8,         47:3, 112:25, 117:18     influencing [1] - 56:13       56:25                      105:5, 105:7
  83:19                     included [8] - 5:2,        information [17] -          intimidating [1] -         jet [1] - 104:5
identify [6] - 3:8, 27:7,     46:14, 47:5, 47:12,        17:12, 17:14, 25:5,         56:12                    Johnson [1] - 49:10
  39:24, 39:25, 40:2,         47:15, 83:5, 88:11,        26:6, 26:7, 26:21,        invested [2] - 32:9,       joined [1] - 74:24
  50:7                        88:14                      26:24, 27:6, 27:8,          96:13                    JONATHAN [1] - 1:12
identifying [1] - 64:21     includes [1] - 56:11         27:14, 27:17, 31:9,       investigation [13] -       Jonathan [1] - 3:11
identity [1] - 70:23        including [15] - 5:3,        47:20, 47:21, 68:16,        4:12, 5:19, 7:16,        jonathan.hornok@
ignores [1] - 18:6            18:22, 19:11, 19:18,       92:25, 94:18                8:10, 8:25, 14:3,          usdoj.gov [1] - 1:15
illegal [9] - 21:2,           20:17, 21:5, 24:10,      informed [1] - 7:8            36:25, 48:17, 56:6,      Jorge [3] - 5:6, 21:8,
  27:25, 50:10, 55:4,         24:18, 27:25, 29:16,     initial [2] - 35:13, 88:2     56:16, 56:21,              59:5
  59:1, 59:4, 82:16,          37:3, 44:18, 48:25,      inmate [1] - 109:14           118:20, 118:23           Juan [2] - 23:13
  110:3, 115:4                103:3, 119:8             inmates [2] - 109:11,       investigative [1] -        Juarez [1] - 20:20
illegality [1] - 28:11      income [1] - 59:2            109:13                      61:7                     judge [5] - 43:18,
imagine [1] - 85:7          incomplete [2] -           inside [1] - 19:22          investors [1] - 23:1         58:2, 63:21, 95:12,
imagined [1] - 53:2           54:25, 55:10             insignificant [1] -         invoke [1] - 104:2           115:8
immediately [3] -           inconsistent [1] - 60:4      97:25                     involuntary [1] - 119:3    JUDGE [1] - 1:8
  33:18, 117:24,            incorporated [1] -         instance [2] - 43:7,        involved [24] - 10:14,     Judge [2] - 35:15,
  118:13                      7:15                       46:18                       19:12, 20:1, 21:16,        75:23
immigration [2] -           incorrect [1] - 119:10     instances [3] - 38:20,        22:4, 22:25, 29:2,       Judgement [1] -
  110:10, 110:12            increase [18] - 10:7,        39:14, 79:3                 38:24, 41:4, 46:23,        120:15
Immigration [2] -             10:11, 10:15, 10:18,     instant [1] - 56:7            48:15, 50:15, 55:4,      judgment [7] - 17:18,
  117:25, 118:21              15:23, 16:18, 38:12,     instead [1] - 101:10          72:24, 76:14, 77:12,       81:13, 81:15, 84:10,
impede [1] - 56:5             40:23, 44:12, 45:11,     instructions [1] -            81:14, 82:17, 92:22,       117:6, 118:10,
impeded [1] - 56:4            46:3, 48:16, 56:10,        118:1                       99:20, 106:12,             119:19
imperfect [2] - 94:1,         79:22, 79:23, 79:24,     instructive [1] - 92:11       106:13                   Judgment [1] - 118:20
  95:6                        80:1, 97:4               insufficient [6] -          involvement [3] -          judicial [2] - 56:16,
implicated [1] - 30:13      increased [1] - 80:6         27:23, 37:9, 38:9,          22:1, 24:11, 50:3          61:7
implicit [1] - 49:7         incredible [2] - 21:17,      54:25, 58:22, 59:17       irrelevant [2] - 45:19,    July [1] - 120:16
import [9] - 10:6,            31:8                     insufficiently [1] -          77:14                    jump [4] - 15:16, 16:2,
  26:25, 33:14, 35:13,      incredibly [3] - 65:12,      93:19                     isolate [1] - 110:4          49:4, 49:11
  36:7, 36:22, 37:6,          99:14, 100:21            intend [2] - 7:18,          issue [21] - 11:21,        June [1] - 23:14
  38:4, 38:14               incriminating [1] -          11:15                       11:25, 16:23, 35:5,      jurisdiction [1] - 35:15
importance [1] - 97:6         31:6                     intended [2] - 53:24,         36:11, 51:7, 52:18,      jurors [1] - 66:14
important [2] - 61:9,       indeed [1] - 109:14          77:25                       53:20, 55:3, 58:23,      jury [1] - 60:18
  97:11                     independent [1] -          intent [2] - 26:7, 53:13      61:9, 61:10, 61:12,      justice [8] - 10:17,
importation [7] - 4:8,        23:23                    interactions [1] - 22:2       61:14, 62:23, 72:18,       51:4, 52:2, 52:19,
  28:3, 31:14, 34:22,       independently [3] -        interest [1] - 68:18          74:2, 74:4, 82:23,         55:17, 56:2, 56:5,
  35:18, 40:16, 113:24        23:21, 46:13, 48:23      interested [3] - 26:20,       92:4                       64:5
imported [2] - 36:20,       indicia [1] - 17:14          27:12, 27:15              issues [7] - 11:24,        justifiable [1] - 61:18
  38:10                     indictment [2] - 4:6,      interesting [1] - 78:19       40:25, 48:2, 66:16,      justification [1] - 58:6
importing [1] - 113:3         83:3                     intermediaries [1] -          74:3, 109:19, 109:22
                            indirectly [1] - 56:13       44:18                     items [1] - 59:10
impose [5] - 6:8,                                                                                                        K
  112:6, 112:14             individual [8] - 18:19,    international [5] -
imposed [9] - 99:16,          19:5, 39:1, 47:23,         21:17, 63:1, 103:13,                 J               KARIMA [1] - 2:10
  100:4, 113:1, 115:6,        93:3, 98:14, 106:23,       113:22, 116:3                                        Karima [1] - 3:5
  117:16, 119:9,              109:1                    interpretation [2] -        Jack [6] - 5:5, 18:16,
                                                                                                              keep [2] - 41:15,
  119:10, 119:17,           individuals [15] - 27:3,     77:2, 78:9                 21:8, 28:23, 83:13,
                                                                                                               101:13
         Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 133 of 142                                                            12



keeps [2] - 64:14,         Kotelly [1] - 35:15          50:23, 80:7, 97:13         102:2, 102:4               4:25, 82:9, 94:6,
 107:25                    Kyle [2] - 3:13            leaders [1] - 114:9        levels [14] - 14:5,          103:24
kept [2] - 23:1, 109:11    KYLE [2] - 1:16, 2:8       leadership [3] - 48:18,      44:12, 48:16, 50:17,     looking [5] - 27:17,
Kevin [1] - 5:5            kyle.martin@usdoj.           51:19, 77:21               56:10, 59:19, 66:17,       43:10, 64:18, 74:14,
kidnapped [1] - 25:4        gov [1] - 1:19            leap [1] - 83:8              67:5, 67:7, 70:4,          88:4
kidnapping [2] -                                      least [12] - 12:14,          72:10, 73:25, 80:7,      lookout [1] - 25:10
 20:16, 20:23                         L                 22:9, 23:20, 33:3,         102:9                    Lopez [1] - 28:25
kilogram [5] - 29:2,                                    46:15, 46:22, 60:8,      Lewisburg [1] - 109:9      lords [1] - 19:11
 34:6, 87:12, 88:19,       lack [4] - 29:17,            87:4, 89:17, 95:7,       Leyva [3] - 15:15,         lose [1] - 68:13
 88:21                       109:15, 110:15,            96:16, 114:9               17:15, 97:25             lost [1] - 74:2
kilograms [60] - 4:7,        115:17                   leave [3] - 43:12,         Licenciado [19] - 39:2,    Loth [2] - 2:12, 121:21
 12:14, 12:16, 12:21,      lacks [1] - 109:16           70:12, 84:7                41:17, 41:18, 41:21,     LOTH [1] - 121:15
 13:10, 13:14, 13:15,      lady [1] - 110:23          lectern [1] - 3:8            41:22, 41:23, 42:5,      love [2] - 7:11, 106:10
 14:10, 19:20, 20:3,       language [10] - 34:21,     led [1] - 25:12              44:18, 44:24, 44:25,     loved [1] - 111:16
 20:4, 24:18, 25:2,          38:3, 42:11, 42:13,      ledger [2] - 82:10,          45:3, 45:4, 45:6,        loving [1] - 105:23
 25:8, 29:5, 31:13,          54:14, 66:15, 78:25,       82:11                      45:8, 45:9, 47:11,       low [1] - 88:21
 31:17, 31:20, 31:24,        79:5, 79:7, 109:16       ledgers [5] - 86:4,          47:16, 49:15, 49:18      low-end [1] - 88:21
 32:3, 32:10, 32:12,       Language [2] - 2:10,         86:11, 86:20, 87:5,      Licensiado's [1] -         lower [1] - 96:4
 32:13, 32:16, 32:17,        2:10                       87:10                      45:5                     luck [1] - 96:14
 32:18, 32:20, 32:25,      Laredo [1] - 84:4          left [3] - 20:12, 94:13,   life [8] - 61:19, 90:6,    lying [1] - 19:1
 33:3, 33:4, 33:6,         large [4] - 59:2, 69:6,      111:15                     91:14, 99:9, 99:16,
 33:8, 33:15, 33:20,         70:24, 113:22            legal [7] - 15:4, 15:7,      101:17, 106:9, 110:8
 33:21, 33:24, 34:9,                                                             light [2] - 17:4, 118:8
                                                                                                                      M
                           largely [1] - 18:19          15:12, 15:18, 35:5,
 37:13, 50:5, 63:20,       larger [2] - 65:16,          35:8, 63:15              likeable [2] - 114:19,     ma'am [2] - 43:18,
 63:25, 72:19, 81:14,        88:19                    legally [2] - 63:16,         114:20                    71:24
 85:6, 85:13, 87:11,       Las [1] - 7:8                118:4                    likewise [4] - 52:13,      machine [1] - 2:14
 89:9, 89:10, 89:12,       last [7] - 6:7, 47:18,     legitimate [2] - 24:6,       73:16, 92:2, 98:4        magnitude [2] - 60:9,
 91:19, 91:24, 91:25,        58:23, 93:22, 99:6,        115:2                    limitation [1] - 62:10      65:16
 92:6, 93:6, 95:12,          108:3, 111:14            lend [1] - 22:5            limited [2] - 61:6, 62:9   main [1] - 102:21
 95:14, 96:16              late [2] - 58:24, 83:14    length [3] - 89:8,         line [2] - 32:2, 46:22     maintain [1] - 32:7
kilos [6] - 12:23, 13:7,   latenight [1] - 43:15        100:24, 101:1            lips [1] - 53:24           maintained [1] - 23:2
 69:18, 87:23, 89:4        laugh [2] - 106:8,         lengthy [4] - 6:2, 50:4,   list [1] - 11:3            maintaining [1] -
kind [48] - 34:23,           111:4                      66:14, 116:9             listed [1] - 40:4           91:13
 38:21, 40:1, 40:9,        laughing [1] - 64:14       less [4] - 30:2, 32:14,    listens [1] - 106:8        majority [1] - 109:11
 41:2, 41:15, 46:24,       launder [2] - 29:21,         96:11, 102:5             lists [1] - 40:8           man [5] - 47:18, 106:9,
 47:10, 47:23, 52:11,        39:20                    letter [1] - 104:15        litany [1] - 13:8           106:17, 107:14,
 53:22, 58:11, 59:11,      laundered [2] - 88:14,     letters [13] - 6:20,       litigation [1] - 26:12      111:13
 60:17, 61:23, 61:24,        89:20                      6:21, 6:22, 6:25, 7:2,   livelihood [3] - 98:8,     management [2] -
 62:16, 63:24, 64:21,      launderer [3] - 39:18,       7:3, 7:5, 104:17,          98:12, 99:1               49:7, 116:4
 79:7, 82:8, 82:11,          44:18, 45:14               107:20, 107:21,          living [2] - 98:11,        manager [2] - 49:2,
 84:2, 85:5, 85:8,         launderers [1] - 39:11       107:23                     98:12                     50:24
 85:10, 85:12, 85:14,      laundering [12] -          Level [2] - 13:14, 14:1    load [9] - 12:25, 13:4,    mandate [1] - 85:21
 85:20, 86:5, 87:3,          20:14, 20:15, 20:17,     level [56] - 9:24, 10:5,     13:6, 25:17, 32:25,      mandatory [4] - 50:22,
 88:8, 92:23, 93:2,          21:15, 45:25, 83:21,       10:7, 10:11, 10:18,        87:23, 88:12, 89:6        60:15, 117:13,
 93:3, 94:1, 96:10,          83:23, 84:2, 86:9,         10:21, 10:22, 10:23,     loads [12] - 12:24,         117:18
 96:11, 96:13, 96:17,        86:10, 115:1               13:20, 13:21, 13:22,       13:5, 25:3, 32:10,       manner [2] - 60:4,
 98:10, 98:14, 99:6,                                    15:2, 28:22, 31:15,
                           law [18] - 10:10, 15:17,                                39:13, 63:24, 87:11,      121:19
 100:10, 100:13,                                        31:21, 33:11, 34:7,
                             35:15, 38:16, 38:19,                                  87:16, 87:17, 87:20,     manual [1] - 5:25
 100:23, 101:10,                                        35:11, 36:19, 37:1,
                             38:24, 39:15, 39:19,                                  89:4, 96:13              MANUELA [1] - 2:10
 101:12                                                 37:3, 38:12, 40:23,
                             43:5, 43:21, 43:24,                                 Lobo [7] - 23:6, 23:12,    Manuela [1] - 3:5
kinds [1] - 83:25            44:1, 44:11, 44:19,        44:14, 45:11, 46:1,        24:3, 33:14, 43:14,      many-year [1] - 31:7
knife [1] - 53:2             79:23, 113:6,              46:3, 46:25, 50:5,         43:19, 43:25             Manzanillo [3] - 13:5,
knowing [3] - 19:1,          115:18, 119:9              56:10, 58:7, 67:3,       local [1] - 117:19          24:22, 25:10
 19:3, 60:21               lawyer [2] - 27:20,          67:9, 69:12, 71:22,      location [1] - 25:12       March [3] - 4:6, 83:4,
knowledge [5] - 25:1,        32:11                      72:10, 72:11, 72:15,     look [13] - 7:3, 24:6,      121:20
 41:13, 42:6, 44:3,        laying [1] - 64:21           73:7, 73:10, 74:15,        41:8, 58:5, 61:24,       marijuana [1] - 22:25
 97:21                     leader [13] - 10:13,         75:7, 79:22, 79:23,        68:19, 85:11, 85:14,     Mario [2] - 5:4, 18:13
known [3] - 20:24,           13:6, 22:9, 22:24,         79:24, 80:1, 80:5,         92:25, 94:2, 99:12,      Martin [2] - 3:13, 3:15
 66:5, 66:21                 23:10, 24:25, 46:6,        80:9, 80:11, 80:13,        103:23, 106:19           MARTIN [1] - 1:16
knows [2] - 42:4, 78:5       46:24, 47:7, 48:14,        93:1, 98:4, 98:13,       looked [5] - 4:11,         material [3] - 5:7,
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 134 of 142                                                          13



 5:10, 28:17                25:7, 59:2, 59:4         missed [2] - 10:2,       motivation [1] - 68:15     104:21, 104:25,
materials [1] - 4:10       mere [1] - 32:11           67:14                   mouth [2] - 53:24,         105:3, 105:9,
math [3] - 32:12, 82:9,    merely [1] - 14:23        missing [3] - 10:25,      54:7                      105:14, 106:23,
 89:16                     message [2] - 31:2,        108:5, 108:6            move [3] - 24:13,          107:2, 107:13,
mathematician [2] -         58:18                    misspoken [1] -           54:16, 57:25              107:24, 108:22,
 32:11, 86:22              messages [1] - 48:9        116:13                  moved [3] - 14:24,         120:3, 120:6,
matter [11] - 3:6, 35:5,   met [3] - 25:21, 27:21,   mistake [1] - 108:10      20:21, 25:12              120:10, 120:14,
 35:14, 43:3, 53:13,        28:24                    mitigated [1] - 101:5    movement [1] - 57:17       120:19, 121:5,
 60:11, 73:12, 86:14,      method [1] - 34:3         mitigates [1] - 67:18    moving [1] - 73:16         121:10
 92:14, 104:4, 115:11      methods [1] - 30:16       mitigating [1] - 98:22   MR [120] - 3:10, 5:8,     mule [1] - 97:16
matters [2] - 30:24,       Mexican [8] - 24:23,      model [1] - 34:17         8:3, 8:7, 9:20, 11:3,    multiple [1] - 50:4
 103:5                      33:16, 54:13, 59:7,      Mohammed [1] -            11:8, 11:11, 12:5,       murder [1] - 99:22
max [1] - 108:19            59:12, 83:9, 97:14,       16:25                    12:12, 13:23, 34:13,     Murillo [5] - 5:6, 21:8,
maximum [2] -               98:24                    Mojarro [5] - 5:4,        35:4, 36:2, 36:15,        21:11, 59:6, 114:5
 108:17, 119:11            Mexico [26] - 7:7,         18:15, 22:7, 35:7,       38:18, 40:24, 42:8,      must [13] - 16:19,
mayhem [1] - 99:22          20:20, 22:17, 30:20,      37:7                     42:24, 43:18, 46:8,       49:3, 75:5, 100:5,
mean [19] - 21:20,          47:20, 57:14, 84:5,      moment [3] - 55:5,        47:8, 51:6, 51:10,        100:8, 101:6,
 26:18, 29:18, 29:21,       97:12, 97:18, 97:19,      68:20, 112:19            51:16, 51:22, 51:25,      117:18, 117:19,
 40:15, 40:17, 54:2,        97:21, 98:2, 98:23,      money [27] - 20:12,       52:16, 52:23, 53:9,       117:20, 117:24,
 54:19, 57:2, 60:12,        107:17, 108:17,           20:14, 20:15, 20:17,     54:6, 54:17, 54:22,       118:3, 118:5, 119:18
 70:18, 77:16, 82:16,       108:19, 109:3,            21:15, 29:21, 39:11,     55:2, 55:21, 55:23,      mustache [1] - 54:3
 85:6, 86:21, 97:21,        110:4, 110:13,            39:18, 39:20, 44:18,     57:7, 59:23, 60:13,
 98:21, 99:13, 100:6        111:8, 111:11,            45:14, 45:18, 45:25,     60:23, 61:8, 61:12,                 N
meaning [1] - 41:24         111:12, 114:14,           47:16, 83:21, 83:22,     61:22, 62:2, 62:15,
means [5] - 40:25,          114:25, 115:19,           84:1, 84:2, 85:18,       63:2, 63:4, 63:7,        nailed [2] - 87:15,
 50:6, 75:16, 78:1,         120:23                    85:19, 86:9, 86:10,      65:11, 66:25, 67:8,       87:22
 86:17                     mid [1] - 83:14            97:16, 97:17,            67:12, 67:16, 67:24,     name [10] - 3:11,
meant [2] - 55:10,         middle [1] - 65:23         114:25, 115:2,           68:9, 69:8, 69:10,        41:19, 44:25, 47:18,
 75:24                     might [3] - 82:3,          118:10                   70:6, 70:8, 70:11,        49:22, 50:8, 55:8,
medical [1] - 109:22        85:11, 97:1              month [2] - 30:18,        71:24, 72:6, 73:12,       105:3, 105:19, 120:8
meet [6] - 38:2, 50:10,    Miguel [1] - 19:11         34:1                     73:23, 74:5, 74:12,      named [6] - 25:4,
 51:11, 62:6, 74:16,       Milenio [11] - 13:6,      months [17] - 23:11,      75:12, 75:15, 76:6,       39:1, 49:17, 50:1,
 94:17                      22:10, 22:14, 22:24,      90:21, 91:7, 99:7,       76:13, 76:21, 77:18,      55:6, 106:23
meeting [5] - 21:4,         23:10, 23:18, 24:25,      101:24, 102:5,           77:20, 77:24, 78:22,     names [8] - 46:20,
 25:23, 30:19, 44:1,        65:9, 97:14, 114:8,       102:10, 102:11,          80:21, 81:6, 81:17,       47:15, 49:13, 49:24,
 83:13                      114:9                     102:14, 109:7,           81:22, 82:1, 82:7,        104:18, 104:20,
meetings [1] - 30:14       million [37] - 20:7,       109:10, 110:16,          82:22, 82:25, 83:12,      104:24
meets [1] - 74:13           20:8, 20:9, 30:22,        116:23, 117:2,           84:8, 84:21, 85:10,      narco [3] - 37:9, 63:1,
Melanie [1] - 3:13          80:16, 81:13, 81:16,      117:8, 117:11            86:2, 87:9, 87:22,        103:13
MELANIE [1] - 1:12          81:21, 82:1, 82:4,       months' [4] - 80:15,      88:13, 88:17, 89:12,     Narcotics [2] - 18:9,
melanie.alsworth2@          82:11, 82:12, 84:11,      90:3, 90:4, 116:8        89:19, 89:24, 90:8,       70:14
                            84:20, 85:18, 85:19,     MORI [1] - 2:8            90:14, 91:2, 93:13,      narcotics [11] - 18:21,
 usdoj.gov [1] - 1:15
                            85:24, 85:25, 86:3,      Mori [2] - 3:13, 3:14     95:24, 99:18, 99:23,      20:13, 31:7, 50:3,
member [2] - 23:16,
                            86:15, 86:16, 86:20,     morning [17] - 3:9,       100:5, 100:8,             50:9, 66:24, 82:20,
 114:6
                            86:24, 86:25, 87:9,       3:10, 3:18, 3:21,        101:23, 102:20,           83:11, 106:13,
members [7] - 6:16,
                            87:10, 87:19, 88:3,       3:22, 3:24, 4:2, 4:3,    103:19, 104:5,            115:9, 116:3
 6:18, 7:9, 22:4,
                            88:14, 89:11, 89:13,      4:12, 5:15, 6:10,        105:19, 106:15,          narrative [6] - 64:2,
 30:13, 105:25,
                            89:20, 98:24, 118:11      52:22, 71:18, 74:10,     106:22, 107:4,            65:3, 68:3, 95:10,
 112:20
                           millions [2] - 20:21       95:21, 95:23, 95:24      111:20, 111:23,           96:8, 101:15
memo [2] - 32:8,
                           mind [4] - 26:23,         morning's [1] - 64:20     112:2, 116:12,           national [1] - 116:19
 32:19
                            36:16, 38:2, 50:2        most [9] - 9:10, 28:6,    116:15, 120:1,           nature [6] - 40:21,
memoranda [1] - 4:17
                           minimization [1] -         28:9, 38:6, 39:25,       120:22, 121:8             50:13, 97:5, 103:20,
memorandum [4] -
                            22:21                     52:25, 53:3, 65:25,     MS [40] - 3:18, 5:11,      113:11, 113:21
 4:16, 4:21, 4:22,
                           minimum [4] - 24:24,       95:25                    6:13, 6:15, 6:22, 7:6,   Nava [1] - 23:5
 36:4
                            28:10, 50:22, 60:15      mother's [1] - 86:22      8:11, 8:16, 9:22,        Navy [7] - 25:9, 25:11,
mention [4] - 6:15,
                           minute [1] - 79:16                                  11:18, 12:6, 14:1,        25:14, 33:16, 97:14
 18:7, 26:16, 44:13                                  motion [10] - 26:12,
                           mischaracterization                                 14:6, 14:13, 14:15,      NDDS [1] - 3:15
mentioned [4] - 14:22,                                53:1, 53:2, 67:6,
                            [1] - 19:16
                                                                               14:20, 41:20, 48:1,      NE [1] - 1:13
 43:10, 51:6, 57:3                                    67:8, 67:9, 70:10,
                                                                               79:13, 80:23, 84:12,     nearest [1] - 118:5
mentioning [1] - 29:18     miss [2] - 106:5,          73:25, 80:12, 88:2
                                                                               84:17, 104:13,           necessarily [4] - 11:9,
merchandise [3] -           107:10                   motions [1] - 60:22
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 135 of 142                                                             14



 17:18, 21:25, 71:15       119:17, 119:19            obtained [2] - 26:19,        45:1, 45:2, 56:16,       ordered [3] - 117:9,
necessary [5] - 16:4,     noticed [2] - 64:15,        42:12                       121:22                    118:2, 118:10
 44:21, 102:15,            69:1                      obtaining [2] - 39:17       officials [4] - 25:9,     orders [3] - 13:5, 60:8,
 112:15, 118:24           notify [1] - 118:16        obviously [1] - 79:9         25:11, 43:25, 45:2        65:16
necessity [1] - 69:14     notion [1] - 49:7          occurred [5] - 50:4,        often [1] - 92:25         ordinarily [1] - 92:22
neck [1] - 53:1           notorious [1] - 19:11       52:3, 58:5, 83:3,          oil [5] - 12:21, 19:20,   organization [5] -
need [14] - 7:4, 35:22,   notwithstanding [1] -       97:1                        39:5, 39:6, 47:9          41:10, 41:15, 46:23,
 35:25, 72:3, 84:4,        16:6                      occurs [2] - 38:21          old [4] - 102:6, 110:9,    49:1, 97:25
 84:19, 102:3, 102:4,     Novick [3] - 5:5,          OF [3] - 1:1, 1:3, 1:7       111:7, 114:14            organized [2] - 24:15,
 112:25, 113:5,            70:20, 71:2               offender [2] - 10:23,       older [1] - 108:9          24:21
 113:13, 113:16,          nowhere [2] - 18:25,        74:8                       once [3] - 30:18, 34:1,   organizer [5] - 10:13,
 115:5, 115:20             59:10                     offenders [3] - 74:6,        110:9                     46:24, 48:14, 50:23,
needed [1] - 25:20        nub [1] - 82:23             74:8, 80:2                 one [57] - 4:6, 5:3,       80:7
needle [2] - 65:18,       null [1] - 121:18          offense [68] - 5:24,         9:14, 11:1, 12:2,        organizing [1] - 25:3
 101:12                   number [23] - 7:17,         9:24, 10:5, 10:7,           12:3, 12:5, 12:7,        original [1] - 81:12
needs [6] - 42:11,         12:10, 15:11, 21:5,        10:8, 10:11, 10:18,         12:10, 13:4, 15:11,      originally [1] - 89:14
 42:15, 42:20, 43:2,       29:13, 34:10, 34:17,       10:21, 10:23, 13:20,        16:21, 19:22, 19:23,     Oscar [6] - 23:5,
 73:6, 115:12              38:15, 40:2, 46:5,         13:21, 13:22, 14:5,         22:13, 23:22, 24:10,      28:25, 105:3, 105:5,
nefarious [2] - 40:21,     51:12, 59:21, 78:4,        15:2, 28:22, 31:15,         24:16, 24:17, 25:23,      105:7, 105:19
 59:11                     84:22, 85:2, 85:22,        31:20, 33:11, 34:7,         26:11, 35:20, 39:7,      otherwise [8] - 10:14,
negative [3] - 58:9,       86:21, 88:5, 88:10,        35:19, 37:1, 38:3,          39:14, 39:16, 39:18,      20:24, 48:16, 50:10,
 76:2, 76:21               88:14, 88:18,              40:16, 44:12, 44:14,        41:10, 41:11, 43:9,       50:16, 56:12, 66:20,
negotiate [1] - 60:17      102:15, 115:14             44:15, 46:3, 50:17,         48:3, 49:23, 54:19,       103:10
nephew [3] - 107:5,       numbers [4] - 66:15,        50:24, 51:20, 56:7,         56:3, 63:17, 67:22,      ourselves [2] - 11:12,
 107:6, 107:15             85:14, 89:6, 93:5          56:8, 56:9, 56:10,          67:24, 67:25, 74:3,       112:17
nephews [1] - 108:9       numerous [1] - 49:21        58:7, 59:18, 62:5,          76:24, 78:24, 80:11,     outcome [1] - 85:23
nervous [1] - 105:9       NW [2] - 2:4, 118:15        62:7, 62:21, 62:22,         80:17, 84:13, 89:4,      outset [2] - 17:22,
never [17] - 19:3,                                    69:17, 69:20, 70:4,         92:15, 92:24, 96:15,      45:16
                                                                                  101:25, 102:1,
 21:15, 21:20, 21:23,                O                72:9, 72:10, 72:13,                                  outside [3] - 86:12,
 29:20, 45:3, 45:8,                                   72:15, 72:25, 73:25,        106:11, 106:12,           91:1, 118:3
 54:12, 58:19, 77:10,     oath [2] - 63:21, 95:12     74:14, 79:7, 80:5,          106:18, 109:1,           outsized [1] - 22:24
 85:6, 106:15,            object [3] - 86:3, 86:7,    80:6, 80:13, 81:14,         115:24                   overall [1] - 30:10
 107:20, 107:21,           111:23                     82:21, 86:11, 92:21,       one-count [1] - 4:6       overarching [2] - 15:3,
 107:23, 109:25           objected [2] - 14:1,        92:23, 93:1, 98:7,         one-level [1] - 80:11      17:22
new [1] - 69:11            71:8                       113:2, 113:7,              ones [3] - 30:11,         overlap [1] - 13:16
New [2] - 43:14, 43:17    objection [8] - 9:4,        113:12, 113:16,             55:17, 111:16            overruled [3] - 31:23,
news [1] - 27:4            27:1, 31:23, 37:3,         113:22, 114:21,            operating [2] - 23:19,     37:4, 46:2
nickname [1] - 25:3        46:2, 73:21, 84:9,         115:1                       46:12                    overseeing [1] - 22:25
nieces [1] - 108:9         120:20                    offered [2] - 41:3, 86:3    operation [9] - 20:2,     own [20] - 18:19,
night [1] - 108:3         objections [8] - 5:18,     offering [1] - 42:22         20:13, 20:14, 20:15,      18:21, 20:13, 20:15,
nine [1] - 109:7           5:20, 7:24, 8:12,         offers [2] - 27:5, 32:1      32:23, 37:11, 46:14,      20:16, 21:6, 21:24,
non [1] - 69:12            8:14, 11:1, 80:18,        office [12] - 3:15, 4:13,    50:10, 116:4              22:1, 22:3, 28:8,
nonconservative [1] -      119:24                     72:11, 90:3, 90:10,        operations [2] - 37:18,    28:24, 30:12, 30:13,
 88:18                    obligation [1] - 118:18     92:24, 116:22,              115:10                    31:6, 37:11, 45:25,
none [3] - 18:2, 49:19,   obligations [1] -           117:14, 117:22,            opportunity [1] -          46:6, 47:6, 50:14
 95:3                      118:13                     118:6, 118:19,              110:19                   owned [2] - 18:19,
Note [2] - 56:17, 59:24   obstruct [2] - 55:10,       118:23                     opposed [4] - 7:4,         29:19
note [7] - 32:8, 56:17,    56:5                      Office [1] - 4:1             42:2, 61:2, 69:4         owner [1] - 55:7
 60:6, 70:1, 71:12,       obstructed [3] -           office's [2] - 9:16,        option [1] - 62:3         ownership [1] - 84:5
 71:13, 120:14             10:17, 52:2, 56:4          72:14                      Options [1] - 117:15      owning [1] - 23:7
notebooks [1] -           obstruction [17] -         OFFICER [1] - 3:24          order [22] - 39:12,
                           51:4, 51:25, 52:8,        officer [8] - 10:10,         39:20, 62:4, 72:23,
 112:11
                                                      38:16, 38:20, 39:19,        80:25, 81:1, 81:3,
                                                                                                                      P
noted [5] - 16:23,         52:13, 52:19, 55:16,
 17:8, 80:19, 107:13,      56:1, 56:20, 58:7,         43:5, 44:2, 44:11,          84:11, 84:15, 84:16,     p.m [1] - 121:12
 119:25                    58:12, 58:22, 59:18,       79:24                       88:25, 89:1, 89:11,      Pablo [2] - 106:23,
notes [4] - 52:8, 88:4,    59:19, 64:5, 64:7,        Officer [1] - 3:25           89:14, 89:18,             106:25
 88:9, 121:16              68:23, 79:24              officers [4] - 38:25,        109:10, 115:18,          package [1] - 19:19
nothing [4] - 40:1,       obstructive [3] - 56:7,     39:15, 43:21, 44:19         118:8, 118:12,           packed [2] - 20:8,
 58:18, 69:18, 111:1       94:4, 95:7                Official [1] - 2:13          118:20, 118:24,           20:18
notice [3] - 104:3,       obtain [2] - 26:6, 27:6    official [5] - 44:25,        120:15                   page [1] - 15:17
         Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 136 of 142                                                            15



pages [4] - 45:12,          pattern [1] - 98:7        persuasive [2] -            69:19, 95:9               preferred [1] - 25:16
 45:16, 45:21, 57:12        pay [6] - 44:19, 45:6,     37:20, 59:12              pleadings [2] - 11:6,      preliminary [7] - 81:3,
paid [5] - 20:19, 44:4,      45:15, 84:23, 117:9,     pertinent [2] - 36:23,      103:2                      84:11, 84:12, 84:16,
 45:4, 45:18, 118:18         118:10                    50:21                     pleads [1] - 68:20          88:25, 89:14, 118:12
painstaking [2] -           payable [1] - 118:13      phone [4] - 25:24,         pleasure [1] - 55:23       preparatory [1] - 90:9
 19:17, 30:14               paying [7] - 39:4,         27:1, 27:19, 37:16        pled [3] - 108:11,         prepared [3] - 12:1,
painted [1] - 98:15          39:8, 39:12, 41:25,      photocopied [1] -           110:22, 111:1              30:4, 110:17
pandemic [1] - 108:16        45:23, 102:22,            121:18                    plethora [1] - 27:11       preparing [1] - 61:13
papers [2] - 57:3,           108:13                   physical [2] - 48:8,       plus [3] - 4:22, 46:15,    preponderance [13] -
 63:22                      payments [4] - 23:3,       58:7                       49:14                      15:14, 15:20, 15:24,
paperwork [2] - 37:25,       30:1, 30:9, 45:5         pick [1] - 48:2            point [32] - 10:7,          16:5, 16:7, 16:10,
 67:14                      pending [2] - 14:8,       picked [1] - 94:13          10:11, 10:15, 10:17,       16:24, 17:4, 37:5,
parables [1] - 103:20        116:21                   picture [1] - 98:15         10:20, 10:23, 11:13,       44:22, 50:12, 61:1,
paragraph [3] - 74:22,      Pennsylvania [1] - 2:4    pictures [2] - 85:9,        13:11, 39:21, 44:5,        79:21
 78:11, 83:1                people [34] - 6:15,        85:10                      52:24, 60:5, 64:10,       presence [1] - 27:25
part [17] - 16:22, 18:5,     6:17, 18:20, 28:4,       pieces [2] - 13:8,          67:5, 70:21, 73:14,       PRESENT [1] - 2:7
 32:14, 36:23, 41:7,         29:2, 36:11, 44:1,        78:24                      73:17, 74:5, 74:7,        present [7] - 44:1,
 50:22, 55:3, 57:6,          46:15, 46:17, 46:18,     pillar [2] - 106:1          74:8, 74:21, 78:18,        57:6, 65:18, 77:11,
 57:8, 59:13, 82:2,          46:20, 46:22, 47:4,      Pinedo [25] - 5:4,          80:2, 80:12, 83:1,         79:8, 79:9, 92:20
 90:1, 98:7, 99:2,           47:13, 47:15, 48:9,       18:14, 19:5, 19:17,        85:16, 90:9, 90:16,       presentation [5] -
 102:21, 104:6, 111:9        48:24, 49:16, 52:25,      20:1, 20:6, 21:9,          94:5, 96:21, 101:25,       12:1, 12:2, 52:10,
Part [1] - 117:14            53:3, 53:19, 61:20,       21:12, 22:1, 28:21,        102:1                      59:14, 81:19
partially [1] - 90:24        65:9, 73:19, 93:1,        32:22, 34:4, 41:18,       pointed [4] - 53:3,        presented [16] - 7:17,
participants [5] -           98:1, 102:3, 102:4,       44:23, 45:17, 45:22,       64:15, 72:2, 116:18        8:5, 9:8, 18:12, 27:9,
 10:14, 48:15, 49:25,        107:7, 111:5, 115:9       45:24, 49:16, 50:1,       pointer [1] - 57:1          42:16, 52:12, 58:19,
 50:16, 80:8                per [7] - 33:4, 33:24,     56:25, 57:2, 57:16,       points [3] - 11:19,         59:13, 63:16, 65:2,
participating [1] -          82:11, 87:12, 87:23,      89:3, 114:4                73:16, 75:22               68:4, 71:7, 81:10,
 40:10                       88:19, 89:4              Pinedo's [5] - 19:14,      policy [2] - 60:11,         112:10
particular [14] - 36:10,    percentage [1] - 23:23     19:16, 21:7, 33:10,        113:10                    presentence [15] -
 36:13, 53:15, 58:10,       perception [1] - 53:12     33:21                     Port [1] - 24:22            4:12, 5:19, 7:16, 8:2,
 60:6, 66:8, 75:3,          perfectly [1] - 63:17     plain [2] - 35:16, 75:6    port [3] - 13:5, 25:6,      8:10, 8:24, 9:5, 14:2,
 85:1, 87:5, 90:17,         perhaps [4] - 21:23,      plan [1] - 71:23            97:15                      31:15, 36:25, 48:17,
 92:5, 97:8, 99:11,          59:10, 65:8, 73:19       plane [12] - 25:20,        portion [1] - 87:19         56:20, 117:15,
 102:18                     period [15] - 6:2,         34:17, 35:17, 35:24,      portions [2] - 5:18, 9:5    118:19, 118:23
particularly [6] -           19:24, 22:9, 23:12,       36:1, 37:4, 37:6,         ports [1] - 39:4           presenting [1] - 73:1
 29:23, 32:22, 39:22,        23:20, 24:24, 25:22,      37:9, 37:12, 37:24,       position [10] - 32:7,      presents [1] - 64:1
 50:2, 57:22, 58:19          28:14, 34:1, 50:4,        38:2, 38:8                 60:25, 63:23, 68:7,       preservation [1] - 61:6
parties [16] - 3:7, 9:14,    83:5, 83:17, 96:15,      planes [9] - 26:1, 35:1,    72:18, 91:13, 94:25,      preserve [1] - 35:14
 9:15, 9:25, 10:3,           113:25, 116:9             35:23, 36:5, 36:6,         95:14, 100:20,            presided [1] - 4:25
 11:2, 11:20, 11:25,        permission [1] -           37:11, 37:15, 37:18,       103:21                    President [1] - 43:20
 12:3, 51:2, 56:1,           119:21                    38:7                      possess [1] - 117:20       pretended [1] - 53:2
 60:16, 80:25, 81:6,        permit [1] - 17:11        planning [1] - 116:24      possible [3] - 11:4,       pretrial [1] - 60:22
 87:2, 90:1                 permitted [1] - 119:17    plausible [1] - 57:22       88:20, 102:13             pretty [2] - 23:6,
partner [6] - 39:2,         person [20] - 25:3,       play [1] - 53:23           possibly [1] - 96:4         114:18
 41:23, 42:2, 42:6,          27:19, 34:22, 35:23,     playing [3] - 53:21,       post [5] - 26:15,          previously [2] - 27:4,
 42:7, 45:8                  39:3, 42:4, 44:23,        54:3, 98:17                68:11, 68:24, 99:13,       107:19
partnered [1] - 33:14        45:6, 46:25, 55:6,       plays [1] - 69:3            101:8                     pricing [1] - 23:1
partnering [1] - 39:6        98:19, 98:21,            plea [20] - 4:5, 7:15,     post-evidentiary [1] -     primarily [2] - 30:16,
partners [4] - 12:20,        105:23, 106:3,            9:8, 32:1, 32:15,          26:15                      34:14
 39:7, 39:8, 42:2            107:7, 108:6, 113:2       60:12, 60:14, 60:17,      post-plea [3] - 68:11,     principal [1] - 32:1
partnership [3] - 39:3,     personal [3] - 18:24,      62:19, 65:21, 68:11,       99:13, 101:8              priors [1] - 24:4
 39:9, 47:10                 43:3, 109:8               68:24, 76:19, 95:18,      potential [1] - 27:13      prison [9] - 28:10,
parts [2] - 51:18,          personally [6] - 12:17,    99:13, 101:8, 114:2,      potentially [1] - 49:25     28:12, 61:19, 91:1,
 74:24                       19:21, 24:25, 42:12,      119:3, 119:5              precedent [1] - 58:11       96:12, 101:18,
party [2] - 39:8,            43:24, 100:10            plead [3] - 62:4, 65:21    precisely [5] - 34:6,       108:18, 111:9,
 121:19                     personnel [2] - 20:20,    pleaded [5] - 61:15,        42:8, 58:5, 88:4,          111:11
pass [1] - 21:18             23:4                      61:23, 68:11, 83:5,        88:7                      Prisons [4] - 117:7,
passed [1] - 89:8           persons [2] - 26:7,        95:13                     prefer [3] - 11:25,         120:12, 120:25,
passports [1] - 28:5         49:20                    pleading [6] - 62:3,        12:5, 105:15               121:4
path [1] - 101:11           persuade [1] - 16:13       65:19, 66:24, 68:14,      preference [1] - 12:3      privy [1] - 21:22
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 137 of 142                                                           16



probable [1] - 17:15        100:15                   puzzling [1] - 121:4       ran [3] - 20:14, 23:17,   receive [7] - 30:8,
Probation [2] - 2:7,       protection [1] -                                      46:14                     47:14, 51:12, 75:1,
 4:1                        114:12                              Q               range [25] - 5:23,         75:3, 75:9, 78:13
PROBATION [1] - 3:24       prove [5] - 17:7,                                     13:12, 13:16, 69:4,      received [12] - 4:20,
probation [14] - 3:25,      59:11, 61:1, 62:13,      qua [1] - 69:12             80:15, 80:16, 88:19,      14:19, 26:4, 30:1,
 4:13, 9:16, 72:11,         83:22                    qualified [1] - 75:6        90:14, 90:18, 91:7,       30:2, 30:3, 30:6,
 72:14, 90:3, 90:10,       proved [2] - 16:5,        qualifies [1] - 50:9        91:8, 91:17, 92:19,       58:14, 76:8, 94:25,
 92:24, 116:22,             50:12                    qualify [2] - 74:20,        93:17, 94:20, 95:2,       101:18, 119:14
 117:14, 117:22,           proven [1] - 37:4          76:6                       96:19, 99:14,            receives [2] - 93:4,
 118:6, 118:19,            provide [5] - 31:25,      qualifying [3] - 74:5,      101:20, 115:23,           98:5
 118:22                     75:23, 102:14,            74:7, 80:2                 116:8, 116:25,           receiving [1] - 31:1
probation's [1] - 48:19     113:6, 113:16            quantities [10] - 29:1,     117:2, 119:12            recent [1] - 28:1
probative [1] - 29:23      provided [7] - 17:14,      29:2, 29:3, 29:4,         ranging [1] - 89:4        recently [1] - 109:1
problem [3] - 40:12,        20:25, 40:9, 47:20,       34:6, 113:3, 113:24,      rate [1] - 87:12          recess [1] - 79:17
 61:22, 108:6               55:8, 112:12, 116:1       115:10                    rather [1] - 32:11        recidivism [1] - 110:1
problems [1] - 43:7        provides [12] - 32:20,    quantity [16] - 10:3,      RAUL [1] - 1:5            recognize [1] - 16:17
procedural [1] - 104:3      35:10, 36:18, 44:10,      12:10, 12:11, 14:2,       Raul [7] - 3:3, 3:19,     recognizes [1] - 16:10
proceed [3] - 5:15,         48:13, 50:21, 56:3,       14:22, 15:11, 31:12,       4:4, 14:24, 105:4,       recollection [3] -
 5:16, 6:10                 60:1, 69:6, 69:12,        60:6, 60:7, 60:9,          105:20, 117:6             27:17, 27:20, 99:20
proceeding [2] -            72:8, 92:16               62:9, 63:9, 63:19,        re [1] - 16:1             recommendation [11]
 56:16, 121:12             providing [1] - 28:13      91:23, 92:4, 93:9         reached [1] - 25:19        - 4:13, 13:19, 31:18,
proceedings [5] -          proving [2] - 17:4,       questionable [3] -         reactivation [1] - 21:3    37:1, 44:14, 48:19,
 65:5, 118:2, 118:22,       79:21                     55:1, 59:9                read [6] - 8:9, 36:3,      72:14, 90:10, 91:9,
 119:4, 121:16             provision [5] - 56:3,     questions [1] - 6:9         57:9, 70:1, 78:10,        120:4, 120:11
Proceedings [1] -           74:19, 75:6, 97:2,       quibble [1] - 22:22         114:18                   recommendations [1]
 2:14                       104:2                    quickly [3] - 7:10,        reading [3] - 35:16,       - 90:2
proceeds [4] - 20:7,       provisional [1] -          79:16, 105:1               39:22, 110:18            recommended [3] -
 20:10, 30:22, 86:9         120:23                   Quigley [1] - 49:12        ready [2] - 79:18, 81:4    90:3, 90:4, 117:14
process [4] - 16:4,        provisions [3] - 92:15,   quite [10] - 24:10,        really [23] - 36:14,      recommends [3] -
 62:16, 67:22, 67:25        103:9, 117:4              25:18, 25:25, 33:21,       46:12, 53:22, 54:6,       31:15, 116:9, 116:23
procured [1] - 42:14       prudent [1] - 52:17        57:24, 60:20, 85:12,       66:2, 79:14, 82:16,      record [15] - 3:4, 3:8,
produce [1] - 56:14        PSR [8] - 8:15, 13:19,     88:9, 105:1, 115:19        84:19, 85:12, 86:16,      18:25, 36:14, 44:20,
produced [4] - 2:15,        31:18, 36:24, 44:12,     quote [6] - 12:20,          92:3, 92:5, 99:12,        47:21, 56:15, 78:21,
 54:18, 57:11, 86:5         44:13, 48:17, 83:1        36:19, 43:23, 48:14,       100:7, 101:8, 106:5,      78:22, 80:19, 93:10,
produces [1] - 80:14       public [3] - 47:20,        56:3, 72:8                 106:19, 107:4,            103:18, 103:24,
producing [1] - 56:14       113:8, 115:6             quoting [1] - 49:11         107:7, 107:8, 107:9,      119:25, 121:2
promise [1] - 43:1         publicly [1] - 66:5                                   107:10                   recorded [4] - 25:23,
promote [2] - 113:5,       pull [1] - 7:1                       R               reason [7] - 11:12,        34:15, 37:16, 37:21
 113:9                     punishment [1] -                                      27:5, 31:9, 34:24,       records [2] - 113:15,
prompted [1] - 26:12        113:6                    rage [1] - 70:18            59:2, 84:25, 110:2        115:21
prong [2] - 53:15, 54:1    purchase [3] - 20:22,     rails [2] - 61:23, 62:1    reasonable [6] -          recount [1] - 30:14
prongs [1] - 52:1           37:24, 83:25             raise [1] - 62:25           42:17, 52:25, 61:2,      recounted [1] - 19:17
pronounce [1] - 41:19      purchased [1] - 34:18     raising [1] - 11:1          62:13, 78:11, 116:10     recounting [1] - 24:9
proof [6] - 43:23, 44:4,   purchasing [2] -          Ramirez [40] - 5:4, 5:5,   reasonably [1] - 53:5     recover [1] - 84:24
 66:19, 76:11, 77:11,       37:24, 57:13              18:15, 18:16, 22:7,       reasons [6] - 27:11,      reduced [1] - 74:1
 79:21                     purposes [4] - 112:16,     22:10, 22:23, 23:25,       73:2, 91:12, 91:15,      reduction [7] - 11:12,
                            112:18, 112:22,           24:20, 24:24, 25:2,        94:23, 101:23             11:14, 67:3, 73:10,
properly [3] - 15:23,
                            112:25                    25:7, 25:11, 25:13,       receipt [1] - 40:6         73:17, 74:21, 75:7
 82:19, 97:23
                           pursuant [6] - 10:12,      25:16, 25:19, 25:24,      receipts [32] - 39:23,    reenter [2] - 118:4,
prosecuted [2] -
                            10:21, 117:3, 119:6,      26:6, 26:9, 26:20,         39:24, 40:2, 40:7,        118:5
 65:15, 114:25
                            119:15, 120:23            27:2, 27:8, 27:11,         40:13, 40:14, 40:18,     reference [3] - 11:5,
prosecution [1] - 56:6
                           pursue [1] - 32:17         27:15, 27:20, 27:24,       40:22, 41:1, 41:2,        92:7, 102:25
prosecutorial [1] -
                           push [1] - 101:14          28:7, 33:13, 33:16,        52:12, 54:16, 54:17,     referenced [2] - 51:14,
 61:6
                           put [9] - 21:24, 59:13,    35:7, 36:6, 37:7,          55:2, 55:3, 55:6,         103:2
prosecutors [1] -
                            61:16, 62:12, 65:1,       37:8, 37:10, 37:13,        57:13, 58:24, 59:6,
 66:12                                                                                                    reflect [3] - 54:23,
                            66:16, 73:1, 85:15,       37:17, 37:22, 88:12,       59:7, 59:10, 59:12,
protect [2] - 113:8,                                                                                       97:5, 113:1
                            103:16                    114:5                      59:14, 59:17, 81:20,
 115:6                                                                                                    reflected [4] - 82:6,
                           putting [5] - 7:25,       Ramirez's [7] - 24:8,       81:24, 82:6, 82:7,
protected [2] - 23:21,                                                                                     82:7, 82:13, 96:18
                            41:10, 52:14, 63:12,      26:3, 26:11, 27:23,        83:6, 83:17, 83:19,
 48:24                                                                                                    reflects [1] - 95:2
                            66:18                     28:16, 28:20, 33:20        83:24
protecting [1] -                                                                                          Reform [1] - 117:3
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 138 of 142                                                            17



refresh [1] - 27:17        reported [2] - 2:14,       66:18, 66:23, 68:2,       6:22, 7:6, 8:11, 8:16,   Saint-Loth [2] - 2:12,
refreshed [1] - 27:21       23:5                      68:14, 68:19, 68:25,      9:22, 11:18, 12:6,        121:21
regard [2] - 17:12,        Reporter [3] - 2:12,       69:5, 69:13, 69:25,       14:1, 14:6, 14:13,       sale [1] - 20:12
 57:16                      2:13, 121:22              71:11, 71:13, 72:9,       14:15, 14:20, 41:20,     San [1] - 1:18
regarding [9] - 16:7,      reporting [1] - 118:1      72:13, 73:5, 78:6,        48:1, 79:13, 80:23,      Sanchez [3] - 28:25,
 18:18, 39:23,             represent [1] - 93:5       80:10, 94:22, 95:6,       84:12, 84:17,             57:4, 58:16
 113:21, 114:13,           representation [1] -       95:17, 95:22, 95:25,      104:13, 104:21,          SANDI [1] - 1:21
 115:8, 115:13,             59:8                      96:8, 96:18, 101:10,      104:25, 105:3,           sandirheelaw@
 115:20, 116:7             represented [2] -          101:16, 108:11,           105:9, 105:14,            gmail.com [1] - 1:24
regardless [1] - 84:22      83:25, 91:17              116:4                     106:23, 107:2,           sandy [1] - 3:19
registered [1] - 28:3      request [3] - 50:19,     responsible [16] -          107:13, 107:24,          Santiaguito [1] -
regular [1] - 108:18        89:17, 119:21             12:14, 13:13, 18:23,      108:22, 120:3,            47:17
regularly [4] - 35:12,     requesting [1] -           32:13, 39:3, 39:8,        120:6, 120:10,           Santos [2] - 21:8, 59:6
 36:21, 38:11, 38:22        103:17                    42:10, 60:8, 63:20,       120:14, 120:19,          sat [1] - 92:13
rehabilitation [1] -       requests [1] - 38:13       63:23, 85:5, 86:18,       121:5, 121:10            satisfied [4] - 8:20,
 113:9                     require [4] - 16:24,       91:24, 96:1, 101:4,     risen [1] - 41:9            16:4, 76:15, 76:23
reiterate [1] - 107:6       79:1, 79:5, 87:1          101:5                   risk [1] - 18:24           satisfies [2] - 35:8,
reiterated [1] - 95:14     requirement [2] -        rest [2] - 48:11, 61:19   Robert [1] - 3:20           36:9
reject [2] - 78:9, 87:3     35:8, 36:9              restitution [3] -         ROBERT [1] - 2:3           satisfy [4] - 44:4, 75:5,
related [6] - 30:24,       requirements [3] -         113:16, 113:17,         role [26] - 10:15,          76:1, 76:2
 45:7, 56:8, 56:9,          76:15, 76:23, 118:1       113:19                    22:14, 22:18, 22:20,     saved [3] - 69:23,
 87:5, 99:16               requires [5] - 35:17,    result [2] - 31:20,         22:21, 22:24, 23:7,       69:24
relatedly [1] - 17:19       43:23, 51:10, 67:5,       119:10                    46:6, 48:18, 48:20,      saves [1] - 104:1
relationship [2] - 49:9,    70:9                    resulted [1] - 97:3         50:11, 51:1, 51:13,      saving [1] - 69:14
 100:24                    reserve [3] - 51:17,     results [2] - 65:25,        64:24, 69:3, 75:2,       saw [2] - 19:24, 45:3
relay [1] - 70:21           51:20, 51:22              80:12                     75:4, 75:9, 75:14,
                                                                                                         scale [4] - 18:22,
release [3] - 117:11,      resolve [5] - 5:19,      retain [1] - 65:24          76:8, 78:14, 78:17,
                                                                                                          21:17, 28:13, 31:8
 118:19, 118:23             7:20, 15:10, 15:21,     retaliation [1] - 66:7      80:8, 92:2, 93:2,
                                                                                                         scared [3] - 53:7,
released [2] - 23:14,       60:20                   return [2] - 110:4,         116:3
                                                                                                          53:10, 58:10
 116:20                    resolves [3] - 51:1,       118:6                   roof [1] - 21:10
                                                                                                         scenario [1] - 47:9
relevant [13] - 16:18,      51:7, 51:14             returning [1] - 89:25     room [1] - 21:10
                                                                                                         scheduled [3] - 35:12,
 17:12, 56:9, 60:1,        resolving [2] - 17:10,   reveal [1] - 27:6         rough [1] - 96:13
                                                                                                          36:21, 38:11
 60:2, 62:22, 64:7,         64:21                   revealed [3] - 26:20,     round [2] - 26:12, 78:4
                                                                                                         Schofield [1] - 43:18
 72:17, 75:18, 91:4,       resources [1] - 61:7       28:6, 67:23             RPR [3] - 2:12,
                                                                                                         scope [1] - 86:12
 94:18, 97:1, 112:13       respect [41] - 22:7,     revealing [1] - 26:5        121:15, 121:21
                                                                                                         score [1] - 9:17
reliability [1] - 17:15     28:23, 31:11, 31:23,    reveals [1] - 37:22       Rule [1] - 104:1
                                                                                                         scrutinized [1] - 17:9
reliance [2] - 17:7,        38:19, 39:4, 40:1,      revelations [1] - 22:3    rule [1] - 71:9
                                                                                                         Sealed [1] - 16:1
 73:15                      51:8, 51:25, 52:4,      review [10] - 4:10,       rules [2] - 17:13, 77:1
                                                                                                         seaports [1] - 23:5
relief [4] - 50:19,         54:1, 56:6, 58:23,        13:18, 15:6, 15:7,      ruling [7] - 64:5,
                                                                                                         seat [1] - 64:17
 50:22, 51:2, 80:1          62:8, 63:8, 63:10,        26:10, 27:2, 31:22,       73:15, 78:23, 79:10,
                                                                                                         seated [3] - 6:12, 9:3,
relies [1] - 37:16          63:18, 64:5, 64:24,       37:2, 43:15, 82:14        94:16, 94:22
                                                                                                          55:22
rely [4] - 17:17, 40:22,    73:13, 73:14, 81:8,     reviewed [3] - 4:15,      rulings [2] - 64:22,
                                                                                                         second [9] - 5:21,
 40:24, 53:14               85:3, 88:5, 89:19,        37:19, 112:9              93:20
                                                                                                          7:21, 25:8, 25:10,
relying [2] - 17:3, 32:4    90:14, 90:15, 91:5,     reviewing [1] - 7:5       run [3] - 24:13,
                                                                                                          74:3, 81:8, 84:6,
remain [2] - 112:22,        91:10, 91:15, 94:16,    revising [1] - 91:9         115:14, 115:19
                                                                                                          99:15, 106:6
 118:3                      94:22, 96:22, 100:9,    revision [1] - 81:9       running [1] - 65:9
                                                                                                         secret [2] - 22:16,
remember [2] - 43:6,        102:1, 109:15,          rf@rfeitellaw.com [1]     runs [4] - 24:4, 24:12,
                                                                                                          103:14
 71:1                       110:21, 113:6,            - 2:5                     24:20
                                                                                                         section [1] - 59:25
remind [2] - 27:4,          113:17, 116:13          Rhee [25] - 3:19, 5:10,                              Section [29] - 10:9,
 112:17                    respond [3] - 78:20,       6:14, 8:9, 11:17,                  S                10:16, 10:19, 10:21,
repeat [1] - 111:25         103:7, 111:20             13:25, 14:9, 41:19,                                 10:24, 15:19, 18:9,
                           response [2] - 26:15,      41:22, 44:24, 47:25,    safety [10] - 11:5,
repeatedly [1] - 28:9                                                                                     34:7, 36:18, 44:9,
                            64:16                     53:17, 55:13, 60:21,     11:16, 11:20, 50:19,
replete [1] - 19:15                                                                                       48:13, 48:20, 50:20,
                           responsibility [45] -      69:9, 80:22, 102:20,     51:2, 51:6, 57:23,
report [17] - 4:12,                                                                                       56:2, 59:19, 70:14,
                            10:20, 28:8, 32:16,       103:25, 104:7,           75:20, 79:25
 5:19, 7:16, 8:2, 8:10,                                                                                   72:7, 77:10, 78:12,
                            59:14, 59:22, 59:24,      104:9, 105:7,           SAINT [1] - 121:15
 8:25, 9:5, 14:3,                                                                                         80:5, 80:8, 80:10,
                            60:4, 60:18, 61:17,       107:12, 112:4,          Saint [2] - 2:12,
 31:15, 36:25, 48:17,                                                                                     92:15, 96:22,
                            62:17, 62:18, 62:20,      120:2, 121:9             121:21
 56:21, 117:15,                                                                                           112:13, 117:4,
                            64:4, 64:8, 65:6,       RHEE [41] - 1:21, 3:18,   SAINT-LOTH [1] -
 117:24, 118:5,                                                                                           117:10, 119:6,
 118:20, 118:23             65:23, 65:24, 66:10,      5:11, 6:13, 6:15,        121:15
                                                                                                          119:15
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 139 of 142                                                            18



Sections [1] - 4:9          5:15, 5:23, 6:6, 6:18,    40:14, 42:7, 89:5        slaughter [1] - 44:24       102:23, 106:2
security [5] - 20:19,       9:1, 9:6, 9:9, 16:5,     shipped [2] - 50:6,       small [4] - 28:25, 29:1,   special [3] - 80:16,
 23:4, 28:10, 108:18,       16:8, 16:25, 17:11,       114:23                    29:3, 65:6                 117:9, 117:23
 111:11                     17:20, 18:3, 22:12,      shipping [3] - 24:14,     small-time [1] - 65:6      Special [3] - 2:8, 2:9,
see [22] - 15:15, 15:17,    26:8, 27:7, 27:10,        50:6, 115:10             smaller [2] - 65:10,        5:5
 15:18, 15:21, 15:24,       32:8, 32:19, 50:25,      shook [1] - 58:9           65:11                     specific [13] - 5:24,
 15:25, 16:2, 16:19,        52:3, 55:13, 56:6,       short [3] - 19:15,        Smith [3] - 116:22,         10:8, 31:25, 34:17,
 16:22, 16:25, 17:15,       58:2, 61:2, 63:13,        29:12, 79:14              116:23, 117:1              38:3, 42:1, 44:14,
 49:3, 49:10, 54:6,         66:1, 66:19, 67:18,      shorthand [1] - 2:14      smuggle [2] - 38:7,         46:16, 46:20, 47:23,
 56:16, 57:23, 77:23,       68:17, 69:11, 70:16,     shot [1] - 37:14           41:5                       72:25, 115:13, 116:1
 86:24, 89:15, 93:1,        70:18, 71:6, 80:15,      shoulders [1] - 59:15     smuggled [2] - 57:14,      specifically [21] -
 104:23, 107:14             90:2, 92:13, 95:20,      show [2] - 7:11,           59:4                       12:16, 31:10, 38:23,
seek [1] - 81:15            102:2, 103:17,            107:17                   smuggler [1] - 115:4        39:1, 42:18, 47:15,
seem [1] - 111:4            104:8, 111:3, 112:7,     showed [1] - 47:13        smuggling [9] - 12:20,      49:13, 49:16, 49:18,
seemingly [1] - 28:11       112:16, 112:18,          shows [1] - 27:2           19:12, 41:4, 41:7,         51:10, 52:1, 52:4,
sees [1] - 91:1             112:23, 112:25,          sic [1] - 116:8            55:4, 59:1, 82:17,         60:5, 62:2, 64:2,
seize [3] - 25:14,          115:8, 117:5,            side [5] - 9:4, 12:21,     82:18, 98:23               65:3, 68:3, 72:17,
 33:17                      119:11, 119:14            98:10, 98:17             sober [1] - 112:19          79:3, 88:5, 88:23
seized [2] - 13:5,         SENTENCING [1] -          signatory [1] - 121:19    SOC [4] - 10:8, 10:12,     spend [4] - 54:15,
 33:18                      1:7                      significant [4] - 96:3,    37:2, 44:21                61:19, 110:12,
sell [3] - 34:16, 98:10,   separate [3] - 76:23,      97:3, 114:7, 118:8       soccer [7] - 21:9,          111:14
 98:18                      77:25, 89:20             significantly [1] -        29:17, 34:20, 59:3,       split [1] - 16:23
selling [2] - 28:25,       separately [1] - 11:24     29:25                     98:17, 98:18, 98:19       spy [1] - 97:15
 98:20                     separation [1] -          silent [2] - 63:11,       social [1] - 23:17         squarely [1] - 59:15
send [1] - 33:25            109:10                    103:22                   sole [1] - 71:10           St [1] - 1:22
sense [8] - 49:9,          September [4] - 4:18,     similar [5] - 96:22,      soliciting [1] - 26:24     stand [11] - 5:13, 8:18,
 50:13, 85:13, 85:18,       9:9, 45:12, 81:4          113:15, 115:21,          someone [5] - 24:17,        28:13, 43:11, 52:6,
 89:15, 97:20,             serious [1] - 96:1         115:22                    41:21, 54:13,              57:18, 61:18, 70:20,
 101:18, 102:17            seriously [1] - 115:12    similarly [2] - 21:10,     103:24, 108:5              95:8, 103:22, 109:23
sent [3] - 24:5, 30:17,    seriousness [2] -          34:3                     sometimes [2] -            standard [15] - 15:5,
 116:21                     73:8, 113:1              simple [1] - 106:3         18:23, 111:3               15:6, 15:8, 15:12,
sentence [42] - 6:7,       serve [1] - 66:14         simply [4] - 18:6,        somewhat [5] - 23:21,       15:18, 15:20, 15:24,
 6:8, 16:19, 69:4,         services [2] - 39:17       37:19, 45:10, 111:5       58:2, 58:9, 88:3,          16:7, 16:8, 16:9,
 85:3, 91:9, 92:12,        set [5] - 8:1, 8:14,      Sinaloa [11] - 20:14,      114:16                     16:11, 16:12, 16:24,
 93:3, 95:19, 96:2,         74:19, 89:13, 112:13      23:17, 23:18, 23:22,     son [3] - 43:19, 47:22,     42:9
 96:4, 96:19, 96:20,       sets [1] - 59:24           23:24, 46:12, 48:24,      57:5                      standing [4] - 101:17,
 97:2, 97:4, 99:9,         setting [2] - 8:12,        65:9, 100:18, 114:7,     soon [2] - 52:5, 106:5      103:25, 113:2,
 99:10, 100:1, 100:3,       58:11                     114:10                   sorry [5] - 6:13, 44:24,    114:19
 101:24, 102:5,            settled [2] - 15:18,      sine [1] - 69:12           79:13, 101:25,            stands [1] - 116:5
 102:14, 110:7,             16:6                     single [1] - 64:14         116:16                    start [5] - 3:8, 9:13,
 110:8, 110:16,            seven [3] - 9:25,         Sinuhe [19] - 5:5,        sort [10] - 7:22, 15:2,     12:8, 12:10, 90:7
 112:5, 112:6,              10:22, 11:19              18:16, 18:17, 21:8,       28:18, 29:21, 43:9,       started [2] - 20:13,
 112:14, 113:1,            several [2] - 5:2,         21:11, 28:23, 29:3,       49:8, 62:25, 68:8,         64:17
 113:7, 113:14,             109:10                    29:13, 29:25, 30:4,       103:19, 110:3             starting [5] - 4:12,
 115:5, 115:20,            severe [1] - 119:11        31:3, 33:23, 47:4,       sought [1] - 26:21          7:23, 19:5, 21:1,
 115:22, 116:9,            shaking [1] - 64:22        49:21, 57:4, 58:14,      soul [1] - 44:6             22:15
 116:25, 117:1,            shall [6] - 117:12,        58:17, 83:13, 114:5      sound [1] - 85:14          state [1] - 117:19
 118:25, 119:7,             117:23, 118:16,          Sinuhe's [3] - 28:24,     sounds [2] - 11:3,         statement [10] - 13:12,
 119:9, 119:13,             118:19, 118:23,           29:9, 29:11               41:24                      32:15, 47:21, 76:18,
 119:16                     121:18                   sip [1] - 74:11           source [1] - 21:1           82:13, 83:20, 88:23,
sentenced [5] - 90:21,     shared [1] - 27:8         sit [4] - 36:16, 44:7,    South [1] - 20:21           105:13, 110:17,
 94:20, 95:3, 101:17,      shares [1] - 107:8         61:25, 72:5              Southern [6] - 3:16,        114:1
 116:6                     SHERRY [1] - 2:7          sitting [3] - 64:13,       43:13, 43:16, 120:6,      statements [6] - 7:25,
sentences [3] - 99:17,     Sherry [1] - 3:25          94:7, 95:8                120:9, 120:13              8:1, 8:14, 29:22,
 113:13, 116:7             shielded [1] - 66:20      situation [2] - 73:19,    Spanish [6] - 2:10,         111:21, 113:11
Sentencing [2] -           shipment [7] - 24:18,      99:10                     2:10, 40:4, 40:5,         STATES [4] - 1:1, 1:3,
 117:3, 117:15              25:1, 25:8, 25:10,       six [6] - 10:19, 46:19,    105:15, 105:18             1:8, 1:11
sentencing [59] - 3:23,     25:14, 33:19, 36:1        47:13, 59:21, 111:9,     spared [2] - 60:18,        States [22] - 3:3, 3:12,
 4:4, 4:11, 4:13, 4:15,    shipments [8] - 24:5,      116:23                    60:20                      4:8, 7:10, 13:2, 21:2,
 4:17, 4:20, 5:14,          24:15, 24:21, 25:5,      skills [1] - 109:16       speaking [3] - 27:3,        34:1, 40:17, 43:14,
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 140 of 142                                                             19



 84:3, 88:1, 88:7,         subparts [1] - 74:14       supports [3] - 14:10,       19:9, 19:25, 20:6,        60:24, 61:10, 61:20,
 88:22, 108:23,            subsections [1] - 79:9      58:20, 99:14               20:16, 21:4, 22:11,       61:25, 62:12, 62:24,
 108:24, 110:24,           substance [6] - 35:13,     supposed [1] - 83:8         23:25, 25:16, 25:19,      63:3, 63:6, 65:8,
 113:25, 114:16,            36:20, 36:23, 38:10,      supposedly [1] - 36:5       28:23, 29:20, 32:22,      66:11, 67:4, 67:10,
 118:3, 118:4, 118:5,       38:14, 117:20             Supreme [2] - 15:25,        33:23, 37:7, 37:10,       67:13, 67:20, 68:6,
 118:11                    substantial [1] - 60:15     16:15                      37:14, 44:23, 45:22,      68:22, 69:9, 70:3,
stating [2] - 16:3,        substantially [2] -        surprise [2] - 21:20,       49:16, 49:21, 57:17,      70:7, 70:9, 71:23,
 16:22                      92:21, 92:22               30:3                       58:14, 59:6, 88:20        71:25, 72:7, 73:18,
status [1] - 116:19        subtle [1] - 58:2          surprised [1] - 89:15     testify [6] - 30:4,         73:24, 74:7, 75:8,
statute [7] - 50:20,       successfully [3] -         surprising [1] - 50:2       30:25, 31:3, 57:5,        75:13, 76:4, 76:7,
 50:21, 75:25, 84:21,       24:13, 32:6, 59:7         surprisingly [1] -          58:17, 105:10             76:17, 77:7, 77:19,
 102:12, 119:17            sufficient [10] - 17:14,    26:14                    testifying [6] - 30:2,      77:23, 78:3, 79:11,
statutory [3] - 76:15,      45:11, 58:13, 62:6,       surrounded [1] -            53:8, 53:10, 57:19,       79:15, 79:18, 80:22,
 78:9, 119:7                63:16, 76:19, 86:25,       110:5                      58:1, 105:12              80:24, 81:12, 81:18,
stay [2] - 68:18, 68:21     92:1, 94:17, 112:15       sustained [1] - 79:20     testimony [58] - 5:2,       81:24, 82:6, 82:15,
steal [3] - 25:8, 25:13,   sufficiently [2] -         sword [1] - 54:21           12:13, 12:15, 12:18,      82:24, 83:8, 84:6,
 33:18                      44:20, 89:7               swore [1] - 63:21           12:19, 13:3, 14:9,        84:9, 84:14, 84:18,
stenographic [1] -         suggest [4] - 34:21,       sworn [1] - 3:5             14:11, 14:23, 17:8,       85:9, 86:1, 87:8,
 121:16                     40:9, 40:21, 86:8                                     18:2, 19:14, 19:16,       87:20, 88:11, 88:16,
                                                      sympathetic [1] -
step [10] - 5:16, 5:21,    suggested [3] - 34:19,                                 23:19, 24:8, 25:18,       88:24, 89:13, 89:22,
                                                       72:22
 6:3, 6:7, 9:10, 62:8,      45:8, 69:16                                           26:25, 27:23, 28:12,      89:25, 90:12, 90:24,
                                                      system [3] - 66:12,
 85:22, 105:6,             suggesting [1] - 15:6                                  28:13, 28:16, 28:20,      93:10, 95:23, 99:15,
                                                       69:6, 100:21
 110:20, 112:4             suggestion [1] - 18:25                                 28:21, 29:12, 29:14,      99:19, 99:24, 100:6,
stepfather [8] - 28:24,                                                           29:15, 32:4, 33:10,       101:22, 102:19,
                           suggests [2] - 33:2,                  T                33:12, 33:20, 33:22,      103:8, 104:1, 104:9,
 29:6, 30:15, 30:21,        38:6
 31:2, 31:3, 57:4,                                    table [3] - 3:12, 3:20,     34:5, 35:6, 36:8,         104:20, 104:23,
                           suitcases [1] - 20:18
 58:15                                                  94:8                      37:8, 38:21, 39:5,        105:1, 105:5, 105:7,
                           Suite [1] - 1:22
steps [2] - 5:16, 7:21                                                            39:10, 41:23, 42:20,      105:12, 105:16,
                           sum [1] - 79:19            tack [2] - 66:8, 73:20
stick [2] - 54:4, 94:11                                                           45:24, 46:16, 46:18,      105:17, 105:18,
                           summarized [1] -           tactical [1] - 71:4
sticking [1] - 56:25                                                              62:25, 63:16, 71:7,       106:11, 106:21,
                            12:22                     tank [2] - 12:22, 20:3
still [6] - 55:12, 57:7,                                                          81:23, 82:2, 83:10,       106:25, 107:3,
                           summarizing [1] -          tanker [5] - 32:23,
 65:6, 101:1, 101:3                                                               87:25, 88:7, 89:21,       107:11, 107:23,
                            14:23                       33:4, 33:5, 39:5,
                                                                                  97:9, 97:13, 97:16,       108:20, 110:19,
stipulated [1] - 13:17     super [1] - 108:19           47:9
                                                                                  98:15, 112:8, 115:3       110:21, 111:18,
stolen [2] - 25:7,         superior [1] - 49:10       tankers [2] - 33:1,
                                                                                testing [1] - 63:25         111:24, 112:3,
 25:17                     supervised [4] -             39:6
                                                                                Texas [2] - 65:15, 84:4     116:14, 116:16,
stop [1] - 84:6             49:14, 49:25, 50:8,       tanks [9] - 19:20,
                                                                                text [6] - 31:2, 48:8,      120:2, 120:4, 120:8,
strategy [1] - 95:9         117:11                      19:22, 19:23, 19:24,
                                                                                  58:14, 58:16, 58:18,      120:11, 120:17,
Street [2] - 1:13, 1:18    supervision [3] - 49:8,      30:18, 33:5, 33:7,
                                                                                  75:6                      120:20, 121:3,
stressed [1] - 111:4        117:12, 117:17              34:3
                                                                                THE [174] - 1:1, 1:8,       121:6, 121:9, 121:11
strict [1] - 77:1          supervisor [2] - 49:2,     tape [1] - 58:4
                                                                                  1:11, 1:21, 2:2, 3:2,    themselves [3] -
strictly [1] - 75:16        50:24                     task [1] - 73:1
                                                                                  3:17, 3:21, 4:2, 5:9,     18:24, 31:6, 86:13
strike [1] - 26:13         supplement [1] - 8:4       teaches [2] - 106:12,
                                                                                  5:12, 6:11, 6:12,        theory [3] - 38:1, 41:3,
striking [1] - 28:9        supplemental [5] -           106:13
                                                                                  6:14, 6:20, 7:1, 7:13,    53:9
stroking [1] - 94:8         4:16, 4:22, 4:24,         team [1] - 29:17
                                                                                  8:4, 8:8, 8:12, 8:17,    therefore [5] - 10:4,
strong [1] - 17:21          32:19, 112:10             ten [4] - 74:13, 74:18,
                                                                                  8:22, 8:23, 9:2, 9:3,     75:4, 76:11, 80:3,
strongly [1] - 40:20       supplemented [1] -           74:24, 79:16
                                                                                  9:21, 9:23, 11:7,         99:3
structure [1] - 79:7        9:7                       ten-minute [1] - 79:16
                                                                                  11:9, 11:15, 11:22,      thinking [2] - 37:23,
stuck [1] - 94:14          support [20] - 7:11,       tend [1] - 31:9
                                                                                  12:7, 13:18, 13:24,       71:1
study [1] - 106:16          7:15, 7:17, 16:14,        term [2] - 117:8,
                                                                                  14:4, 14:7, 14:14,       thinks [1] - 65:6
stuff [1] - 26:24           17:15, 28:22, 32:1,         117:11
                                                                                  14:17, 14:25, 35:2,      third [8] - 6:3, 26:6,
subject [2] - 63:14,        32:15, 34:6, 44:21,       terminology [1] -
                                                                                  35:21, 36:12, 36:17,      67:5, 67:9, 73:14,
 66:7                       45:11, 46:1, 72:23,         22:23
                                                                                  40:12, 41:17, 41:22,      73:17, 80:12, 89:25
submitted [15] - 4:16,      79:10, 79:22, 92:8,       terms [3] - 30:8,
                                                                                  42:23, 43:16, 44:8,      this.. [1] - 78:21
 4:17, 4:21, 4:22,          107:18, 108:7,              99:25, 115:17
                                                                                  47:3, 47:25, 48:12,      thousand [2] - 12:21,
 4:23, 5:1, 6:20, 6:21,     114:17                    terrible [2] - 102:8,       51:9, 51:21, 51:24,       87:24
 6:24, 8:25, 26:10,        supported [3] - 28:21,       108:13                    52:22, 53:7, 54:2,       thread [2] - 65:19,
 32:8, 55:18, 107:19,       64:7, 102:16              test [6] - 24:4, 24:11,     54:15, 54:21, 54:25,      101:12
 107:21                    supporting [4] -             24:12, 24:20, 63:13,      55:20, 55:22, 55:25,     threat [3] - 53:4, 53:5,
subparagraph [3] -          100:17, 100:19,             65:2                      57:10, 60:11, 60:14,      57:18
 75:16, 76:24, 78:2         100:20, 114:1             testified [25] - 18:3,
         Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 141 of 142                                                            20



threaten [1] - 53:25       traffic [1] - 97:10         69:24                    two-offense [5] -          underplays [1] - 22:20
threatened [1] - 56:24     trafficked [7] - 19:10,   tried [5] - 57:4, 65:23,     13:22, 44:14, 46:3,      understood [6] -
threatening [7] - 52:4,      72:19, 85:4, 93:6,        101:11, 101:12,            58:7, 72:15               34:25, 38:1, 38:7,
  56:12, 57:16, 57:24,       93:7, 96:14, 114:2        103:7                    two-point [6] - 10:7,       45:7, 57:17, 95:7
  57:25, 94:9, 94:10       trafficker [5] - 91:18,   trigger [1] - 79:6           10:11, 10:17, 10:20,     unique [1] - 92:3
threats [2] - 54:12,         91:19, 96:10, 96:12,    triggered [1] - 79:1         11:13, 74:21             UNITED [4] - 1:1, 1:3,
  68:23                      96:16                   triggering [1] - 58:12     two-year [2] - 19:24,       1:8, 1:11
three [16] - 6:18, 10:9,   traffickers [3] - 47:2,   trip [1] - 30:20             96:15                    United [22] - 3:3, 3:12,
  18:18, 31:5, 32:10,        63:1, 109:24            trouble [1] - 28:7         type [1] - 113:18           4:8, 7:10, 13:2, 21:2,
  32:21, 38:15, 46:9,      trafficking [38] -        troubling [1] - 115:17     types [2] - 113:13,         34:1, 40:17, 43:14,
  63:24, 67:3, 67:11,        18:21, 19:6, 20:2,      truckload [1] - 89:4         116:7                     84:3, 88:1, 88:7,
  73:25, 75:22, 96:13,       21:15, 22:2, 22:3,      trucks [3] - 19:13,        typical [1] - 93:3          88:22, 108:23,
  109:17, 112:8              22:8, 24:2, 28:1,         22:16, 50:7              typically [1] - 94:7        108:24, 110:24,
three-day [1] - 112:8        28:14, 30:16, 31:7,     true [8] - 35:7, 36:8,                                 113:25, 114:16,
three-level [1] - 67:3       32:23, 35:1, 37:9,        60:3, 60:7, 64:23,                  U                118:3, 118:4, 118:5,
throughout [1] - 94:5        37:11, 38:22, 40:16,      65:12, 121:15,                                       118:11
thrust [2] - 18:1, 98:8      46:10, 49:1, 50:3,        121:16                   U.S [26] - 2:7, 3:25,      universal [1] - 54:11
tied [1] - 98:1              50:9, 65:14, 72:21,     truly [2] - 69:10, 95:6     15:15, 15:22, 15:25,      unlawful [1] - 119:3
Tio [1] - 12:25              73:5, 82:21, 83:11,     truth [1] - 63:22           16:3, 16:15, 16:16,       unlawfully [6] - 36:19,
tip [2] - 54:4, 94:14        83:15, 83:18, 85:5,     try [3] - 26:16, 55:14,     16:20, 16:25, 17:5,        38:4, 38:10, 38:14,
tips [2] - 40:8, 41:7        86:6, 102:9, 103:3,       69:10                     27:16, 28:1, 28:3,         56:12, 117:20
title [1] - 22:23            103:14, 106:14,         trying [6] - 31:3, 43:8,    28:10, 30:18, 31:14,      unless [4] - 11:25,
today [2] - 9:1, 121:7       108:12, 115:3,            58:17, 62:16, 86:8        49:3, 49:10, 49:12,        36:13, 78:20, 118:4
together [1] - 108:1         115:10                  turn [5] - 34:10, 39:18,    50:6, 117:24,             unsuccessful [1] -
tongue [8] - 54:4,         traffics [2] - 85:24,       51:3, 52:17, 57:15        118:14, 119:1              71:15
  56:25, 57:2, 57:18,        91:19                   turned [1] - 64:17         U.S.C [10] - 4:9, 50:20,   unverify [1] - 55:14
  94:12, 94:14             trailers [2] - 30:17,     turning [2] - 9:23,         76:16, 77:6, 77:10,       unwarranted [4] -
tonnage [3] - 113:3,         33:25                     15:10                     112:13, 117:4,             100:1, 102:1,
  113:24, 115:10           transcript [8] - 2:15,    TVs [1] - 83:25             117:10, 119:6,             113:14, 115:20
tons [1] - 60:19             37:19, 45:13, 45:16,    two [68] - 10:6, 10:7,      119:15                    up [23] - 18:19, 23:7,
                             45:20, 121:16,            10:11, 10:17, 10:20,     ultimate [2] - 24:21,       26:24, 31:1, 33:8,
took [11] - 45:9, 52:6,
                             121:16, 121:18            10:22, 11:13, 12:24,      85:3                       34:5, 36:15, 41:15,
  57:2, 63:8, 88:8,
  94:25, 95:21, 95:25,     TRANSCRIPT [1] - 1:7        13:22, 14:5, 16:14,      unable [3] - 49:22,         43:12, 47:1, 47:13,
  98:25, 104:14,           transcription [1] -         19:23, 19:24, 20:5,       86:18, 119:20              52:17, 61:18, 63:24,
  104:22                     2:15                      23:19, 24:15, 30:16,     uncle [1] - 107:15          64:13, 64:24, 70:20,
top [7] - 46:25, 91:7,     transcripts [3] - 26:9,     34:10, 35:11, 36:19,     unclear [1] - 47:11         74:24, 79:19, 94:13,
  93:16, 99:14, 100:3,       27:22, 60:19              37:1, 37:3, 38:12,       under [50] - 5:25, 9:24,    101:17, 102:4, 105:2
  102:2, 116:13            transfer [1] - 37:24        40:23, 44:12, 44:14,      10:5, 10:8, 10:16,        uphold [1] - 102:13
top-level [2] - 46:25,     transferred [4] - 38:1,     45:11, 46:1, 46:3,        10:18, 10:24, 12:17,      upward [9] - 35:11,
  102:2                      109:9, 109:12,            51:18, 52:1, 56:7,        13:20, 17:13, 29:4,        56:20, 81:9, 92:9,
top-of-the-                  110:13                    56:10, 58:7, 59:18,       30:3, 31:17, 31:21,        93:11, 93:14,
  guidelines [1] -         transferring [1] -          60:8, 66:17, 67:4,        32:3, 34:7, 38:13,         103:11, 103:17
                             22:16                     67:7, 67:10, 69:12,       40:23, 42:21, 46:3,       urges [2] - 16:9, 56:19
  100:3
                           translations [1] -          70:4, 70:13, 71:22,       48:20, 50:17, 50:20,      USAO [1] - 1:17
torture [1] - 99:22
                             60:18                     72:10, 72:11, 72:15,      50:25, 51:13, 52:7,
total [4] - 9:24, 12:24,
                                                                                 56:2, 59:19, 62:19,
  80:13, 81:20             transport [3] - 20:6,       73:7, 73:10, 73:15,                                            V
                             36:1, 37:13               74:15, 74:21, 74:24,      70:5, 73:6, 74:1,
totalling [1] - 20:4
                           transported [1] -           75:7, 79:22, 79:23,       75:1, 75:9, 77:9,         V-A-Z-Q-U-E-Z [1] -
totally [2] - 28:15,
                             110:10                    79:24, 80:1, 80:9,        78:11, 80:5, 80:8,         107:2
  28:20
                           traumatic [1] - 20:23       89:5, 96:15, 98:4,        80:10, 80:11, 93:11,      VA [1] - 1:23
touch [2] - 57:20,
                           traveled [2] - 7:7,         98:13, 104:16,            93:20, 95:4, 95:12,       vacuum [2] - 20:8,
  94:12
                             107:16                    104:24, 104:25            98:5, 98:6, 102:12,        20:18
touched [1] - 94:14
                           traveling [1] - 28:5      two-level [22] - 10:22,     116:6, 119:8              vacuum-packed [2] -
touching [2] - 54:4,
                           treating [1] - 58:6         35:11, 36:19, 37:1,      underlies [1] - 17:25       20:8, 20:18
  57:1
                           trepidation [1] - 54:9      37:3, 38:12, 40:23,      underlying [1] - 76:18     vague [1] - 58:24
tough [2] - 61:10,
                           trial [15] - 17:14,         45:11, 46:1, 69:12,      undermine [2] - 26:5,      Valdez [1] - 20:24
  61:12
                             60:18, 61:3, 61:17,       71:22, 72:11, 73:7,       30:10                     Valencia [1] - 23:5
towards [1] - 57:25
                             62:14, 65:25, 66:4,       73:10, 75:7, 79:22,      undermined [1] - 68:4      value [3] - 85:4, 88:20,
track [2] - 23:1, 74:2
                             66:14, 66:22, 67:1,       79:23, 79:24, 80:1,      undermines [1] -            88:21
trade [1] - 84:2
                             67:2, 69:14, 69:23,       80:9, 98:4, 98:13         22:21                     valve [8] - 11:5, 11:16,
trade-based [1] - 84:2
        Case 1:17-cr-00051-BAH Document 93 Filed 03/02/24 Page 142 of 142        21



 11:20, 50:19, 51:2,        112:21, 112:23,            15:10, 17:7, 17:9,
 51:6, 75:20, 80:1          112:24                     17:23, 17:25, 18:3,
variance [3] - 90:5,       warehouse [2] -             18:12, 18:13, 18:18,
 93:14, 110:16              30:22, 30:23               19:1, 26:18, 31:6,
variation [1] - 84:1       warning [1] - 54:4          32:5, 32:6, 32:22,
various [3] - 4:23,        warrant [4] - 58:22,        42:17, 46:9, 48:6,
 50:6, 114:11               59:17, 120:18,             48:10, 49:19, 50:7,
VAS [1] - 107:1             120:23                     60:19, 63:14, 66:15,
vast [2] - 20:17, 113:3    warranted [3] - 15:15,      68:24, 70:16, 71:4,
VAZ [1] - 107:1             15:23, 92:17               71:6, 114:4
Vazquez [4] - 106:24,      warranting [6] - 10:7,     witnesses' [1] - 18:7
 106:25, 107:1, 107:3       10:11, 10:15, 10:17,      Wolf [1] - 55:6
VAZQUEZ [1] - 107:4         10:20, 113:19             wonderful [1] - 107:7
Vegas [1] - 7:8            Washington [5] - 1:6,      wondering [1] - 6:17
Venezuela [1] - 37:13       1:14, 1:22, 2:4,          wood [3] - 24:4, 24:12,
verify [1] - 55:14          118:15                     24:15
versus [5] - 3:3, 43:14,   waste [2] - 45:21, 57:8    word [2] - 40:5, 75:21
 85:24, 88:6, 102:8        watch [1] - 57:2           words [4] - 72:20,
victim [2] - 109:12,       watching [1] - 52:21        103:9, 103:16,
 109:18                    water [1] - 74:11           105:21
victims [2] - 113:16,      Watts [3] - 15:25,         worker [2] - 42:3, 45:9
 113:19                     16:15, 16:20              workers [4] - 49:22,
video [1] - 94:6           ways [5] - 52:1, 94:1,      49:24, 50:8
videos [2] - 108:3,         114:11, 115:2, 116:5      world [1] - 11:13
 108:4                     weapon [1] - 53:2          worse [1] - 91:16
view [7] - 15:1, 43:11,    weapons [1] - 109:25       worsen [1] - 109:22
 46:13, 68:7, 72:22,       week [6] - 12:24,          worth [4] - 84:25,
 87:12, 88:16               45:15, 45:23, 61:13,       85:24, 85:25, 102:7
viewed [1] - 23:20          97:17, 101:3              writ [2] - 69:6, 70:24
viewing [1] - 103:15       weeks [2] - 19:23,         writes [1] - 76:25
views [1] - 72:4            89:5                      written [3] - 23:2,
Villarreal [1] - 20:25     well-settled [1] - 16:6     40:3, 104:16
violation [3] - 4:9,       Westlaw [2] - 16:25,       wrote [1] - 104:15
 79:2, 119:9                43:15
violence [9] - 18:22,      white [1] - 53:18                     Y
 75:22, 99:21,             whole [6] - 72:20,
 100:11, 100:13,            73:5, 85:18, 91:12,       year [4] - 19:24, 23:12,
 100:24, 100:25,            91:14, 106:9               31:7, 96:15
 109:25, 110:15            wholesale [1] - 88:20      years [16] - 12:24,
violent [3] - 100:21,      willfully [2] - 42:14,      20:5, 34:2, 41:8,
 102:8, 114:7               56:4                       96:15, 108:24,
visa [1] - 30:8            willing [1] - 106:4         108:25, 109:2,
visas [1] - 7:9            win [2] - 44:6, 71:19       109:17, 110:9,
visits [1] - 109:8         wish [1] - 6:5              111:7, 111:9,
void [1] - 121:18          wit [1] - 44:6              111:14, 113:25,
vs [1] - 1:4               Witness [2] - 70:22         114:14, 115:14
                           witness [30] - 5:3, 5:6,   years' [1] - 102:7
                                                      York [2] - 43:14, 43:17
           W                17:19, 37:6, 43:8,
                                                      youngest [1] - 108:8
                            43:11, 47:19, 52:5,
wait [3] - 76:4             52:6, 53:3, 53:6,         yourself [1] - 43:3
waiting [2] - 14:8,         53:16, 53:25, 54:9,       yourselves [1] - 3:8
 109:3                      56:13, 56:24, 57:16,
waived [1] - 119:5          57:21, 58:1, 58:10,                  Z
waives [1] - 118:7          64:12, 70:20, 70:23,
walks [1] - 95:16           81:23, 82:2, 87:13,       zero [7] - 9:17, 10:23,
walls [1] - 91:1            87:15, 87:16, 95:8         74:5, 74:7, 74:8,
                           witness's [2] - 14:23,      78:17, 80:2
Walton [1] - 75:24
                            82:13                     zero-point [5] - 10:23,
waltzing [1] - 97:17
                           witnessed [1] - 64:12       74:5, 74:7, 74:8,
wants [7] - 78:20,
                           witnesses [31] - 15:4,      80:2
 86:4, 104:19, 110:4,
